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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


MOLINA HEALTHCARE, INC.,                        Civil Action No. _____________
                             Plaintiff,
                                                COMPLAINT
                      v.
                                                JURY TRIAL DEMANDED
CELGENE CORPORATION AND BRISTOL-MYERS
SQUIBB COMPANY,


                             Defendants.
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        Plaintiff Molina Healthcare, Inc. (“Plaintiff” or “Molina”) hereby sues Defendant

Celgene Corporation (“Celgene”) and Defendant Bristol-Myers Squibb Company (“Bristol-

Myers Squibb”). Based on personal knowledge as to facts pertaining to it, and upon information

and belief as to all other matters, Plaintiff alleges as follows:

                                  I. NATURE OF THE CASE

        1.      This case arises from Defendants’ anticompetitive scheme to monopolize the

markets for Thalomid and Revlimid by successfully interfering with competitors’ efforts to

develop and/or obtain U.S. Food and Drug Administration (“FDA”) approval for generic

versions of Revlimid and/or Thalomid at each progressive step of development, before paying

rivals to delay market entry and allocate markets. As part of this anticompetitive scheme,

Plaintiff alleges that Celgene:

        (1) manipulated the safety program designed to protect patients from thalidomide’s and

        lenalidomide’s teratogenic properties to refuse samples to would-be generic competitors;

        (2) prevented ingredient suppliers from supplying active pharmaceutical ingredient

        (“API”) to would-be generic competitors;

        (3) fraudulently obtained various patents from the U.S. Patent and Trademark Office

        (“USPTO”) for Revlimid and Thalomid and their associated safety distribution protocols;

        (4) filed baseless citizen petitions with FDA to stymie generic approvals;

        (5) serially commenced “sham” patent infringement lawsuits; and

        (6) resolved those lawsuits by entering into anticompetitive reverse payment agreements

        that delayed the entry of lenalidomide, allocated the lenalidomide market among itself




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         and its generic competitors, and delayed robust generic competition for at least four-and-

         a-half years, until January 21, 2026.1

         2.       When Celgene’s efforts failed to prevent (but which still substantially delayed) a

would-be competitor from prosecuting an Abbreviated New Drug Application (“ANDA”), and

FDA approval of an ANDA for a generic version of Revlimid or Thalomid became possible,

Celgene further delayed generic competition by executing an anticompetitive reverse payment

settlement agreement with Natco, the first-filer on Revlimid, whose terms were shored up by

settling with several later-filing generic companies.2

         3.       The unlawful “reverse payment” to Natco, and its marketing partner Teva,3

comprised a two-pronged in-kind payment: (1) a volume limited, royalty-free generic license

before full generic competition began, amounting to hundreds of millions of dollars in payment

to Natco; and (2) acceleration or most-favored entry clauses (“MFE clauses”) that both deterred

later-filing generics from challenging Celgene’s patents through judgment and induced Natco to

accept a later entry date by eliminating the risk that Natco loses its lucrative exclusivity period.

These MFE clauses, furthermore, laid the foundation for a series of market allocations with the

later-filing generics. Celgene settled these later suits on terms that served to shore up the

anticompetitive terms (and the attendant windfall of profits) of the reverse payment Natco

agreement settlement.




    1
       This action is an opt-out direct action of a class case in which this Court sustained allegations regarding the
exact same overall monopolistic scheme here detailed. See Opinion, In re Thalomid and Revlimid Antitrust
Litigation, 2:14-cv-06997, ECF No. 68 (D.N.J. Oct. 29, 2015).
     2
       Copies of the later settlement agreements, or fulsome descriptions of their terms, are not publicly available.
     3
       For clarity, this Complaint refers to Natco and the partnering companies that developed and now market the
related Revlimid ANDA product collectively as “Natco.” Natco originally partnered with Watson Pharmaceuticals,
Inc., and then with Arrow. Following a series of corporate acquisitions, Teva is the current successor to, or
beneficiary from, the settlement agreement between Celgene, Natco, Arrow, and Watson, and markets the ANDA
product under the Teva brand name.

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         4.       In 1998, Celgene obtained FDA approval to market Thalomid® (thalidomide) for

a leprosy complication known as erythema nodosum leprosum (“ENL”). In 2005, Celgene

successfully developed a thalidomide analog, Revlimid® (lenalidomide), and obtained FDA

approval to market it for a specific chromosomal variant of myelodysplastic syndromes

(“MDS”). Celgene would go on to obtain FDA approvals for additional Revlimid indications,

including for a subset of multiple myeloma (“MM”) patients in 2006,4 and later for a subset of

mantle cell lymphoma (“MCL”) patients in 2013.

         5.       However, thalidomide, the chemical composition essential to Thalomid and

Revlimid, itself dates back to the 1950s and 1960s, when it was banned for decades due to its

role in causing severe birth defects.5 Despite its invention decades before, Celgene has

successfully conspired to insulate Revlimid and Thalomid from competition, allowing it to

charge supracompetitive prices since 2006.6

         6.       In fact, Celgene has routinely increased its price either once or twice per year. A

recent congressional report examining Celgene’s pricing practices observed that “[s]ince

launching Revlimid in 2005, Celgene raised the price of the drug 22 times, from $215 per pill to

$719 per pill. After Bristol-Myers Squibb obtained the rights to Revlimid [in] November [2019],




    4
       Under FDA’s orphan drug exclusivity program, 21 U.S.C. §§ 360aa-cc, FDA may not approve a generic
equivalent for a specific indication or “rare disease” that a brand drug is FDA-approved to treat for a period of seven
(7) years. MM is such a “rare disease.” Therefore, until May 25, 2013, FDA could not approve a generic
thalidomide for the treatment of MM. It could, nevertheless, approve generic thalidomide for the treatment of other
indications. This is known as a “skinny label,” which allows for market entry prior to the expiration of all
exclusivities related to a drug.
     5
       Amanda Schaffer, Thalidomide’s Comeback, SLATE, Jan. 10, 2011,
http://www.slate.com/articles/double_x/doublex/2011/01/thalidomides_comeback.html.
     6
       See U.S. House Committee on Oversight and Reform, Staff Report, Drug Pricing Investigation: Celgene and
Bristol-Myers Squibb—Revlimid (Sept. 30, 2020), at p. 17, available at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Celgene%20BMS%20Staff%20Report%2009-
30-2020.pdf (accessed Apr. 8, 2020) (“Oversight Committee Revlimid Report”) (“Celgene uses a series of
anticompetitive tactics to suppress generic competition and maintain its high price of Revlimid.”)

                                                          3
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it raised the price of Revlimid again, to $763 per pill.”7 As Celgene’s former Senior Vice

President of Sales and Marketing testified, Celgene’s tactics allowed it to raise prices “at any

time.”8

          7.    In 2006, a month’s supply of Revlimid cost $6,195.9 In 2010, the price was about

$8,000 for a one-month supply. When Thalomid first entered the market, it cost approximately

$6 per capsule. In 2014, its price soared to as much as $357 per capsule, and today, a twenty-

eight-day supply of Thalomid costs patients and their health insurers as much as $24,000.

          8.    In spite of these price increases, Celgene never saw a decrease in quantity

demanded for the two branded drugs because Celgene illegally blocked and continues to block

generic competition.

          9.    Celgene’s monopolistic efforts with respect to Revlimid have been enormously

profitable. Since 2014 alone, Celgene has sold over $40 billion worth of Revlimid in the U.S.:




    7
      Id., at p. i.
    8
      Id., at p. 4.
    9
      Katherine Streeter, How A Drugmaker Gamed The System to Keep Generic Competition Away (May 17,
2018), https://www.npr.org/sections/health-shots/2018/05/17/571986468/how-a-drugmaker-gamed-the-system-to-
keep-generic-competition-away.

                                                     4
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                                                   Revlimid

                                    Year                    Approximate U.S. Sales

                                    2014                           $ 2.9 billion

                                    2015                           $ 3.5 billion

                                    2016                           $ 4.4 billion

                                    2017                           $ 5.4 billion

                                    2018                           $ 6.5 billion

                                    2019                           $ 7.2 billion

                                    2020                           $ 8.3 billion

                                    2021                           $ 8.7 billion


        10.      After Celgene executed an anticompetitive reverse payment agreement with first

filer Natco in January 2016, Celgene’s consistent and egregious price hikes exploded Revlimid’s

monopoly profits. U.S. revenue skyrocketed from $3.5 billion10 in 2016 to $8.7 billion in 2021 –

the last year before (delayed) generic entry.11 Revlimid is now the second-highest grossing drug

worldwide,12 and is projected to reach nearly $14 billion in worldwide sales by 2022.13

        11.      Celgene’s anticompetitive tactics to block and delay generic entry have caused

Plaintiff to pay supracompetitive prices for these drugs in violation of federal antitrust laws, and




     10
        Celgene Corporation Annual Report, 2016
https://s24.q4cdn.com/483522778/files/doc_news/archive/CELG_News_2017_1_26_General_Releases.pdf.
     11
        Bristol Myers Squib Annual Report, 2021 https://annual-report.bms.com/assets/bms-ar/documents/2021-
annual-report.pdf.
     12
        Amy Brown, EP Vantage 2017 Preview (Dec. 2016), http://info.evaluategroup.com/rs/607-YGS-
364/images/EPV2017Prev.pdf.
     13
        Evaluate Ltd., EvaluatePharma Orphan Drug Report 2017 (Feb. 2017),
http://info.evaluategroup.com/rs/607-YGS-364/images/EPOD17.pdf. Not surprisingly, Revlimid was the top-selling
“orphan drug” in the United States in 2016. Id. “An orphan drug is a pharmaceutical product aimed at rare diseases
or disorders.” Id.

                                                        5
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states’ antitrust, consumer protection, and trade practices laws. Plaintiff seeks civil damages it

has incurred and injunctive relief.

                                    II. JURISDICTION AND VENUE

        12.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1332 and

1337. The Court has jurisdiction over Plaintiffs’ claim for injunctive relief pursuant to Section 16

of the Clayton Act, 15 U.S.C. § 26.

        13.      This Court has personal jurisdiction over Defendants because Defendants are

present in the United States, do business in the United States, have registered agents in the

United States, may be found in the United States, and are otherwise subject to the service of

process provisions of 15 U.S.C. § 22.

        14.      Venue is appropriate within this district under Section 12 of the Clayton Act, 15

U.S.C. § 22, 28 U.S.C. §§ 1391(b) and (c). Defendants transact business within this district, have

agents and can be found in this district, and the relevant interstate trade and commerce is carried

out, in substantial part, in this district.

                                              III. PARTIES

        15.      Molina Healthcare, Inc. (“Molina”) is a publicly traded healthcare management

organization headquartered in Long Beach, California and incorporated under the laws of

Delaware. Molina, through local licensed subsidiaries, provides managed healthcare services

under the Medicaid, Medicare and other government-sponsored healthcare programs for low-

income families and individuals, including Marketplace members. Through its subsidiaries,

Molina services approximately 4.6 million members.

        16.      The benefits for Molina health plans include prescription drug coverage under

which claims for Thalomid and Revlimid have been, and continue to be, submitted and paid.



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        17.    Molina Healthcare, Inc. is the parent company, and assignee of the claims

asserted in this action, of subsidiaries and affiliates that provide health insurance that cover

medical expenses incurred by the plan beneficiaries. These assignor subsidiaries include: Molina

Healthcare of California, Molina Healthcare of Florida, Inc., Molina Healthcare of Illinois, Inc.,

Molina Healthcare of Kentucky, Inc., Molina Healthcare of Michigan, Inc., Molina Healthcare of

Mississippi, Inc., Molina Healthcare of Missouri, Inc., Molina Healthcare of New Mexico, Inc.,

Molina Healthcare of New York, Inc., Molina Healthcare of Ohio, Inc., Molina Healthcare of

Puerto Rico, Inc., Molina Healthcare of South Carolina, Inc., Molina Healthcare of Texas, Inc.,

Molina Healthcare of Utah, Inc. (d/b/a Molina Healthcare of Utah and Molina Healthcare of

Idaho), Molina Healthcare of Virginia, Inc., Molina Healthcare of Washington, Inc., and Molina

Healthcare of Wisconsin, Inc. (collectively, the “Molina Subsidiaries”).14

        18.    The Molina Subsidiaries reimbursed their members’ Thalomid and Revlimid

purchases in Alabama, Arizona, California, Colorado, Florida, Georgia, Illinois, Kansas,

Michigan, Missouri, Mississippi, North Carolina, New Jersey, New Mexico, New York, Ohio,

Oregon, Pennsylvania, South Carolina, Tennessee, Texas, Utah, Washington, and Wisconsin.

        19.    The benefits for Molina plans include prescription drug coverage under which

claims for Thalomid and Revlimid have been, and continue to be, submitted and paid.

        20.    Defendant Celgene Corporation is a drug manufacturer, incorporated in Delaware

and headquartered at 86 Morris Avenue, Summit, New Jersey. Celgene manufactures and

markets Thalomid and Revlimid.




   14
     Molina Healthcare of New York, Inc. is a New York corporation with its principal
executive offices located in North Syracuse, New York.
                                                  7
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         21.     Defendant Bristol-Myers Squibb Company is a biopharmaceutical drug company

incorporated under the laws of Delaware with its principal executive offices located at 430 E.

29th Street, 14 FL, New York, NY 10016. Bristol-Myers Squibb is a publicly-traded corporation

registered on the New York Stock Exchange under the symbol “BMY.”

         22.     Bristol-Myers Squibb Company wholly owns Celgene Corporation as its

subsidiary. Bristol-Myers Squibb completed the acquisition of Celgene in November 2019 after

the companies had executed a merger agreement in January 2019. “The companies’ public

statements and filings with the Securities and Exchange Commission make clear that Revlimid,

which had nearly $10 billion in annual revenue, was a key asset in the transaction. [¶] The

companies’ joint SEC filings for the merger acknowledge that Revlimid revenue was so critical

that any expiration of its patent protection sooner than anticipated ‘would be harmful to the

combined company and could have a material adverse effect on its business, financial condition

or results of operations.’”15 In the first full year after the acquisition (2020), Bristol-Myers

Squibb reported more than $12.1 billion in Revlimid revenue.16

                                     IV. ECONOMIC BACKGROUND

         23.     For most consumer products, the person responsible for paying for them is also

the person selecting them. The pharmaceutical marketplace departs from this norm.

         24.     Prescription drugs may only be dispensed pursuant to a doctor’s prescription, and

a licensed pharmacist may dispense only the brand-name drug named in the prescription or its

AB-rated,17 FDA-approved generic equivalent.18


    15
        Oversight Committee Revlimid Report, at p. 2 (footnote omitted).
    16
         Bristol-Myers Squibb Company, Form 10-K 2020, at p. 46, available at
https://www.sec.gov/ix?doc=/Archives/edgar/data/14272/000001427221000066/bmy-
20201231.htm#i41f64878d2784d5ea6ffaae4477d4823_97.
     17
        FDA grants an AB-rating to generic drugs that meet necessary bioequivalence requirements.
     18
        In many states, pharmacists must substitute an AB-rated generic for a brand-name drug without seeking
permission from the prescribing doctor.

                                                        8
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        25.      In most instances, the patient and his or her health insurer pay for the prescription

drug that a doctor has prescribed. Therefore, the doctor’s prescription defines the relevant

product market because it limits the patients’ (and pharmacist’s) choice to the drug named

therein.

        26.      When there is no generic competition for a brand-name drug, the brand

manufacturer can set and maintain prices without losing sales. The ability to do this is the result

of the brand name drug company’s monopoly power over the market for that drug in both its

brand-name and generic form. When an AB-rated generic is available, price competition is

introduced. Formulary design and state generic substitution laws give purchasers a chance to

substitute on the basis of price, and they do, as price is the only material difference between a

brand and AB-rated generic version.

        27.      Typically, AB-rated generic versions of brand-name drugs are priced significantly

below their brand-name counterparts. When multiple generic manufacturers enter the market,

prices for generic versions of a brand-name drug predictably decrease, sometimes as much as by

90%, because of price competition among generic manufacturers.19 FDA reports that one year

after entry, a generic drug takes over 90% of the corresponding brand-name drug’s sales at 15%

of the price. Generic drug entry, therefore, is a huge threat to the continued profitability of a

branded drug. Much lower brand drug profits translate to benefits to purchasers.

        28.      According to the IQVIA Institute—the leading provider of data in the healthcare

sector—since 2013, for drugs where a generic is available, consumers purchase the generic 97%




     19
        See, e.g., Jon Leibowitz, “Pay for Delay” Settlements in the Pharmaceutical Industry: How Congress Can
Stop Anticompetitive Conduct, Protect Consumers’ Wallets, and Help Pay for Health Care Reform (June 23, 2009),
http://www.ftc.gov/sites/default/files/documents/public_statements/pay-delay-settlements-pharmaceutical-industry-
how-congress-can-stop-anticompetitive-conduct-protect/090623payfordelayspeech.pdf.

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of the time.20 The Federal Trade Commission (“FTC”) has found that on average, within a year

of generic entry, prices had dropped 85%.21 As a result, competition from generics is viewed by

brand manufacturers as a serious threat to their bottom line.

         29.     In sum, generic competition enables purchasers of a drug to (i) purchase generic

versions of the drug at substantially lower prices, and/or (ii) purchase the brand at a reduced

price.

         30.     For every rung in the prescription drug ladder, except for the brand-name drug

manufacturer, there is a financial benefit to choosing the generic drug. Pharmacies normally earn

a higher markup on generic drugs because of pricing structure and federal reimbursement rules

and private health insurers typically offer incentives to pharmacies and members to fill

prescriptions with generics such as lower copays for generic drugs than for brand-name drugs.

         31.     Generic competition enables third party payers like Plaintiff to purchase a generic

version of a brand-name drug at substantially lower prices. However, until generic

manufacturers enter the market with an AB-rated generic, there is no generic drug which

competes effectively with the brand-name drug, and therefore, the brand-name manufacturer can

charge supracompetitive prices without losing sales. Given their acute knowledge of the effects

of generic entry into a market, brand-name manufacturers like Celgene have a strong incentive to

delay such entry through various means, including by serially filing frivolous patent

infringement lawsuits and entering illegal “pay for delay” settlement agreements.

                                              V. BACKGROUND


    20 IQVIA
            Institute, Medicine Use and Spending in the U.S.: A Review of 2017 and Outlook to 2022 at 14 (2018),
available at https://www.iqvia.com/insights/the-iqvia-institute/reports/medicine-use-and-spending-in-the-us-
review-of-2017-outlook-to-2022.
     21
        FTC, Pay-for-Delay: How Drug Company Pay-Offs Cost Consumers Billions 8 (2010),
https://www.ftc.gov/sites/default/files/documents/reports/pay-delay-how-drug-company-pay-offs-cost-consumers-
billions-federal-trade-commission-staff-study/100112payfordelayrpt.pdf (“FTC Pay-for-Delay Study”).

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    A. The Regulatory Structure for Brand and Generic Drugs

                1. The Hatch-Waxman Act and NDA Approval Process

          32.      Under the Federal Food, Drug and Cosmetics Act (21 U.S.C. §§ 301-392)

(“FDCA”), a manufacturer that creates a new, pioneer drug must obtain FDA approval to sell the

drug by filing a New Drug Application (“NDA”). An NDA must include submission of specific

data concerning the safety and efficacy of the drug and identify any patents claiming the drug. 21

U.S.C. § 355(b).

          33.      When FDA approves a brand-name manufacturer’s NDA, it lists in a publication

entitled the “Approved Drug Products with Therapeutic Equivalence Evaluations” (known as the

“Orange Book”) any patents which, according to the information supplied to FDA by the brand-

name manufacturer: (1) claim the approved drug or its approved uses; and (2) for which a “claim

of patent infringement could reasonably be asserted if a person is not licensed by the owner

engaged in the manufacture, use, or sale of the drug.”22

          34.      FDA does not investigate the patents or verify the NDA sponsor’s representations

for accuracy or trustworthiness prior to listing patents in the Orange Book. Listing such a patent

is a purely ministerial act.

          35.      Once a brand manufacturer lists a patent in the Orange Book, it creates the

possibility for the brand company to later sue a generic competitor for infringing the listed patent

before the competitor has launched its product and, in doing so, trigger an automatic 30-month

stay of FDA approval. The 30-month stay is the benefit to the brand. The benefit to the generic

is having some information about which patents the brand company believes claims the drug and

could reasonably be asserted in litigation (per the two-part statutory test above).



    22
         21 U.S.C. § 355(b)(1); 21 U.S.C. § 355(g)(7)(A)(iii).

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         36.     Not all patents that may claim or cover aspects of a drug product or its

manufacture may be listed in the Orange Book; for example, patents that claim a process of

making a drug, product packaging, aspects of a device used to deliver a pharmaceutical

composition, and REMS programs do not meet the statutory and regulatory standard and cannot

be properly submitted for listing in the FDA’s Orange Book.

         37.     The Orange Book is not the only means for generics to understand the relevant

patent coverage for the brand products. Generic companies routinely dedicate significant

resources to surveying the patent landscape (including hiring consultants) to understand what

other unlisted patents exist that may, arguably, cover the brand drug. Having done the work to

understand the brand’s patent coverage, generic companies then routinely develop their product

by designing around the brand’s existing patent coverage (even going so far as to design around

patents that the generic has reason to believe are invalid and/or unenforceable).

               2. The Hatch-Waxman Act and ANDA Approval Process

         38.     In 1984, Congress amended the FDCA with the enactment of the Hatch-Waxman

Act (“Hatch-Waxman”). Congress’ principal intent was for Hatch-Waxman to simplify and

reduce the regulatory hurdles for prospective generic manufacturers, by replacing the lengthy

and costly NDA approval process with an expedited ANDA review process.23 Under Hatch-

Waxman, an ANDA applicant may rely on the safety and efficacy findings of the NDA for the

referenced brand-name drug if the ANDA demonstrates the proposed generic drug is

therapeutically equivalent and “bioequivalent,” (“BE”) i.e., it contains the same active

ingredient(s), dosage form, route of administration, and strength as the brand-name drug, and is




    23
    Drug Price Competition and Patent Term Restoration Act, Pub. L. No. 98-417, 98 Stat. 1585 (1984) (“Hatch-
Waxman”).

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absorbed at the same rate, and to the same extent, as the brand-name drug. For ANDAs that pass

this test, FDA assigns an “AB” rating to the generic drug.

         39.     BE is generally demonstrated via studies in which the proposed generic is

compared to the Reference Listed Drug (“RLD,” which is, in this instance, the brand-name drug)

in either in vivo or in vitro studies.24 These studies require the ANDA applicant to have access to

sufficient samples of the RLD to conduct the necessary comparisons. Without RLD samples, it

is impossible to complete and file an ANDA application.

         40.     FDA illuminates the issue:

         To obtain approval for a generic drug, the generic company needs to show, among
         other things, that its version of the product is bioequivalent to the RLD [i.e. the
         brand drug, or reference listed drug]. This usually requires the generic company to
         conduct bioequivalence studies comparing its product to the RLD, and to retain
         samples of the RLD used in testing after a study is complete. To conduct these kinds
         of bioequivalence studies, the generic company needs to obtain samples (generally
         between 1,500 and 5,000 units) of the RLD.25

         41.     Only samples of the RLD approved by FDA and marketed in the United States

may be used for BE testing purposes. In the ordinary course, a prospective ANDA sponsor

obtains samples by buying them, at market price, from a drug wholesaler or distributor.

Wholesalers and distributors are large companies that buy drugs from manufacturers for the

purpose of re-selling them to pharmacies or other entities. Generic companies are authorized to

buy prescription drugs from distributors for BE testing purposes.

         42.     Celgene’s own former senior vice president of global regulatory affairs, drug

safety, risk management, and quality assurance Graham Burton testified that Celgene is the only




    24
        In vivo studies are studies conducted on live subjects. In vitro studies are conducted in a laboratory.
    25
        FDA, Reference Listed Drug (RLD) Access Inquiries,
https://www.fda.gov/Drugs/DevelopmentApprovalProcess/HowDrugsareDevelopedandApproved/ApprovalApplicat
ions/AbbreviatedNewDrugApplicationANDAGenerics/ucm607738.htm (last visited Feb. 26, 2019).

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source from which a generic company could obtain Revlimid or Thalomid for purposes of BE

testing.26

               3. The Hatch-Waxman’s Balancing Act

         43.      As a counterbalance to Hatch-Waxman’s simplified ANDA process, Hatch-

Waxman also provides brand manufacturers with the ability—merely by filing a patent

infringement lawsuit—to easily obtain what is essentially a preliminary injunction, in the form of

an automatic stay of up to thirty months, of FDA’s ability to approve a generic manufacturer’s

ANDA.

         44.      To obtain FDA approval of an ANDA, the generic manufacturer must certify that

it will infringe no patent listed in the Orange Book claiming the brand drug, because either:

                  a. No patent for the brand-name drug has been filed with FDA (a “Paragraph I
                     Certification”);
                  b. The patent for the brand-name drug has expired (a “Paragraph II
                     Certification”);
                  c. The patent for the brand-name drug will expire on a particular date and the
                     generic company does not seek to market its generic product before that date
                     (a “Paragraph III Certification”); or
                  d. The patent for the brand-name drug is invalid or will not be infringed by the
                     generic manufacturer’s proposed product (a “Paragraph IV Certification”).27

         45.      When a generic manufacturer files a Paragraph IV Certification, it must notify the

brand manufacturer and patent owner. The ANDA filing itself becomes an artificial act of patent

infringement, entitling the patent holder to sue for injunctive relief, according to Hatch-Waxman.

         46.      If the patent holder sues the ANDA filer within forty-five days of receiving the

Paragraph IV Certification, Hatch-Waxman prevents FDA from granting final approval to the




    26
       Exhibit to Brief in Opposition to Motion for Summary Judgment, Mylan Pharmaceuticals, Inc. v. Celgene
Corp., No. 2:14-cv-02095-ES-MAH (D.N.J. Mar. 20, 2018) (“MSJ Opp.”), Dkt. No. 285-15 at 69-70.
    27
       21 U.S.C. § 355(g)(2)(A)(vii).

                                                      14
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ANDA until the earlier of (a) thirty months after the lawsuit is commenced, or (b) the court

presiding over the patent infringement action rules that the patent is invalid or not infringed by

the ANDA.28 It is almost always the case that the 30-month period expires before the court

rules, resulting in a 30-month statutory stay.

         47.       However, during the 30-month stay, FDA may grant “tentative approval” to an

ANDA applicant if the agency determines that the ANDA would qualify for final approval, but

for the 30-month stay.

               4. The first filer’s 180-day exclusivity period.

         48.       Generics may be classified as (i) first-filer generics, (ii) later generic filers, or (iii)

authorized generics.

         49.       To encourage manufacturers to seek approval of generic versions of brand drugs,

the Hatch-Waxman Amendments grant the first Paragraph IV generic manufacturer ANDA filer

(“first-filer”) a 180-day exclusivity period to market the generic version of the drug, during

which the FDA may not grant final approval to any other generic manufacturer’s ANDA for the

same brand drug. That is, when a first filer submits a substantially complete ANDA with the

FDA and certifies that the unexpired patents listed in the Orange Book as covering the brand are

either invalid or not infringed by the generic, the FDA cannot approve a later generic

manufacturer’s ANDA until that first-filing generic has been on the market for 180 days.

         50.       The 180-day window is often referred to as the first-filer’s six-month or 180-day

“exclusivity”; this is a bit of a misnomer because a brand manufacturer (such as Celgene) can

launch an authorized generic (“AG”) at any time, even prior to first-filer generic entry. An AG is

an approved brand name drug, like Revlimid, that although marketed without the brand name on



   28
        21 U.S.C. § 355(j)(5)(B)(iii).

                                                       15
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its label, is the exact same drug product as the branded product. Through an AG, brand

manufacturers can enjoy the competitive benefits of marketing both their branded and a

“generic” drug, capturing sales from customers interested in either.29 Thus, brand manufacturers

frequently launch AGs in response to generic entry in order to recoup some of the sales (from the

branded product to a generic/AG product) they would otherwise lose entirely to the generic

entrant.

         51.      The Supreme Court has recognized that “this 180-day period of exclusivity can

prove valuable, possibly ‘worth several hundred million dollars’” to the first-filer.

         52.      A first-filer that informs the FDA it intends to wait until all Orange Book-listed

patents expire before marketing its generic does not get a 180-day exclusivity period. Congress

created this 180-day period to incentivize generic manufacturers to challenge weak or invalid

patents or to invent around such patents by creating non-infringing forms of generics.

               5. Patents are subject to judicial and administrative scrutiny.

         53.      A patent may be valid or invalid, infringed or not infringed, and enforceable or

unenforceable. Simply owning a patent does not entitle the patent owner to exclude others.

Patents are routinely invalidated or held unenforceable, either upon reexamination or inter partes

proceedings by the Patent and Trademark Office (“PTO”), by court decision, or by jury verdict.

         54.      A patent holder at all times bears the burden of proving infringement. One way

that a generic can prevail in patent infringement litigation is to show that its product does not

infringe the patent (and/or that the patent holder cannot meet its burden to prove infringement).

Another is to show that the patent is invalid or unenforceable.




    29
         An AG thus does not need to go through the Abbreviated New Drug Application (“ANDA”) process because
it is the exact same drug product as the branded product.

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       55.     A patent is invalid or unenforceable when: (i) the disclosed invention is obvious

in light of earlier prior art; (ii) when an inventor, an inventor’s attorney, or another person

involved with the application, with intent to mislead or deceive the PTO, fails to disclose

material information known to that person to be material or submits materially false information

to the PTO during prosecution; and/or (iii) when a later acquired patent is not patentably distinct

from the invention claimed in an earlier patent (and no exception, such as the safe harbor,

applies).

       56.     In these circumstances, the PTO’s decision to issue a patent does not substitute for

a fact-specific assessment of (i) whether the applicant made intentional misrepresentations or

omissions on which the PTO relied in issuing the patent, and (ii) whether a reasonable

manufacturer in the patent holder’s position would have a realistic likelihood of succeeding on

the merits of a patent infringement suit.

       57.     In practice, if the parties litigate a pharmaceutical patent infringement suit to a

decision on the merits, it is more likely that a challenged patent will be found invalid or not

infringed than upheld. The FTC reports that generics prevailed in 73% of Hatch-Waxman patent

litigation cases resolved on the merits between 1992 and 2002. An empirical study of all

substantive decisions rendered in every patent case filed in 2008 and 2009 similarly reports that

when a generic challenger stays the course until a decision on the merits, the generic wins 74%

of the time.

             6. FDA Can Impose REMS

       58.     Since at least the 1960s, FDA has examined and implemented various methods

for managing risks related to pharmaceutical products. Methods have included disclosure and

labelling requirements. The Controlled Substances Act of 1970 saw the regulation of



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manufacturers, prescribers, dispensers, and labels, and permitted FDA to require warnings on

packages.30

         59.      In the 1990s, FDA began to work with manufacturers to develop risk management

programs for drugs with dangerous side effects. Then, in the 2000s, FDA established Risk

Minimization Action Plans (“RiskMAPs”), in which manufacturers voluntarily instituted risk

minimizing plans.

         60.      In 2007, Congress passed the Food and Drug Administration Amendments Act

(“FDAAA”), which codified the Risk Evaluation and Mitigation Strategies (“REMS”) to be

implemented with respect to certain pharmaceutical products “that have already been approved”

and directed the Secretary of Health and Human Services (“HHS”) to establish an active post-

market drug surveillance infrastructure.31

         61.      A REMS can include, inter alia, a medication guide, patient package inserts,

and/or restrictions on the distribution of the drug.

         62.      Since their enactment in 2007, REMS have been increasingly common in FDA’s

approval process; roughly 40% of new drugs have REMS programs.

         63.      REMS are intended to give FDA authority to condition drug approval on the

implementation of a program designed to address serious risks associated with particular

pharmaceutical products. The intention is not to make drugs, or drug samples, less available for

appropriate use. In fact, §505-1(f)(8) of the FDAAA explicitly prohibits brand manufacturers

from using REMS to “block or delay approval of” an ANDA. The FDAAA does not prohibit the

sale of REMS-subject drugs to generic manufacturers that will use those drugs in controlled BE




   30
        21 U.S.C. § 801, et seq. (2002).
   31
        21 U.S.C. § 355-1(f)(8).

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testing, nor does it give an NDA holder the right to interfere with a competitors’ ability to

purchase necessary drug samples.

                7. Brand Manufacturers Have Abused REMS to Block Generic Competition,
                   Prompting Congressional Action

          64.      REMS abuse is anticompetitive behavior that unlawfully excludes market entry

by generic competitors, costing the U.S. healthcare system more than $5 billion annually.32 In

2016, Janet Woodcock, the Director of FDA’s Center for Drug Evaluation and Research

(“CDER”), testified that brand companies often use REMS programs “as an excuse to not give

the drug to the generics so they can compare it to their drug.” This behavior, she noted, causes

“barriers and delays in getting generics on the market.”33

          65.      On December 20, 2019, Congress enacted material portions of the “Creating and

Restoring Equal Access to Equivalent Samples Act of 2016” (commonly known as

“CREATES”) to combat REMS abuse.34 CREATES establishes a standalone private right of

action for qualifying developers of generic drugs to sue branded drug manufacturers that refuse

“to provide sufficient quantities of the covered product to the eligible product developer on

commercially reasonable, market-based terms.”35 Available remedies include immediate

provision of sufficient quantities of samples of the drug on commercially reasonable terms,

attorneys’ fees and costs, and civil fines “sufficient to deter” a defendant brand manufacturer

from withholding samples to other companies developing generics in the future.36


    32
        Association for Accessible Medicines, Increase Competition & Access – Support CREATES Act,
https://accessiblemeds.org/campaign/increase-competition-and-access-rems (last visited Feb. 26, 2019).
     33
        Generic Drug User Fee Amendments: Accelerating Patient Access to Generic Drugs: Hearing Before the S.
Comm. on Health, Educ., Labor & Pensions, 114th Cong. 31 (2016) (testimony of Janet Woodcock, Director,
Center for Drug Evaluation & Research).
     34
        Material portions of CREATES were incorporated into the Further Consolidated Appropriations
Act, 2020, Pub. L. 116-94.
    35
         21 U.S.C. § 355-2(b)(1).
    36
         21 U.S.C. § 355-2(b)(4).

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         66.      CREATES establishes a prospective counterbalance to monopolistic schemes by

brand manufacturers who abuse the REMS process to unlawfully monopolize the market for a

drug by excluding generic competition beyond the period and scope afforded by a lawfully

obtained patent, but it does not provide a remedy for past REMS abuse.37

               8. Citizen Petitions

         67.      Section 505(j) of the FDCA creates a mechanism that allows a person to file a

petition with FDA requesting that the agency take, or refrain from taking, any form of

administrative action. Known as a “citizen petition,” this regulatory mechanism has also been

used by brand manufacturers to unlawfully delay generics.

         68.      A citizen petition allows a citizen to notify FDA of its genuine concerns about

safety, scientific, or legal issues regarding a product at any time before or after it enters the

market.

         69.      Pursuant to FDA regulations, FDA must respond to a citizen petition within 180

days of receipt with a grant in whole or in part, or a denial of the petition. FDA can provide a

tentative response with an estimate on a time for a full response.

         70.      Gary Buehler, R.Ph., former Director of the Office of Generic Drugs (“OGD”), at

CDER, noted that of 42 citizen petitions raising issues about the approvability of generic

products, “very few . . . have presented data or analysis that significantly altered FDA’s



    37
        Senator Patrick Leahy’s (D-VT) committee comments echo the misconduct alleged against Celgene’s here:
“The first delay tactic addressed by the CREATES Act involves withholding of drug samples that generic
manufacturers need to gain regulatory approval. Federal law requires generic competitors to prove that their low-
cost alternative is equally safe and effective as the brand-name drug with which they wish to compete.
Unfortunately, some brand-name companies are refusing to provide samples of their product to generic companies
for them to make the necessary comparison. This simple delay tactic uses regulatory safeguards as a weapon to
block competition.” Hearing Before the Senate Judiciary Committee Subcommittee on Antitrust, Competition Policy
and Consumer Rights on “The CREATES Act: Ending Regulatory Abuse, Protecting Consumers, and Ensuring
Drug Price Competition,” Statement of Senator Patrick Leahy (June 21, 2016),
https://www.judiciary.senate.gov/download/06-21-16-leahy-statement-2.

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policies.” Despite this, it is standard practice for FDA to withhold ANDA approval until it has

completed its research into and response to a citizen petition.

        71.     Responding to a citizen petition strains FDA’s limited resources. Regardless of

how frivolous a petition may be, FDA must expend considerable resources researching the

petition’s scientific, medical, legal, and economic issues, and delaying ANDA approval, even if a

petition is later found to be baseless.

        72.     Frivolous petitions sponsored by branded manufacturers have become an

increasingly common tactic to delay generic competition.

    B. The competitive effects of AB-rated generic and authorized generic competition.

        73.     Generic versions of brand name pharmaceutical drugs contain the same active

ingredient(s) as the brand name drug and are determined by the FDA to be just as safe and

effective as their brand counterparts. The only material difference between generics and their

corresponding brand versions is the price. Because generics are essentially commodities that

cannot be therapeutically differentiated, the primary basis for competition between a branded

product and its generic version, or among generic versions, is price. Typically, generics are 50%

to 80% (or more) less expensive than their brand counterparts when there are multiple generic

competitors on the market for a given brand. Consequently, the launch of a generic usually

results in significant cost savings for drug purchasers.

        74.     Since the passage of the Hatch-Waxman Amendments, every state has adopted

drug product selection laws that either require or permit pharmacies to substitute AB-rated

generic equivalents for brand prescriptions (unless the prescribing physician specifically directs

that substitution is not permitted). Substitution laws and other institutional features of

pharmaceutical distribution and health insurance create the economic dynamic such that the

launch of AB-rated generics results both in rapid price decline and rapid sales shift from brand to
                                                 21
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generic purchasing. Once a generic hits the market, it quickly captures sales of the corresponding

brand drug, often 80% or more of the market, within the first six months after entry.

               1. The first AB-rated generic is priced below the brand.

         75.      Experience and economic research show that the first generic manufacturer to

market its product prices it below the prices of its brand counterpart.38 Every state either requires

or permits that a prescription written for the brand be filled with an AB-rated generic. Thus, the

first generic manufacturer almost always captures a large share of sales from the brand. Generic

sales at lower prices drive a reduction in the average price paid for the drug at issue (brand and

AB-rated generic combined).

         76.      During the 180-day exclusivity period, the first filer is the only ANDA-approved

generic manufacturer on the market (though the brand’s AG can be, and often is, on the market

during the 180-day exclusivity period). In the absence of competition from other generics, during

the 180-day exclusivity period, a first-filer generic manufacturer generally makes about 80% of

all of the profits that it will ever make on the product.

               2. Later generics drive prices down further.

         77.      Once generic competitors enter the market, the competitive process accelerates,

and multiple generic manufacturers typically compete vigorously with each other over price,

driving prices down toward marginal manufacturing costs.39




    38
        FTC, Authorized Generic Drugs: Short-Term Effects and Long-Term Impact ii-iii, vi, 34 (2011),
https://www.ftc.gov/sites/default/files/documents/reports/authorized-generic-drugs-short-term-effects-and-long-
term-impact-report-federal-trade-commission/authorized-generic-drugs-short-term-effects-and-long-term-impact-
report-federal-trade-commission.pdf (“FTC 2011 AG Study”); FTC Pay-for-Delay Study at 1.
     39
        See, e.g., Tracy Regan, Generic Entry, Price Competition, and Market Segmentation in the Prescription Drug
Market, 26 INT’L J. INDUS. ORG. 930 (2008); Richard G. Frank, The Ongoing Regulation of Generic Drugs, 357
NEW ENG. J. MED. 1993 (2007); Patricia M. Danzon & Li-Wei Chao, Does Regulation Drive Out Competition in
Pharmaceutical Markets?, 43 J.L. & ECON. 311 (2000).

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         78.      In a report by the FTC issued at the request of Congress in 2011, the FTC found

that generics captured 80% or more of sales in the first six months (this percentage erosion of

brand sales holds regardless of the number of generic entrants.).40 In the end, the brand

manufacturer’s sales decline to a small fraction of their level before generic entry. This is so

because, “[a]lthough generic drugs are chemically identical to their branded counterparts, they

are typically sold at substantial discounts from the branded price. According to the Congressional

Budget Office, generic drugs save consumers an estimated $8 to $10 billion a year at retail

pharmacies. Even more billions are saved when hospitals use generics.”41

               3. Authorized generics, like other generics, compete on price.

         79.      Any 180-day exclusivity period applies to a first-filer ANDA, not to products sold

under the authority of the original NDA. As a result, the 180-day exclusivity does not prevent a

brand manufacturer from marketing and selling an AG at any time or from licensing another

company to do so.

         80.      The FDA determined that allowing brand manufacturers to introduce AGs during

the 180-day exclusivity period is consistent with the “fundamental objective of the Hatch-

Waxman [A]mendments” to encourage competition and, as a result, “lower prices in the

pharmaceutical market.”42 The FDA reasoned that if a brand releases an AG at a reduced price

during the 180-day exclusivity period, “this might reasonably be expected to diminish the

economic benefit” to the generic first-filer by increasing competition and causing the generic to




    40
       FTC 2011 AG Study at 66-67.
    41
       See FDA, What Are Generic Drugs?, https://www.fda.gov/drugs/generic-drugs/what-are-generic-drugs (last
updated Aug. 24, 2017).
    42
       FDA Response to Mylan and Teva Citizen Petitions at 11-12, Docket Nos. FDA-2004-P-0400 (formerly
2004P-0075) and FDA-2004-P-0146 (formerly 2004P-0261) (July 2, 2004).

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“reduc[e] the substantial ‘mark-up’ [generics] can often apply during the [180-day] period.”43

Such competition, and the resulting price decreases, work to benefit drug purchasers.

         81.     Brand manufacturers recognize the significant economic advantages of releasing

their AGs to compete with the first-filer generic during the 180-day exclusivity period. One

study noted that “pharmaceutical developers facing competition from generics have large

incentives to compete with their own or licensed ‘authorized generics.’”44

         82.     Competition from an AG substantially reduces drug prices and the revenues of the

first-filer generic (especially during the 180-day exclusivity period).

         83.     A study analyzing three examples of AGs found that “[f]or all three products,

authorized generics competed aggressively against independent generics on price, and both the

authorized and independent generics captured substantial market share from the brand.”45

         84.     The FTC similarly found that AGs capture a significant portion of sales, reducing

the first-filer generic’s revenues by about 50% on average.46 The first-filer generic makes much

less money when it faces competition from an AG because (i) the AG takes a large share of unit

sales away from the first filer; and (ii) the presence of the AG causes prices, particularly generic

prices, to decrease.

         85.     Authorized generics are therefore a significant source of price competition. In

fact, they are the only potential source of generic price competition during the first-to-file

generic manufacturer’s 180-day exclusivity period. All drug industry participants recognize this.



    43
        Id. at 12.
    44
        Kevin A. Hassett & Robert J. Shapiro, Sonecon, The Impact of Authorized Generic Pharmaceuticals on the
Introduction of Other Generic Pharmaceuticals 3 (2007),
http://www.sonecon.com/docs/studies/050207_authorizedgenerics.pdf.
     45
        Ernst R. Berndt et al., Authorized Generic Drugs, Price Competition, and Consumers’ Welfare, 26 Health
Affairs 790, 796 (2007).
     46
        FTC 2011 AG Study at 139.

                                                      24
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Brand industry group PhRMA sponsored a study that concludes that the presence of an

authorized generic causes generic prices to be more than 15% lower as compared to when there

is no authorized generic.47 Generic companies recognize it.48 Brand companies recognize it.49

    C. Manipulation of the regulatory structure to impair competition.

         86.      The brand manufacturer of a pharmaceutical product without generic competition

gets all of the profits on all of the unit sales. In this circumstance, brand manufacturers can

usually sell their drug for far more than the marginal cost of production, generating profit

margins of 70% or more, while making hundreds of millions of dollars in profits. The ability to

set price so much above cost is one indication that the brand firm is exercising market power.

         87.      Competition from generic firms constricts the brand manufacturer’s market power

and delivers enormous savings to drug purchasers. Competition converts what formerly were

monopoly profits into purchaser savings.

         88.      While brand manufacturers and first-filer generic manufacturers are typically

marketplace competitors, they have a collective interest in preventing robust competition from

other generic manufacturers—competition that severely depresses prices—from breaking out. If



    47
        IMS Consulting, Assessment of Authorized Generics in the U.S. (2006),
http://208.106.226.207/downloads/IMSAuthorizedGenericsReport_6-22-06.pdf.
     48
        One generic stated that “[d]ue to market share and pricing erosion at the hands of the authorized [generic],
we estimate that the profits for the ‘pure’ generic during the exclusivity period could be reduced by approximately
60% in a typical scenario.” See FTC 2011 AG Study at 81. Another generic manufacturer quantified the fiscal
consequences of competing with an authorized generic and determined that the authorized generic reduced its first
generic’s revenues by two-thirds, or by approximately $400 million. Comment of Apotex Corp. in Support of Mylan
Citizen Petition at 4, Docket No. 2004P-0075 (Mar. 24, 2004),
https://web.archive.org/web/20041216115511/http://www.fda.gov/ohrms/dockets/dailys/04/apr04/040204/04P-
0075-emc00001.pdf.
     49
        Commenting on an FDA petition by drug manufacturer Teva Pharmaceuticals, Pfizer stated: “Teva’s petition
[to prevent the launch of an authorized generic] is a flagrant effort to stifle price competition – to Teva’s benefit and
the public’s detriment.” Comment of Pfizer at 6-7, Docket No. 2004P-0261 (June 23, 2004),
https://web.archive.org/web/20050601041653/http://www.fda.gov/ohrms/dockets/dailys/04/June04/062904/04p-
0261-cr00001-01-vol2.pdf; Comment of Johnson & Johnson at 1, FDA Docket No. 2004P-0075 (May 11, 2004),
https://web.archive.org/web/20041227172543/http://www.fda.gov/ohrms/dockets/dailys/04/June04/060404/04p-
0075-c00002-vol1.pdf.

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the brand and first-filer generic work together to prevent or delay such competition, they can

keep the profit margins high and split the resulting excess profits between themselves. In other

words, by stifling competition, the brand manufacturer and first-filer generic manufacturer can

maintain high prices, protect their profits, and split between themselves the enormous savings



                        Figure 1. Impact of Generic Delay on Brand Profits




that increased generic competition would have delivered to drug purchasers.

        89.      Figure 1 compares the impact on a brand manufacturer’s profits between (i) a

situation where it settles a patent lawsuit on the merits (i.e., with only an agreed entry date and

without a pay-off to the generic company); and (ii) a situation where it settles the lawsuit with a

large, unjustified payment to the generic manufacturer. In the former situation, the agreed entry

date for the generic is earlier and the brand manufacturer’s profits are thus greatly reduced. In the

latter situation, the agreed entry date is later and the brand manufacturer’s profits increase

significantly.

        90.      In order for such an anticompetitive pact to work, brand and generic

manufacturers need a means by which to divide between them the ill-gotten gains—the increased
                                                 26
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profit to the detriment of drug purchasers—that delayed competition makes possible. The generic

manufacturer has no incentive to refrain from competing unless it shares in the brand profits

from delay. To make this happen requires some form of pay offs from the brand manufacturer,

resulting in deals that are referred to as “pay-for-delay,” “exclusion payment,” or “reverse

payment” agreements.

       91.      In the presence of a first filer’s 180-day exclusivity period, the brand

manufacturer’s (unlaw) pay off to the first filer also delays other generic manufacturers from

marketing their products: none of the later filers can enter until the first-filer’s 180-day

exclusivity period has run.

       92.      Later ANDA filers can expect lower profits than a first filer because they may

have little or no expectation of any form of market exclusivity. By the time they enter the

market, there is at least the brand and one other generic on the market (and often a second

generic in the form of an AG) and, thus, the drug has already been, or is on its way to being,

commoditized. As a result, in a pay-for-delay agreement, later-filing generics may require less of

a pay not to compete. Under these unlawful arrangements, the brand shares some of its

supracompetitive profits with the later-filing generics, and in exchange the later-filing generics to

drop their patent challenges and accept a late agreed entry date.

       93.      Pay-for-delay agreements are fundamentally anticompetitive and contrary to the

goals of the Hatch-Waxman statutory scheme. They extend the brand manufacturer’s monopoly

by blocking access to more affordable generic drugs, forcing purchasers to buy expensive brands

instead.

             1. Manufacturers also use anticompetitive “acceleration” or “most-favored
                entry” clauses to delay competition.




                                                  27
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       94.     Another weapon in the pharmaceutical monopolist’s arsenal is “acceleration”

clauses, which often takes the form of a “most-favored entry” (MFE) clause which allows a

settling generic to move an entry date earlier based on an agreed-upon or actual date of entry of

another generic. When used in settling Hatch-Waxman litigation, MFE clauses dis-incentivize

later generic filers from entering the market by eliminating the possibility of a later filer entering

prior to any generic (such as but not necessarily the first filer) which has already settled.

Furthermore, an acceleration clause transfers value to the settling generic in two ways: the

privilege of accelerating based on some contingency increases expected profits, and any

deterrent effect on later filers protects the settling generic’s market position. Because an

acceleration clause creates value for the settling generic, it can be used to induce the settling

generic to accept a later entry date.

       95.     The purpose and effect of an “acceleration” or MFE clause is to dramatically

reduce any other generic manufacturer’s incentive to try to enter the market as quickly as they

can. Absent the “acceleration” clause, other generic manufacturers would have an incentive to

enter the market as soon as they were able, thereby enjoying a substantial period as the only

ANDA-based generic product on the market. By eliminating this possibility, an “acceleration”

clause results in delayed generic entry by, inter alia, disincentivizing generics that would

otherwise be willing and able to come to market from doing so because of the knowledge that

other generics would immediately flood the market.

       96.     The Chairman and CEO of Apotex, Inc.—one of the largest generic

manufacturers in the world—twice testified to Congress that “acceleration” clauses represent

“the primary anticompetitive aspects of settlements” because they “eliminate any incentive for a




                                                  28
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subsequent filer to continue to litigate for earlier market entry.”50 The clauses both induce

prospective generic competitors to accept later entry dates and deter others from challenging

weak patents:

                “[N]o subsequent filer is going to take up the patent fight knowing it will
                get nothing if it wins. Consumers are the biggest losers under this system.
                If subsequent filers do not have the incentive to take on the cost of
                multimillion patent challenges these challenges will not occur. Weak
                patents that should be knocked out will remain in place, unduly blocking
                consumer access to generics. The challenges to brand patents by generic
                companies that Hatch- Waxman was designed to generate will decrease.
                And settlements that delay consumer access to the generic will, in turn,
                increase.”51

         97.    Contrary to what their name suggests, in practice, “acceleration” clauses do not

accelerate generic entry—they delay it. The evidence for this is conclusive. A recently published

study analyzing empirical pharmaceutical settlement data concluded that “[a]n acceleration

clause paired with the 180-day exclusivity period appears to effectively deter other generics and,

at least in the instances we observed, never to have resulted in an actual ‘accelerated’ entry.” Not

once, in cases like this one (Revlimid) where the first-filer retained its 180-day exclusivity, had

“acceleration” promoted earlier generic entry. “Among the 54 cases in which the first filer

retained sole rights to the 180-day exclusivity period, there were no cases of early generic entry.

In other words, there were no cases in which the first filer’s entry was accelerated, and there




    50
        Protecting Consumer Access to Generic Drugs Act of 2007: Hearing on H.R. 1902 Before the Subcomm. On
Commerce, Trade, and Consumer Protection of the H. Comm. on Energy & Commerce, 110th Cong., at 65, 67
(2007) (statement of Bernard Sherman, CEO, Apotex, Inc.), http://www.gpo.gov/fdsys/pkg/CHRG-
110hhrg38992/pdf/CHRG-110hhrg38992.pdf.
     51
        Protecting Consumer Access to Generic Drugs Act of 2009: Hearing on H.R. 1706 Before the Subcomm. On
Commerce, Trade, and Consumer Protection of the H. Comm. on Energy & Commerce, 111th Cong., at 218 (2009)
(statement of Bernard Sherman, CEO, Apotex, Inc.) (hereinafter “Apotex 2009 Statement”),
http://www.gpo.gov/fdsys/pkg/CHRG-111hhrg67822/pdf/CHRG-111hhrg67822.pdf. Apotex addressed acceleration
clauses in the context in which, as here, the first-filing generic retained the 180-day exclusivity.

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were no cases in which a different generic entered before the entry date set in the first filer’s

settlement.”52

         VI. FDA REGULATION OF THALOMID AND REVLIMID AND CELGENE’S
                PATENT PROSECUTION HISTORY RELATED TO THE DRUGS

         98.     In the mid-20th Century, thalidomide was marketed as a sleeping pill and anti-

morning sickness pill for pregnant women. Devastatingly, when consumed by pregnant women,

thalidomide caused life-threatening fetal deformities and birth defects. Adverse effects also

included nerve damage.

         99.     Thalidomide was thereafter banned worldwide. The U.S. ban was in place until

July 16, 1998, when FDA approved Celgene’s December 20, 1996 NDA 20-785 for Thalomid,

its branded version of thalidomide. FDA approved Thalomid only as a treatment for ENL, a

form of leprosy.53 To mitigate fetal exposure to the drug, FDA conditioned its Thalomid

approval on Celgene’s use of the System for Thalidomide Education and Prescribing Safety

(“S.T.E.P.S.”) distribution program, in which patients were required to review educational

materials, register with the program, and agree to program restrictions. FDA noted in its

Thalomid NDA approval “[t]hat current restrictions strike a balance between the need to prevent

fetal exposure to the drug and the need to make the drug available without extraordinary burdens

on patients and prescribers.”

         100.    After FDA codified its REMS distribution program, FDA approved Celgene’s

supplemental NDA containing a proposed REMS program for Thalomid on August 3, 2010.




    52
        Keith M. Drake & Thomas G. McGuire, Generic Entry Before the Agreed-Upon Date in Pharmaceutical
Patent Settlements, Journal of Competition Law & Economics, (2020), 16(2), 188-219, 194.
     53
        Thalomid was later approved in 2006 to treat Multiple Myeloma (“MM”), subject again to Celgene’s
restricted distribution system.

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       101.    Celgene filed, prosecuted, and listed in the Orange Book one patent for the

Composition of Matter for Thalomid: the ’012 Patent, which was first filed with the USPTO in

June 2003. Celgene filed, prosecuted and listed a total of fourteen patents in relation to the

S.T.E.P.S. and/or REMS programs for controlling Thalomid, and later Revlimid, distribution: the

’501 Patent, the ’976 Patent, the ’432 Patent, the ’984 Patent, the ’763 Patent, the ’188 Patent,

the ’720 Patent, the ’977 Patent, the ’784 Patent, the ’399 Patent, the ’018 Patent, the ’566

Patent, the ’886 Patent, and the ’531 Patent, all of which were filed with the USPTO between

August 1998 and August 2012.

       102.    Revlimid is an immunomodulatory drug that works against cancer cells by

affecting the immune system. It is a thalidomide analogue manufactured and marketed by

Celgene. On April 7, 2005, Celgene submitted NDA 21-880 to FDA, which provides for the use

of Revlimid to treat patients with transfusion dependent anemia due to low or intermediate-1 risk

myelodysplastic syndromes associated with a deletion 5 q cytogenetic abnormality with or

without additional cytogenetic abnormalities. On December 27, 2005, FDA approved Revlimid

for this indication. FDA granted Celgene market exclusivity for Revlimid as a new chemical

entity (“NCE”) until December 27, 2010.

       103.    Revlimid is subject to a REMS distribution program, RevAssist. The primary

goal of the RevAssist program is to prevent fetal exposure to Revlimid. FDA noted in its

December 27, 2005 letter to Celgene that RevAssist is “an important part of the post-marketing

risk management for Revlimid®.”

       104.    All told, Celgene filed, prosecuted, and listed 30 patents in FDA Orange Book as

claiming Revlimid.




                                                 31
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       105.    The Orange Book listed patents for Revlimid included the ’517 Patent, which was

first filed with the USPTO in July 1996 (the “’517 patent”), and the two polymorph patents, the

’800 Patent and the ’217 Patent, first filed with the USPTO in September 2004 and December

2008, respectively (the “Polymorph Patents”).

       106.    Celgene also filed, prosecuted, and listed patents in relation to the RevAssist

program for controlling Revlimid distribution: the ’501 Patent, the ’976 Patent, the ’432 Patent,

the ’763 Patent, the ’188 Patent, the ’720 Patent, the ’977 Patent, the ’784 Patent, the ’886

Patent, and the ’531 Patent, all of which were filed with the USPTO between August 1998 and

August 2012.

       107.    Celgene also filed, prosecuted, and listed ten patents related to the dosage and

methods-of-use for Revlimid: the ’740 Patent, the ’569 Patent, the ’363 Patent, the ’929 Patent,

the ’717 Patent, the ’095 Patent, the ’120 Patent, the ’498 Patent, the ’621 Patent, and the ’622

Patent, all filed with the USPTO between April 2003 and September 2014.

       108.    In 2006, Celgene filed yet another patent, the ’745 Patent, in furtherance of its

pattern of erecting an impenetrable “patent fortress” around its Revlimid and Thalomid

monopolies.

       109.    Below is a chart of Celgene’s patent protection web:

                                              Date     Expiration
    Patent       Number      Date Filed                                   Description             Drugs
                                             Issued      Date
                                              Composition
                                                    of
                                                 Matter
                                                                      Method of reducing
                                                                      TNF.alpha. levels
                                                                      with amino
 ’517 Patent    5,635,517     24-Jul-96    3-Jun-97      4-Oct-19     substituted 2-(2,6-       Revlimid
                                                                      dioxopiperidin-3-
                                                                      yl)-1-oxo-and 1,3-
                                                                      dioxoisoindolines

                                                 32
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                                                               Pharmaceutical
                                                               compositions and
 ’012 Patent   7,230,012   30-Jun-03   12-Jun-07    9-Dec-23                            Thalomid
                                                               dosage forms of
                                                               thalidomide
                                          Polymorph

                                                             Polymorphic forms
                                                             of 3-(4-amino-1-
 ’800 Patent   7,465,800   3-Sep-04    16-Dec-08   27-Apr-27 oxo-1,3 dihydro-           Revlimid
                                                             isoindol-2-yl)-
                                                             piperidine-2,6-dione
                                                               Polymorphic forms
                                                               of 3-(4-amino-1-
                           15-Dec-                  24-Nov-
 ’217 Patent   7,855,217               21-Dec-10               oxo-1,3 dihydro-         Revlimid
                             08                        24
                                                               isoindol-2-yl)-
                                                               piperidine-2,6-dione



                                             REMS

                                                               Methods for
                                                               delivering a drug to a
                                                               patient while            Thalomid
                           28-Aug-                 28-Aug-     preventing the            Revlimid
 ’501 Patent   6,045,501               4-Apr-00
                              98                      18       exposure of a foetus     (Pomalyst
                                                               or other                     )
                                                               contraindicated
                                                               individual to the drug
                                                               Methods for
                                                               delivering a drug to a
                                                               patient while            Thalomid
                           26-Sep-     13-May-     28-Aug-     preventing the            Revlimid
 ’976 Patent   6,561,976
                             01           03          18       exposure of a foetus     (Pomalyst
                                                               or other                     )
                                                               contraindicated
                                                               individual to the drug
                                                               Methods for              Thalomid
                            22-Jan-                28-Aug-     delivering a drug to a    Revlimid
 ’432 Patent   6,908,432               21-Jun-05               patient while
                              04                      18                                (Pomalyst
                                                               preventing the               )
                                                               exposure of a foetus

                                            33
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                                                             or other
                                                             contraindicated
                                                             individual to the drug
                                                             Methods for
                                                             delivering a drug to a
                                                             patient while
                           12-Apr-               28-Aug-     preventing the
 ’984 Patent   7,874,984             25-Jan-11                                        Thalomid
                             05                     18       exposure of a foetus
                                                             or other
                                                             contraindicated
                                                             individual to the drug
                                                             Methods for
                                                             delivering a drug to a
                                                             patient while            Thalomid
                           13-Dec-               28-Aug-     preventing the            Revlimid
 ’763 Patent   8,204,763             19-Jun-12
                             10                     18       exposure of a foetus     (Pomalyst
                                                             or other                     )
                                                             contraindicated
                                                             individual to the drug
                                                             Methods for
                                                             delivering a drug to a
                                                             patient while            Thalomid
                           17-May-   19-Nov-     28-Aug-     preventing the            Revlimid
 ’188 Patent   8,589,188
                              12        13          18       exposure of a foetus     (Pomalyst
                                                             or other                     )
                                                             contraindicated
                                                             individual to the drug
                                                             Methods for
                                                             delivering a drug to a
                                                             patient while
                                                             avoiding the              Thalomid
                           23-Oct-   13-Nov-
 ’720 Patent   6,315,720                         23-Oct-20   occurrence of an          Revlimid
                             00         01
                                                             adverse side effect      (Pomalyst)
                                                             known or suspected
                                                             of being caused by
                                                             the drug




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                                                              Methods for
                                                              delivering a drug to a
                                                              patient while
                                                                                        Thalomid
                           27-Sep-    13-May-                 restricting access to
 ’977 Patent   6,561,977                          23-Oct-20                             Revlimid
                             01          03                   the drug by patients
                                                                                       (Pomalyst)
                                                              for whom the drug
                                                              may be
                                                              contraindicated
                                                              Methods for
                                                              delivering a drug to a
                                                              patient while
                                                                                        Thalomid
                           7-Mar-                             restricting access to
 ’784 Patent   6,755,784              29-Jun-04   23-Oct-20                             Revlimid
                             03                               the drug by patients
                                                                                       (Pomalyst)
                                                              for whom the drug
                                                              may be
                                                              contraindicated
                                                              Methods for
                                                              delivering a drug to a
                                                              patient while
                           22-Jan-                            restricting access to
 ’399 Patent   6,869,399              22-Mar-05   23-Oct-20                            Thalomid
                             04                               the drug by patients
                                                              for whom the drug
                                                              may be
                                                              contraindicated
                                                              Methods for
                                                              delivering a drug to a
                                                              patient while
                                      28-Nov-                 restricting access to
 ’018 Patent   7,141,018   3-Jan-05               23-Oct-20                            Thalomid
                                         06                   the drug by patients
                                                              for whom the drug
                                                              may be
                                                              contraindicated
                                                              Methods for
                                                              delivering a drug to a
                                                              patient while
                           19-May-                            restricting access to
 ’566 Patent   7,959,566              14-Jun-11   23-Oct-20                            Thalomid
                              06                              the drug by patients
                                                              for whom the drug
                                                              may be
                                                              contraindicated




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                                                            Methods for
                                                            delivering a drug to a
                                                            patient while
                                                                                      Thalomid
                           13-Dec-   20-Nov-                restricting access to
 ’886 Patent   8,315,886                        23-Oct-20                             Revlimid
                             10         12                  the drug by patients
                                                                                     (Pomalyst)
                                                            for whom the drug
                                                            may be
                                                            contraindicated
                                                            Methods for
                                                            delivering a drug to a
                                                            patient while
                                                                                      Thalomid
                           22-Aug-                          restricting access to
 ’531 Patent   8,626,531             7-Jan-14   23-Oct-20                             Revlimid
                              12                            the drug by patients
                                                                                     (Pomalyst)
                                                            for whom the drug
                                                            may be
                                                            contraindicated
                                          Dosing
                                                       Methods of using 3-
                                                       (4-amino-oxo-1,3-
                                                       dihydro-isoindol-2-
                                                       yl)-piperidine-2,6-
                           11-Apr-
 ’740 Patent   7,189,740           13-Mar-07 11-Apr-23 dione for the                 Revlimid
                              03
                                                       treatment and
                                                       management of
                                                       myelodysplastic
                                                       syndromes
                                                       Methods for
                                                       treatment of multiple
                                                       myeloma using 3-(4-
                           15-May-
 ’569 Patent   7,968,569           28-Jun-11 7-Oct-23 amino-1-oxo-1,3-               Revlimid
                              03
                                                       dihydro-isoindol-2-
                                                       yl)-piperidine-2,6-
                                                       dione
                                                       Methods for
                                                       treatment of cancers
                            8-Apr-                     using 3-(4-amino-1-
 ’363 Patent   7,468,363           23-Dec-08 7-Oct-23                                Revlimid
                              05                       oxo-1,3-dihydro-
                                                       isoindol-2-yl)-
                                                       piperidine-2,6-dione




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                                                             Methods using 3-(4-
                                                             amino-1-oxo-1,3-
                                                             dihydro-isoindol-2-
                           19-Nov-
 ’929 Patent   8,741,929              3-Jun-14    8-Mar-28   yl)-piperidine-2,6-      Revlimid
                              09
                                                             dione for treatment of
                                                             mantle cell
                                                             lymphomas
                                                          Methods of treating
                           24-Mar-                        myelodysplastic
 ’717 Patent   8,404,717              26-Mar-13 11-Apr-23                             Revlimid
                             11                           syndromes using
                                                          lenalidomide
                                                             Methods for treating
                                                             multiple myeloma
                                                             using 3-(4-amino-1-
                                                             oxo-1,3-
                                                  15-May-
 ’095 Patent   8,648,095   5-Jun-12   11-Feb-14              dihydroisoindol-2-       Revlimid
                                                     23
                                                             yl)-piperidine-2,6-
                                                             dione in combination
                                                             with proteasome
                                                             inhibitor
                                                            Methods of treating
                                                            myelodysplastic
                           13-Mar-                          syndromes with a
 ’120 Patent   9,056,120              16-Jun-15   11-Apr-23                           Revlimid
                             13                             combination therapy
                                                            using lenalidomide
                                                            and azacitidine
                                                             Methods for treating
                                                             multiple myeloma
                                                             with 3-(4-amino-1-
                           8-Apr-                 15-May-
 ’498 Patent   8,530,498              10-Sep-13              oxo-1,3-                 Revlimid
                             13                      23
                                                             dihydroisoindol-2-
                                                             yl)piperidine-2,6-
                                                             dione
                                                             Methods for treating
                                                             multiple myeloma
                                                             with 3-(4-amino-1-
                           17-Apr-    11-Aug-     15-May-    oxo-1,3-dihydro-
 ’621 Patent   9,101,621                                                              Revlimid
                             14          15          23      isoindol-2-yl)-
                                                             piperidine-2,6-dione
                                                             after stem cell
                                                             transplantation




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                                                                                   Methods for treating
                                                                                   newly diagnosed
                                                                                   multiple myeloma 3-
                                     10-Sep-       11-Aug-          15-May-        (4-amino-1-oxo-1,3-
 ’622 Patent        9,101,622                                                                                     Revlimid
                                       14             15               23          dihydro-isoindol-2-
                                                                                   yl)-piperidine-2,6-
                                                                                   dione in combination
                                                                                   with dexamethasone


                                                                                   Methods and                    Thalomid
                                     26-Apr-                        31-Jul-19      compositions for              (Not listed
 ’745 Patent        7,435,745                     14-Oct-08
                                       06                          (Estimate)      inhibition of                 in Orange
                                                                                   angiogenesis                    Book)


         110.     Celgene obtained other patents related to thalidomide and its analogs, but did not

list them in the Orange Book.54 Unlisted patents are not meaningful barriers to generic entry. A

brand company does not have standing to sue (and litigate on the merits) a would-be competitor

for allegedly infringing an unlisted patent before the competitor has actually sold its generic

product. Nor do unlisted patents trigger an automatic thirty-month stay of FDA approval for the

competitor’s ANDA.55 Celgene ultimately made frivolous infringement claims for unlisted

patents in response to ANDAs for lenalidomide, as discussed below.

              VII.  CELGENE’S ANTICOMPETITIVE SCHEME ILLEGALLY
               MONOPOLIZED THE MARKET FOR REVLIMID AND THALOMID




    54
        That Celgene did not submit these patents for listing in the Orange Book is a concession that they did not
meet the statutory standard for listing in the Orange Book or for asserting against a generic company in paragraph
IV Hatch Waxman litigation (which triggers the powerfully anticompetitive thirty-month stay).
     55
        Unlisted patents can be asserted in infringement suits filed after a generic product has launched, in an effort
to obtain damages on prior sales. Celgene did not do so here. It is rare that – outside of the Hatch Waxman
paragraph IV scheme – a brand company tries to obtain a preliminary injunction to prevent a competitor from
launching. Celgene did not do so here. Such motions for preliminary injunctions impose a high standard are
regularly denied.

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   A. Celgene Manipulated FDA’s REMS Program as a Pretextual Justification to Refuse
      Samples Needed to Prosecute ANDAs to Would-Be Competitors

       111.    Central to Celgene’s multi-faceted and decades long scheme to unlawfully

monopolize the markets for Revlimid and Thalomid was its REMS abuse. Celgene used its

associated REMS distribution programs as a pretext to delay and ultimately refuse to sell

samples of Revlimid and Thalomid to competitors that were needed to develop ANDAs, despite

exhaustive cautionary measures taken by competitors and comprehensive assurances by FDA.

These measures reveal Celgene’s claimed business justifications to be entirely pretextual.

           1. Celgene’s REMS Programs for Revlimid and Thalomid

       112.    Both Revlimid and Thalomid are subject to REMS distribution programs that

require healthcare providers and pharmacies to be certified in the RevAssist or S.T.E.P.S.

programs, respectively, and patients to be enrolled in these programs, before prescribing,

dispensing, or taking the drugs, respectively. Prescribers and pharmacists must complete

registration forms. Women of childbearing age must take a pregnancy test twenty-four hours

prior to starting a course of Revlimid or Thalomid and at least every four weeks during their

course of treatment. Prescribers must provide patients with contraception and emergency

contraception counseling with each new prescription. For every new patient, prescribers must

submit to Celgene a signed Patient-Physician Agreement Form that identifies the patient’s risk

category. The prescriber then receives a letter confirming the patients’ enrollment and the

patient and prescriber receive an authorization number which is to be written on the prescription.

The pharmacy must verify that each prescription has an authorization number that is valid for

seven days. The pharmacy must then call Celgene, obtain a confirmation number, and write this

number on the prescription. The prescription is then filled within twenty-four hours. No more

than a twenty-eight-day supply may be dispensed at one time.


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         113.     The first key to Celgene’s monopolistic anticompetitive scheme was to prevent

generic manufacturers from obtaining the necessary samples of Revlimid and Thalomid to

perform the BE testing needed to file an ANDA.

         114.     Celgene abused its REMS program as a pretextual justification for withholding

Revlimid and Thalomid samples from generic competitors. Among the manufacturers that

Celgene refused to supply are Mylan Pharmaceuticals Inc. (“Mylan”) between 2004 and the

present, Lannett Company (“Lannett”) in 2006, Exela Pharmsci, Inc. (“Exela”) in 2006, Dr.

Reddy’s Laboratories (“Dr. Reddy’s”) in 2008 and 2009, Watson Laboratories, Inc. (“Watson”)

in 2009, Teva Pharmaceuticals USA (“Teva”) in 2009, and Sandoz Inc. (“Sandoz”) in 2012.

Celgene also entered into an exclusive supply agreement with a French thalidomide supplier to

prevent Barr Laboratories (“Barr”) from obtaining that company’s thalidomide active

pharmaceutical ingredient (“API”).

         115.     Celgene’s improper use of the REMS program as a shield to refuse to provide

samples is contrary to FDAAA. FDAAA subsection f(8) states that “no holder of [a REMS-

covered drug] shall use any element to assure safe use . . . to block or delay approval of . . . an

[ANDA application].”56

                       a. Celgene’s REMS Programs are Post-Marketing Distribution Systems
                          with No Legal or Practical Relation to Sales of Samples to
                          Competitors
         116.     Celgene’s REMS distribution programs are post-marketing, commercial

distribution programs. Celgene’s REMS protocols do not discuss drug manufacturers conducting

business with one another in the pre-marketing, drug development phase. Nor do Celgene’s

REMS protocols discuss or prevent distribution of samples to drug manufacturers.



   56
        21 U.S.C. § 355-1(f)(8).

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         117.   Generic manufacturers’ safety protocols are not required to be FDA-approved for

that manufacturer to purchase samples of a REMS-subject drug. Robert West, former Deputy

Director of OGD, commented that “a generic manufacturer is not required to submit its protocols

to FDA before commencing bioequivalence studies.”57

         118.   Clinical and pre-approval studies are not governed by REMS. In an August 2012

meeting with Celgene, FDA stated, “Celgene’s REMS relates to a marketed situation and not a

clinical trial where there is more control regarding administration of the product and the amount

given is monitored and very limited.”

         119.   A sample supply of a brand-name drug, including the API, is required to

manufacture a generic equivalent. The API is used to conduct the required bio-studies and

validation testing needed to be included in the generic manufacturer’s ANDA.

         120.   Due to Celgene’s REMS program, generic manufacturers are unable to purchase

Revlimid and Thalomid samples in the United States through normal wholesale distribution

channels. The restricted network that Celgene created forced incumbent competitors to purchase

the drugs directly from Celgene, with FDA’s endorsement.

                   b. Celgene Refused to Sell Samples to Mylan
         121.   Celgene refused to sell Revlimid and Thalomid samples to Mylan, the second

largest generic pharmaceutical manufacturer in the world.

         122.   Mylan began developing a generic thalidomide product on September 26, 2003.

On October 27, 2003, Mylan requested OGD to provide guidance on prospective BE studies.

OGD provided the requested guidance within the following year.




   57
        Exhibit to MSJ Opp., Doc. No. 285-15.


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       123.    On December 22, Mylan requested thalidomide API from API suppliers GYMA

Laboratories of America, Inc. (“GYMA”) and Antibioticos to manufacture its formulation of

thalidomide. By March 11, 2004, Mylan received thalidomide API from Antibioticos.

       124.     In September 2004, after Mylan was unable to gain access to Thalomid samples,

FDA suggested Mylan contact Celgene to request samples. On October 5, 2004, Mylan’s

attorneys wrote Celgene a letter requesting to purchase 2,500 Thalomid capsules to conduct BE

studies. Celgene failed to respond to the letter. Mylan repeated its request on May 3, 2005. By

that time, Mylan had already completed safety training sessions for the handling and testing of

thalidomide.

       125.    In a June 21, 2005 letter, Celgene explained that, pursuant to its S.T.E.P.S.

program, Thalomid was not available through normal wholesale channels, and that it was against

Celgene’s policy to deal with third parties in the sale of Thalomid. This policy, to the extent it

existed, was pretextual and not based upon any legitimate legal or regulatory concerns.

       126.    In unsealed internal emails from July 6, 2005, Celgene noted that “Mylan has had

difficulty obtaining enough of Celgene’s reference product to perform BE studies, so its ANDA

submission is expected to be delayed until late in the third quarter of 2005.”

       127.    On September 2, 2005, Mylan directly contacted Celgene and requested to

purchase 3,360 Thalomid capsules to conduct BE testing. Mylan explained that the “FDA had

recommended that we contact you directly to request a sample” of Thalomid for BE testing, and

that “obtaining samples through other traditional channels is nearly impossible.”

       128.    On October 20, 2005, Celgene replied, claiming that it needed additional time to

consider the request and “to avoid fetal exposure.”




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         129.   On November 15, 2005, Mylan used an intermediary to again request that

Celgene sell it Thalomid samples for BE testing.

         130.   By December 2005, Mylan completed its scale-up of its experimental thalidomide

batch. Mylan had, by that time, captured two-years’ worth of stability data. The only remaining

step to submitting its ANDA was to conduct BE studies against the RLD.

         131.   On December 19, 2005, Celgene stated that it would need FDA’s approval to

allow Mylan to purchase samples outside of the S.T.E.P.S. program: “[W]e recommend that you

contact FDA’s [Division of Special Pathogen and Transplant Products] to discuss the importance

of the S.T.E.P.S. program to them.” Celgene claimed that if FDA then “contacts us in writing

and recommends that we violate our S.T.E.P.S. program by providing you with the quantity of

THALOMID you request, we will further evaluate your request at that time.”

         132.   This was puzzling: in an internal report created in 2003 at Celgene’s request,

Celgene conceded that Mylan’s patient monitoring system—already in place for another drug it

was studying—was robust, comprehensive, and equivalent to the S.T.E.P.S. program.

         133.   Celgene’s internal report concluded that Mylan’s safety protocols “currently have

very sophisticated patient monitoring systems for their respective clozapine products.”58 The

report also stated “it can be observed that the clozapine requirements are as comprehensive as the

S.T.E.P.S. program. Thus, Ivax and Mylan already have experienced [sic] with sophisticated

monitoring systems.”59




   58
        Exhibit to MSJ Opp., Doc No. 286-1.
   59
        Id.
                                                43
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        134.   Next, Mylan requested FDA assistance to obtain the necessary Thalomid samples

required for bioequivalence testing on January 11, 2006. In its letter, Mylan proposed protocols

to ensure avoidance of fetal exposure.

        135.   On February 12, 2007, FDA replied, requesting an investigational new drug

application (“IND”) or study protocol so that it could “ensure that all appropriate safeguards for

a clinical investigation with thalidomide are in place,” as a substitute for the S.T.E.P.S. program.

        136.   FDA’s response continued:

               It is FDA’s view that certain restrictions are needed to ensure safe use of
               the drug; however, it is not the agency’s intention to permit the restrictions
               of the S.T.E.P.S. program to prevent manufacturers of generic drugs from
               obtaining Thalomid for use in the bioequivalence testing necessary to obtain
               approval of an abbreviated new drug application for a thalidomide product.
               The agency believes that such bioequivalence studies can be conducted
               safely under either an IND or in circumstances that provide alternative
               assurance of patient safety. To ensure that the intention of Congress in
               enacting the generic drug approval provisions in section 505(j) is not
               frustrated by the terms of the S.T.E.P.S. program, FDA has notified Celgene
               that the agency intends to exercise its enforcement discretion to permit
               Celgene to provide to another drug manufacturer (or its agent) 500 units of
               Thalomid (including 200 units for the purpose of conducting
               bioequivalence (including dissolution) testing and 300 units for a limited
               number of retained samples) when Celgene has received confirmation in
               writing from the sponsor, its agent, or FDA that the sponsor of the study
               either has an IND in effect for the study or has otherwise provided the
               agency with sufficient assurance that the bioequivalence study will be
               conducted in such a manner as to ensure the safety of the subjects.

        137.   On May 1, 2007, Mylan produced to FDA its proposed thalidomide safety

protocols, which FDA reviewed, found “acceptable,” and so notified Mylan on September 11,

2007.

        138.   On November 16, 2007, Mylan notified Celgene of FDA’s approval, which

directly addressed Celgene’s pretextual justification for not providing samples. Celgene’s senior

executives and officers all admit that FDA is the ultimate authority on setting safety standards.



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Yet Celgene continued to deny Mylan’s and others’ requests for drug samples for BE testing,

using pretextual and obviously flawed safety concerns as its chief justification.60

        139.   Undeterred, Mylan continued to make requests over the next three years,

including on December 4, 2007. Celgene continued to refuse to produce Thalomid samples,

using delay tactics including requiring Mylan to produce burdensome, irrelevant, and duplicative

information. Meanwhile, Celgene internally admitted that another prospective ANDA filer’s

request was “deficient in a way that the Mylan request is not.”

        140.   On January 8, 2008, Celgene wrote Mylan requesting more information. Mylan

responded on February 25, 2008 writing that it was prepared to provide all requested information

and enclosed a confidentiality agreement. Celgene and Mylan negotiated the confidentiality

agreement until June 24, 2008, when Celgene sent Mylan the executed agreement. Mylan sent

Celgene another letter providing even more information and provided Celgene with proof of

liability insurance covering any instances of injury relating to the drug’s misuse, and further

provided an indemnity contract.

        141.   This contract, which was extensively negotiated, agreed to hold Celgene harmless

in the event of any injury or misuse.

        142.   Celgene wrote Mylan on August 1, 2008 that it was reviewing Mylan’s

documentation. Celgene’s then-Regulatory Counsel testified that as of March 4, 2011, no

“business people” at Celgene reviewed any of Mylan’s documentation. Confoundingly, Celgene

served an interrogatory response in an FTC investigation that two former CEOs, Sol Barer and



   60
       On April 21, 2000, FDA sent Celgene a “Warning Letter” stating that “Celgene has
engaged in promotional activities that state or suggest that Thalomid is safe and effective for use
in treating multiple myeloma.” With no generics on the horizon, Celgene was willing to play
fast and loose with the safe distribution of Thalomid so long as it ensured increased utilization
and increased profits.
                                                 45
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Robert Hugin, “made the decisions on behalf of Celgene regarding Celgene’s responses to

pharmaceutical companies requesting to purchase Revlimid® and Thalomid® with legal advice

from Celgene’s Deputy General Counsel and then-Regulatory and Compliance Counsel.” The

referenced in-house counsel later testified in a separate litigation that they did not have any input

into the requests, and could not recall reviewing a single response to one of the information

requests submitted to Celgene, or sitting in a meeting in which a response to a prospective

ANDA filer’s request was discussed. Upon information and belief, Celgene lied to the FTC in

its interrogatory response.

       143.    Celgene wrote Mylan in a June 24, 2009 letter that there were “outstanding

issues” with the information Mylan provided and requested nine additional categories of

information. An internal Celgene email dated May 22, 2009 contained a project titled

“Thalidomide Multiple Myeloma.” The summary of the project stated “A generic thalidomide

application was successfully delayed until at least June ’09 in the USA. Celgene may further

extend its exclusivity in the USA by using bioequivalence as a generic defense strategy….”

Celgene’s own emails show that it was never truly concerned with the safe distribution of its

drugs, but rather used safety as a pretextual justification to prevent generic competition.

       144.    Celgene’s refusal to sell Mylan samples, despite the existence of liability

insurance and an indemnity contract, is further evidence Celgene was unwilling to negotiate in

good faith with generic manufacturers to provide the requested drugs. This Court previously

held, based on these facts, that one could reasonably infer “that Celgene had no objectively




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legitimate business justification for not selling Mylan samples of Thalomid® or Revlimid®

samples after FDA approval of Mylan’s study protocols.”61

        145.   Celgene’s refusal to supply Mylan and other competitors with samples prompted

government investigations and persistent condemnation, which occurred concurrent to Mylan’s

commercial and legal attempts to secure samples, as described more fully below. FDA issued

official clarifications that REMS programs should not be used for anticompetitive reasons,62 and

specifically included Revlimid and Thalomid on a publicly published list of brand-name drugs

that had been the target of complaints that their NDA-holder (or manufacturer) is and/or had

been denying access to samples of RLDs when generic companies seek to buy them.63 The

Connecticut Attorney General’s office initiated an investigation into Celgene’s alleged REMS

abuse relating to Revlimid and Thalomid, and wrote in January 2013 that Celgene’s responses to

its REMS abuse inquiry “ha[ve] raised serious concerns in my office that, notwithstanding its

claims to the contrary, Celgene is not truly willing to sell Revlimid samples in a manner that

would allow the BE testing necessary for a competitor to submit an ANDA….Celgene’s current

actions raise the specter that the discussions have been nothing but an artifice to continue to




   61
       Mylan Pharma Inc. v. Celgene Corp., No. 14-cv-2094, ECF No. 287, 35 (D.N.J. Oct. 3,
2018).
    62
       See Center for Drug Evaluation and Research, FDA, Risk Evaluation and Mitigation
Strategy (REMS) Public Meeting (July 28, 2010), at 270-71 (statement by Jane Axelrad,
Associate Director of Policy, Center for Drug Evaluation and Research).
    63
       FDA received numerous access inquiries for Celgene’s Thalomid, Revlimid, and a third
drug not subject to this Complaint, Pomalyst (pomalidomide). The list documents that FDA
received ten inquiries related to Thalomid, thirteen inquiries related to Revlimid, and eight
inquiries related to Pomalyst. FDA issued at least four safety letters for Revlimid, including on
July 21, 2012, May 19, 2014, February 22, 2017, and August 15, 2017. FDA issued safety letters
for Thalomid on December 12, 2007, and January 17, 2008.
                                                 47
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allow Celgene to delay the development of a generic alternative to Revlimid.”64 Additionally, as

mentioned above, the FTC investigated and served interrogatories on Celgene regarding its

REMS abuse, wrote an amicus brief in support of Mylan’s antitrust suit against Celgene, and

later began to regularly testify before Congress raising the alarm regarding REMS abuse by

Celgene and others,65 and ultimately submitted statements to the Department of Health and

Human Services (“DHHS”) urging action.66

        146.   Mylan estimates that had Celgene provided it with Thalomid samples in 2006, it

would have filed a Paragraph IV Certification, Celgene would have initiated a patent

infringement litigation and Mylan could have ultimately entered the thalidomide market in the

third quarter of 2010.




   64
       See e.g., Exhibit to MSJ Opp., Doc. No. 285-21 (“[d]espite clear guidance from both
Congress and FDA that drug firms should not use REMS programs to block or delay generic or
biosimilar competition, complaints about abuse of the regulatory process persist . . . One study
estimates that Americans have lost $5.4 billion in annual savings due to delays in accessing drug
samples caused by REMS misuse and other non-FDA mandated restricted distribution
programs.”).
    65
       Antitrust Concerns and FDA Approval Process, Prepared Statement Markus H. Heier,
Bureau of Competition, Federal Trade Commission before the Subcommittee on Regulatory
Reform, Commercial and Antitrust Law, Judiciary Committee, United States House of
Representatives, Washington, D.C. (July 27, 2017), https://www.ftc.gov/public-
statements/2017/07/prepared-statement-federal-trade-commission-antitrust-concerns-fda;
Oversight of the Enforcement of the Antitrust Laws, Prepared Statement of the Federal Trade
Commission before the Subcommittee on Antitrust, Competition Policy and Consumers Rights,
Judiciary Committee, U.S. Senate (Oct. 3, 2018).
    66
       Blueprint to Lower Drug Prices and Reduce Out-of-Pocket Costs, Statement of the Federal
Trade Commission to the U.S. Department of Health and Human Services (July 16, 2018),
available at www.ftc.gov/system/files/documents/advocacy_documents/statement-federal-trade-
commission-department-health-humanservices-regarding-hhs-blueprint-
lower/v180008_commission_comment_to_hhs_re_blueprint_for_lower_drug_prices_and_costs.
pdf. (“[b]y improperly blocking the product developer from obtaining samples, the branded
manufacturer can potentially delay or indefinitely block generic or biosimilar competition to its
product, thereby reducing the competition that Congress specifically sought to facilitate via the
Hatch-Waxman Act . . . .”).
                                               48
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          147.   By June 2007, Mylan began to develop its generic Revlimid. In internal emails

from September 2007, Mylan planned to file its ANDA on December 27, 2009, was actively

sourcing raw materials, had opinions on the blocking compound patents, and planned to design

around the formulation patent.

          148.   In early 2009, Mylan endeavored to purchase lenalidomide supplies to

manufacture a generic version of Revlimid. Celgene engaged in more delay tactics, causing

Mylan to cease development efforts at various points while it attempted to procure Revlimid

samples. Mylan manufactured its final lenalidomide formulation in June 2015.

          149.   In June 2010, in response to FTC interrogatories, Celgene explained to the FTC

that “Celgene has decided not to sell REVLIMID® at the present time to manufacturers.”67

          150.   Over two years later, through its counsel, Celgene wrote to the FTC that it was

willing to “continue selling Thalomid and begin to sell Revlimid to drug companies, branded or

generic, in quantities authorized by FDA sufficient to conduct bio equivalence studies for the

purpose of preparing an Abbreviated New Drug Application [ANDA] with FDA.”68 Celgene, at

no point prior to this email, ever sold Thalomid to generic drug companies to support BE studies

for the purpose of preparing ANDAs. Celgene’s letter continued: “[Celgene would] seek to set

appropriate conditions with FDA for the sale of Revlimid similar to those it has set for the sale of

Thalomid . . . .”

          151.   On August 14, 2012, Celgene wrote FDA claiming that the FDCA does not

require an RLD sponsor to provide drug product to a proposed ANDA filer, and that FDA does

not have authority to mandate any such requirement. Celgene even threatened that “any sale of




    67
         Exhibit to MSJ Opp., Doc No. 286-4.
    68
         Id.
                                                 49
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Revlimid to a generic manufacturer will not be effectuated unless and until the FTC and the State

of Connecticut Attorney General agree to close their investigation.”69

            152.   On May 1, 2013, Mylan requested to purchase Revlimid samples from Celgene at

market value. On May 14, 2013, Celgene wrote to Mylan that it would sell Revlimid to Mylan

upon Celgene’s review of Mylan’s request and supporting documentation.

            153.   While not required to do so, Mylan sought FDA approval of its proposed safety

protocols to avail itself of any assistance FDA might be able to offer in procuring Revlimid

samples. FDA approved Mylan’s protocols on July 29, 2013.

            154.   On March 11, 2014, Mylan wrote to Celgene explaining that it received all

necessary FDA approvals. Celgene continued to refuse to provide samples, even, once again,

after being informed of FDA approval for the proposed BE testing and safety protocols.

            155.   On March 20, 2014, Celgene again wrote to Mylan refusing to sell Mylan

Revlimid samples. Exasperated with Celgene’s tactics, Mylan brought a suit on April 3, 2014

against Celgene under federal and state antitrust laws for its anticompetitive tactics to maintain

monopoly power in the market for Thalomid and Revlimid.

            156.   Mylan alleged that Celgene cited safety concerns as a pretext for its continued

refusal to provide samples of Thalomid and Revlimid, and that Celgene used a “playbook of

obstruct[ion]” and “gam[ed] the regulatory system.”70

            157.   On May 19, 2014, FDA notified Celgene that it accepted Mylan’s submitted

lenalidomide safety protocols and reiterated the FDCA’s prohibition of using REMS to prevent

ANDA filers from accessing drug samples.



      69
           Exhibit to MSJ Opp., Doc No. 285-15.
      70
           Mylan Pharma Inc. v. Celgene Corp., No. 14-cv-2094 (D.N.J. Apr. 3, 2014), Dkt. No. 1
¶8.
                                                   50
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          158.   The FTC filed an amicus brief in support of Mylan’s suit against Celgene. The

FTC noted that FDAAA was intended to prevent brand-name manufacturers from using REMS

programs to impede generic competition, as Celgene was doing with Thalomid and Revlimid.

          159.   Further, in August 2012, the FTC sent counsel for Celgene an email detailing “a

number of questions [raised] by the Bureau of Competition and the staff of the Connecticut

Attorney General’s office.”71

          160.   These concerns included questions surrounding why Celgene had yet to provide

samples of Thalomid to those requesting it, despite receiving explicit authorization from FDA to

do so.

          161.   The letter also questioned what else Celgene would need to receive in order to

authorize the sale of Revlimid to generic manufacturers: “in the interest of advancing our

discussions and trying to reach a prompt resolution with you, we propose the FTC and Celgene

meet together with FDA . . . to discuss what Celgene thinks it needs from FDA in order to be

able to make prompt sales to generic firms.”72

          162.   The FTC’s Bureau of Competition (“BOC”) followed up on this letter with

another round of correspondence in February 2013.

          163.   In a letter to Celgene’s counsel, Richard A. Feinstein, the director of the BOC

stated “that there is a lot of concern here—at both the Bureau and Commission levels—about the

time it has taken for your client to [redacted] of Revlimid capsules for bio-equivalence

testing…the Commission’s patience is wearing thin. We have reached a point where the staff

may be instructed in the very near future to commence litigation.”




   71
         Exhibit to MSJ Opp., Doc No. 285-16.
   72
         Id.
                                                 51
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        164.   Counsel for Celgene quickly forwarded this email to Celgene executives.

        165.   Most of Mylan’s claims survived Celgene’s motion to dismiss. Celgene

subsequently filed its motion for summary judgment. On October 3, 2018, Celgene’s motion

was granted-in-part and denied-in-part.73

        166.   One of Mylan’s expert witnesses in that litigation, Paul J. Jarosz, Ph.D., testified

that Mylan’s development process was typical for the pharmaceutical industry and that “[h]ad

Mylan been able to purchase Thalomid so that it could dose its bioequivalence studies and

receive an approval for its generic drug application, Celgene’s ’012 Patent and claim 2 of its

’327 Patent would not have prevented Mylan from launching its generic thalidomide product as

the claims are invalid due to prior art and/or Mylan’s formulation does not infringe them.”74

        167.   Regarding generic Revlimid, Dr. Jarosz stated that “based on the simple nature of

Revlimid and Mylan’s previous experience developing thalidomide, it appears that Mylan could

have developed and filed an application for generic lenalidomide product by December 27,

2009.”75

        168.   Dr. Jarosz’s report confirms that the inability of generic drug manufacturers to

bring versions of Revlimid and Thalomid to market was not due to internal issues or

manufacturing defects. Instead, his report reinforces the fact that the only barrier to entry in the

market was Celgene’s conduct.

        169.   Mylan never received Revlimid samples, further indicating that Celgene’s refusal

based on safety concerns was and continues to be a pretext used to exclude competition.




   73
      Mylan Pharma Inc. v. Celgene Corp., No. 14-cv-2094, ECF No. 287, 35 (D.N.J. Oct. 3,
2018).
   74
      Exhibit to MSJ Opp., Doc No. 285-21.
   75
      Id.
                                                 52
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        170.   On August 1, 2019, Celgene announced that it reached a settlement with Mylan.

On August 8, 2019, the District Court entered a consent judgment dismissing all claims with

prejudice. Celgene disclosed that it agreed to pay $62 million to resolve all claims.

        171.   Due to Celgene’s delay tactics, Mylan was not able to file an ANDA for generic

lenalidomide and serve its Paragraph IV notice until November 2019. See infra, Part VII.E.i.5.d.

But for Celgene’s anticompetitive scheme, Mylan would have launched a generic competitor.

                     i.   Mylan’s Strong Safety Protocols Confirm and Illustrate the
                          Pretextual and Unlawful Nature of Celgene’s Refusal to Sell
                          Samples to Would-Be Competitors

        172.   Mylan’s experience with the REMS process was robust and extensive, and it

would have had no issues implementing one for generic thalidomide and lenalidomide.76 As

another expert hired by Mylan in its lawsuit against Celgene, Jeff Fetterman, opined, “Mylan has

extensive experience developing, implementing, and managing risk management programs,

including several REMS programs with the same or similar restrictions and requirements as the

S.T.E.P.S. and RevAssist programs.”77 Mr. Fetterman continued and stated “[i]f Celgene had

provided brand samples to Mylan and cooperated in developing a shared REMS program for

thalidomide, the SS REMS development and FDA approval likely would have taken 18 to 24

months. Furthermore, this estimate may be conservative, as an alternative parallel agreement to

sign onto the S.T.E.P.S. program would have taken even less time, possibl[y] in as few as 12

months. All of this work could have begun in advance of Mylan’s ANDA approval….”78 Mr.

Fetterman’s report details further how Celgene’s refusal to provide drug samples due to




   76
       Exhibit to MSJ Opp., Doc No. 286-2.
   77
      Id.
   78
      Id.
                                                53
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noncompliance with REMS procedures was a misdirection and stall tactic that was not based in

truth or fact.

        173.     By contrast, Mylan’s discussions with Sofgen Pharmaceuticals (“Sofgen”)

surrounding the purchase of Mylan’s Amnesteem show that receiving an FDA approval letter

removes any perceived roadblocks to sharing a drug sample for BE testing. In September 2011,

Sofgen contacted Mylan regarding the potential purchase of Amnesteem for BE testing, a known

human teratogen under FDA restriction for sale and delivery. Prior to contacting Mylan, Sofgen

reached out and received a letter from FDA confirming its iPLEDGE safety restrictions and

procedures were adequate under current FDA guidelines to receive a human teratogen. Mylan

and Sofgen entered into successful negotiations, drafted an indemnity agreement, and discussed

the purchase price and the method for payment and delivery. The sale was completed, and

samples were delivered to Sofgen in Spring 2013. Mylan’s contract with Sofgen shows the

process for obtaining generic drug samples can be completed in a short timeframe, and without

the unnecessary and burdensome documentation Celgene requested from numerous generic

manufacturers.

                    c. Celgene Refused to Sell Samples to Exela
        174.     On May 31, 2006, Exela contacted Celgene and informed it of Exela’s intention

to file an ANDA for Thalomid. Exela stated it was having difficulty obtaining samples of this

drug from other channels, much like the other generic manufacturers who had contacted

Celgene. Exela requested a proposal for purchase within 10 days.

        175.     On June 27, 2006 Exela sent a follow-up letter to Celgene again requesting to

purchase Thalomid samples. In its letter, Exela noted the 10-day window for a purchase

proposal had lapsed despite being received the day after it was sent.



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       176.    On September 11, 2007, OGD wrote to Exela that its “proposed bioequivalence

study protocol comparing Thalidomide Capsules, 200 mg to [Thalomid] is acceptable . . . .”

       177.    On December 11, 2007, OGD Director Gary J. Buehler sent a letter to Celgene’s

internal regulatory counsel, Kerry Rothschild stating that “FDA has reviewed the bioequivalence

protocol submitted . . . on behalf of Exela and has received sufficient assurance that the

bioequivalence study will be conducted in such a manner as to ensure the safety of the subjects

and has determined that Celgene may provide Exela with 500 units of Thalomid as indicated in

FDA’s letter to you dated February 8, 2007 for the purposes of conducting an in vivo

bioequivalence study and in vitro dissolution testing.”

       178.    Over a year later, on January 8, 2008, counsel for Celgene contacted counsel for

Exela regarding the Thalomid purchase request.

       179.    In a response almost identical to ones given to other generic manufacturers,

Celgene stated it did not believe it was obligated to turn over any samples. However, it

continued, if Exela were to comply with a list of 10 demands for information, including, for

example, proof of liability insurance and a history of product loss due to improper handling or

tracking, Celgene would then “reconsider” its denial. Upon information and belief, Celgene

never provided Exela with the requested samples of Thalomid.

                   d. Celgene Refused to Sell Samples to Lannett
       180.    On September 6, 2006, Lannett wrote a letter to FDA requesting BE

recommendations regarding thalidomide capsules.

       181.    FDA’s OGD responded to Lannett’s letter on February 12, 2007. The OGD

stated that “it is not the agency’s intention to permit the restrictions of the S.T.E.P.S. program to

prevent manufacturers of generic drugs from obtaining Thalomid for use in the bioequivalence



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testing necessary to obtain approval of an abbreviated new drug application for a thalidomide

product.”

       182.    The OGD commented that, to ensure Congress’ intentions in enacting the Generic

Drug Approval Provisions in Section 505(i) are carried out, “FDA has notified Celgene that the

agency intends to exercise its enforcement discretion to permit Celgene to provide to another

drug manufacturer (or its agent) 500 units of Thalomid . . . for the purpose of conducting

bioequivalence testing.”

       183.    On February 8, 2007, FDA notified Celgene that “a study protocol would be

reviewed by FDA to ensure that all appropriate safeguards for a clinical investigation with

thalidomide are in place” if a proposed generic manufacturer wished to conduct BE studies.

FDA explained that it would “exercise its enforcement discretion to permit Celgene to provide to

another drug manufacturer (or its agent) 500 units of Thalomid for the purpose of conducting

[BE] testing, when Celgene has received confirmation in writing from the sponsor, its agent, or

FDA that the sponsor of the study either has an IND in effect for the study or has otherwise

provided the agency with sufficient assurance that the [BE] study will be conducted in such a

manner as to ensure the safety of the subjects.”

       184.    FDA’s letter also requested Celgene submit a supplement to its own Thalomid

NDA to the same effect. Celgene failed to submit this supplement, evidencing its own disregard

for safety, non-monetarily incentivized circumstances.

       185.    Nevertheless, Celgene’s then-regulatory counsel Kerry Rothschild testified that

FDA’s February 8, 2007 letter did not fully assuage Celgene’s worry that a fetal exposure and

birth of a baby with thalidomide-recognizable defects would have consequences to the value of




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Celgene’s business.79 Celgene Chief Executive Officer, Mark Alles, testified in 2016 that of the

small number of fetal exposures to Thalomid between its development and 2016, the exposures

“had minimal impact on the business as far as I know . . . .”80

            186.   In a July 26, 2007 letter to Celgene, Arthur P. Bedrosian, President and CEO of

Lannett, wrote:

                   In order to complete our bio-study, FDA has instructed us to
                   purchase 250 Thalomid 200 MG Capsules from you. We kindly
                   request information as to how to best carry out this transaction. We
                   will be happy to supply a purchase order once you provide us with
                   the total product cost. Submitted with this document, you will find
                   the appropriate licenses necessary for us to purchase the product
                   from you. We kindly ask that you inform us of any additional
                   information you will need to complete this transaction.

            187.   Upon information and belief, in September 2007, Lannett faxed to Celgene’s

Darnell Ragland, Manager, Customer Care of Celgene, a requested copy of the February 12,

2007 FDA letter, which authorized Lannett to acquire Thalomid supplies from Celgene.

            188.   Celgene continued to refuse Lannett’s request. Celgene even went as far as

actively screening any communication from Lannett directed towards Celgene regarding requests

for samples of Thalomid.

            189.   In a September 28, 2007 internal email (only made publicly available in redacted

form in 2018), a Celgene training alert ordered employees “DO NOT PROCESS THE

ORDER” (emphasis in original) if a generic company calls or writes requesting to order

Thalomid. Instead, the call center employees were directed to log the call, advise that a

management team member would return the call, and to never transfer the call to someone higher

up.



      79
           Exhibit to MSJ Opp., Dkt. No. 285-1 at 36-27.
      80
           Exhibit to MSJ Opp., Dkt. No. 286 at 185-186.
                                                   57
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         190.   Employees were further instructed to forward any similar correspondence via fax

to one of their supervisors.

         191.   Then, on October 18, 2007, Lannett wrote a letter to Mr. Ragland reiterating

Lannett’s request so that it could conduct BE testing needed to obtain approval to market its

generic thalidomide.

         192.   On January 8, 2008, Celgene advised Lannett that it would not provide samples of

Thalomid to Lannett. Rather, Celgene requested Lannett produce voluminous and unnecessary

documentation in order for Celgene to “reconsider” the request.

         193.   On January 14, 2008, Lannett filed a complaint against Celgene seeking, among

other things, mandatory injunctive relief requiring Celgene to provide samples of Thalomid as

contemplated by the February 12, 2007 FDA letter.81 The case was dismissed without prejudice.

         194.   Lannett then provided almost all of the information that Celgene requested except

its highly confidential FDA Form 483 inspection reports, which relate to the routine inspection

of manufacturing facilities, given that the Thalomid samples Lannett requested would not be

used for manufacturing, but rather for BE studies that it would perform overseas.

         195.   Lannett submitted its proposed study for FDA review, and received approval on

August 11, 2008.

         196.   Lannett refiled its Complaint on August 15, 2008 alleging violations of the

Sherman Act and seeking injunctive relief. Celgene filed its motion to dismiss on November 4,

2008. Celgene sought, in the alternative, a stay of the action pending resolution of its Citizen




   81
        Lannett Company, Inc. v. Celgene Corp., No. 08-cv-0233. (E.D. Pa.).
                                                58
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Petition. Celgene argued that it had no obligation to sell Lannett samples because it believed that

there should be no generic competition for Thalidomide in the United States at all.82

        197.   While the motion to dismiss was pending, the parties reached a settlement

agreement for Celgene to provide Lannett with samples in July 2009. When Celgene continued

to decline to supply the samples, litigation renewed, with Celgene renewing its arguments that

there should be no generic competition for Thalidomide.

        198.   Celgene’s motion to dismiss or stay the proceeding was summarily denied

without prejudice on May 13, 2010,83 and again summarily denied on March 31, 2011.84

        199.   A week before summary judgment briefs were due, the court held a settlement

conference on December 1, 2011, at which Celgene reached a confidential settlement with

Lannett and the action was dismissed.

        200.   Celgene reached a confidential settlement with Lannett in 2011.

        201.   In its 2012 Annual Report, Lannett stated that “a sizable portion of our fiscal 2013

R&D budget is earmarked for two large market opportunity projects, C-Topical and

Thalidomide.” Its 2013 Annual Report stated that Lannett “successfully passed critical

milestones for submitting a product application for Thalidomide.” As discussed below, Lannett

eventually filed a thalidomide ANDA in late 2014.

        202.   Upon information and belief, the settlement between Celgene and Lannett may

have contained anticompetitive terms, such as a promise to delay submission of the ANDA.




   82
       Motion to Dismiss, Lannett Co., Inc. v. Celgene Corp., No. 08-cv-3920, ECF No. 12 (E.D.
Pa. Nov. 4, 2008).
    83
       Order, Lannett Co., Inc. v. Celgene Corp., No. 08-cv-3920, ECF No. 27 (E.D. Pa. May 13,
2010).
    84
       Order, No. 08-cv-3920, ECF No. 42 (E.D. Pa. Mar. 31, 2011) (denying renewed motion to
dismiss).
                                                59
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         203.   The anticompetitive effect of Celgene’s conduct was to delay Lannett’s ANDA.

Though Lannett began requesting Thalomid samples in 2006, it was unable to obtain such

samples due to Celgene’s delay until at least after December 2011 and did not file its ANDA

until 2014, at which time Celgene filed a sham patent litigation, discussed below, all to delay

Lannett’s thalidomide product. As of today, there is no generic thalidomide on the market.

                   e. Celgene Refused to Sell Samples to Dr. Reddy’s
         204.   Dr. Reddy’s is a prescription drug manufacturer based in Telengana, India. It has

been developing generic prescription drugs for sale in the United States since 1994.

         205.   Dr. Reddy’s requested samples of Revlimid from Celgene to perform BE testing

in August 2008. Celgene did not reply to this request.

         206.   Dr. Reddy’s repeated its request in December 2008. Celgene offered a single

sentence reply in January 2009: “Celgene has no obligation to supply Dr. Reddy’s with Revlimid

and declines to do so.”

         207.   In its request to Celgene, Dr. Reddy’s assured Celgene any testing it performed

would comply with FDA guidelines, using methods similar to Celgene’s REMS program known

as RevAssist to insure proper handling of the subject drugs.85

         208.   Dr. Reddy’s filed a citizen petition with FDA in June 2009, alleging that Celgene

was refusing to provide samples to a generic drug manufacturer to perform BE testing.

         209.   Celgene once again premised its refusal on its REMS program, despite FDA’s

previous guidance.

         210.   In 2016, Dr. Reddy’s filed an ANDA for a generic lenalidomide product. As

discussed below, Celgene then sued Dr. Reddy’s claiming patent infringement.



   85
        Exhibit to MSJ Opp., Doc No. 285-6.
                                                60
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                   f. Celgene Refused to Sell Samples to Teva
       211.    Teva requested a total of 5,000 Revlimid Capsules in 5, 10, 15, and 25 mg

dosages from Celgene to perform BE testing in March 2009.

       212.    In its letter to Celgene, Teva stated that its “. . . procedures for conducting any

required testing involving lenalidomide and the Revlimid drug product provided by Celgene

Corporation will fully comply with FDA requirements. Teva’s controls with respect to

lenalidomide will be comparable to the RevAssist program.”

       213.     In April of 2009, Celgene responded to Teva’s request, and in a one sentence

reply, stated “[t]his letter is to inform you that your request for 5,000 capsules of REVLIMID

(lenalidomide) in varying strengths is declined.”

       214.    Celgene’s refusal to provide Teva with samples of Revlimid follows a similar

course of conduct as with refusals to other generic pharmaceutical companies.

                   g. Celgene Refused to Sell Samples to Watson
       215.    In June of 2009, much like the other generic manufacturers described above,

Watson contacted Celgene to acquire samples of Revlimid and Thalomid for BE testing.

       216.    In its request, Watson assured Celgene the process by which it would handle the

samples of these drugs would fully comply with a restricted distribution system similar to

RevAssist.

       217.    Furthermore, Watson assured Celgene that FDA guidelines would be followed,

and no drug would be distributed in violation of these guidelines, which would have been

unlikely to happen given Watson’s vast experience and expertise in the generic drug

manufacturing market.

       218.    In July 2009, despite Watson’s assurances that the requested samples would be

handled in a safe, effective, and FDA-compliant manner, Celgene responded with a list of 10

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pieces of evidence and documentation Watson would need to provide before Celgene would

consider Watson’s request. Celgene indicated it would respond to Watson’s request for

Revlimid in a separate letter.

           219.   Tellingly, Celgene did not say satisfying these 10 requirements would facilitate a

prompt sale of the samples, merely that at that time Celgene would “consider” it.

           220.   Upon information and belief, like the generic manufacturers before and after,

Watson was unable to obtain the samples of Revlimid and Thalomid it requested, with no logical

reason provided.

                     h. Celgene Refused to Sell Samples to Sandoz
           221.   In May of 2012, much like the other generic manufacturers described above,

Sandoz contacted Celgene attempting to acquire samples of Revlimid and Thalomid for BE

testing.

           222.   In response, Celgene refused to provide the samples, and instead listed nine

prerequisites Sandoz had to satisfy before it would consider selling the requested samples.

           223.   These prerequisites included that Sandoz provide “Proof of liability insurance

sufficient to cover events associated with thalidomide and lenalidomide,” “[p]olicies for

biohazard handling, disaster recovery plans as well as the storage and use of teratogenic

products,” and “[w]ritten confirmation that an IND is in effect or a study protocol . . . has been

approved by FDA.”

           224.   Like its correspondence with other generic manufacturers wishing to obtain drug

samples, Celgene referenced the REMS procedures as a reason it could not immediately supply

Sandoz with samples, despite FDA approval of Sandoz’s procedures.

           225.   Upon information and belief, like the generic manufacturers before it, Sandoz was

unable to obtain the samples of Revlimid and Thalomid it requested.

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       226.    Celgene has provided Revlimid and/or Thalomid to no generic manufacturer.

           2. Celgene Had No Legitimate Business Justification for Refusing Samples to
              Would-Be Competitors Because Its Safety Concerns Were Pretextual

       227.    While Celgene refused to supply any potential ANDA sponsor the necessary and

required samples of Revlimid and/or Thalomid based on safety concerns, it authorized its

competitive intelligence firm, GBMC, to purchase, handle, and transfer thalidomide with no

safety training required.

       228.    In 2003, Celgene authorized GBMC to purchase thalidomide API from a

European supplier, Alan Pharmaceuticals. In fact, GBMC was authorized by Celgene to use

undercover purchases to obtain samples of thalidomide API from various API suppliers. In an

undated letter, GBMC detailed the sequence of events it used to acquire, at Celgene’s request,

thalidomide samples outside the normal chains of distribution. This sequence included falsifying

prescriber names and permitting GBMC (a non-pharmaceutical company with no experience in

handling teratogenic drug product) to handle thalidomide samples, all without a formal tracking

mechanism. Celgene’s Senior Director of Market Research testified in a previous litigation that

he did not notify Celgene’s legal department of these undercover purchases, that Celgene did not

do background checks on individuals that would be handling the drug product, and that he could

not recall whether the purchased product was in its proper packaging when Celgene received it,

or who at Celgene received it.

       229.    These Celgene authorized transactions did not comport with any safety protocol.

       230.    Celgene willingly and frequently provided access to Revlimid and Thalomid to

non-competitor research organizations, outside the REMS process and without FDA guidance or

approval for the safe handling of the drug products, for the purpose of conducting clinical

studies.


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        231.   Celgene provided Revlimid for at least 3,600 different research and

investigational studies all of which operated outside the REMS process. Celgene similarly

provided Thalomid for over 100 investigator-initiated trials (“IIT”).86

        232.   For example, Celgene provided Revlimid and Thalomid to the Johns Hopkins

School of Medicine for clinical trials and provided Revlimid to Intergroupe Francophone du

Myelome, University Hospital of Toulouse, and Groupe Francophone Des Myelodysplasies, as

well as the National Cancer Institute, Eastern Cooperative Oncology Group, Mayo Clinic, and

MD Anderson Cancer Center in Houston, TX.

        233.   An IIT process is initiated when an investigator submits a Letter of Intent (“LOI”)

outlining a proposal. The brand company, here Celgene, then reviews the proposal. Celgene

testified that it tried not to review the full protocol, but rather would typically review a simplified

synopsis, along with the nature of the request, the budget, and the amount of drug requested.

The request, typically adjudicated within two months, does not require in-house counsel

assistance. Celgene has never denied an IIT proposal due to fetal exposure safety concerns.

        234.   After approving an IIT proposal, Celgene works with the investigator to draft a

study protocol and consent form which then is submitted to FDA for approval. In this specific

context, Celgene had admitted that FDA’s approval gives Celgene confidence in the safety of the

trial. Celgene then supplies Revlimid or Thalomid to the investigator to initiate the study.




   86
      IITs are clinical studies initiated and managed by non-pharmaceutical company
researchers, such as individual investigators, institutions, collaborative study groups, cohorts or
physicians.
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   B. Celgene Induced API Suppliers into Anticompetitive Exclusive Contracts to Exclude
      Competing Generic Manufacturers from Accessing API Needed to Develop
      Revlimid and Thalomid

       235.     As part of its multi-faceted and decades long scheme to unlawfully monopolize

the markets for Revlimid and Thalomid, Celgene not only refused to sell samples to competitors,

it also executed exclusive contracts with ingredient suppliers designed to delay competitors from

obtaining the needed resources to file an ANDA. As Celgene could not exhaust API supply from

these suppliers, the exclusivity provisions had no business justification and were executed

entirely to deny competitors access to API, thereby foreclosing generic entry into the Revlimid

and Thalomid markets. On information and belief, Celgene prevented Barr Laboratories, Inc.

(“Barr”), a generic drug manufacturer, from obtaining API supply from Seratec, and Plaintiff

believes that after a reasonable opportunity for discovery it may uncover more anticompetitive

exclusive contracts.

       236.     After FDA approved Celgene’s Thalomid, Barr sought to develop a generic

version of thalidomide. In order to secure approval of an ANDA, a proposed generic

manufacturer must designate the API manufacturer in the ANDA. The ANDA applicant must

submit a Drug Master File (“DMF”) from the API supplier to FDA, which is evaluated with the

ANDA.

       237.     In approximately 2004, Barr succeeded in procuring thalidomide API from

Seratec S.A.R.L. (“Seratec”), a French supplier, to develop a generic version of Thalomid by

September 2005. Barr submitted its ANDA to FDA and was waiting to receive a DMF letter

from Seratec.

       238.     Barr’s ANDA proposed a skinny label, only seeking approval for ENL, and not

MM.



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        239.   While Barr and Seratec were finalizing negotiations, Celgene and Seratec entered

into an exclusive supply agreement for thalidomide. Upon information and belief, Celgene

demanded exclusivity from Seratec to interfere with Barr’s ability to market generic Thalomid.

        240.   Inducing this exclusivity agreement was a nakedly anticompetitive action

undertaken by Celgene to ultimately delay and exclude Barr from entering the market for

Thalomid. First, Celgene had a separate API supplier that independently was filling its own API

supply needs and had sufficient supply to meet projected growth requirements. Second, Seratec

itself had sufficient resources to meet all of Celgene’s needs without exhausting supply, leaving

Seratec capable of supplying Barr, but for the exclusivity provision.

        241.   Due to Celgene’s anticompetitive scheme, Seratec would not supply Barr with its

thalidomide API. FDA did not accept Barr’s ANDA due to deficiencies in providing a DMF

from Seratec.87

        242.   Consequently, Barr was forced to find a different thalidomide supplier and repeat

testing, causing it great expense and delay in launching generic thalidomide.

        243.   On February 27, 2006, Celgene’s competitive intelligence firm, GBMC, updated

Celgene that Barr completed BE testing and was planning on filing a thalidomide ANDA in the

second quarter of 2006 using API from either Antibioticos of Italy or Shilpa of India. GBMC

noted that “[t]hese companies were being used to replace the Seratec API that Barr originally

was using for its ANDA.”



   87
      It was unclear to Celgene how Barr acquired Thalomid samples for BE testing in 2005. In
Celgene’s response to interrogatories in a separate litigation recently made public, Celgene noted
“Celgene informed FDA of its belief that Barr had acquired Thalomid® capsules from a
pharmacy in Astoria, New York in violation of the requirements of the S.T.E.P.S. program. FDA
informed Celgene that it did not intend to ‘recapture’ these capsules from Barr, and that the
manner in which Barr obtained Thalomid® for use in its bioequivalency testing would not affect
FDA’s consideration of any subsequent ANDA with respect to thalidomide that Barr might file.”
                                                66
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         244.   After securing a new supplier and performing new BE studies and validation

testing, Barr submitted its thalidomide ANDA on September 22, 2006. The ANDA showed that

Barr’s generic product was bioequivalent to Celgene’s Thalomid. FDA accepted Barr’s

thalidomide ANDA for filing on December 4, 2006.

         245.   Celgene subsequently initiated a patent infringement lawsuit against Barr for its

thalidomide ANDA, as discussed more thoroughly below, initiating an automatic 30-month stay

of FDA’s approval of Barr’s ANDA.

         246.   GBMC predicted that Barr could be expected to receive FDA approval of its

thalidomide ANDA in the first quarter of 2009.

         247.   In a May 2009 email between executives at Celgene, which contained the minutes

of a previously held internal meeting, these executives discussed Barr’s attempt to market

generic thalidomide in the USA.88

         248.   According to the minutes of the meeting: “Dianne Azzarello Regulatory Canada

discussed possible ways to defend Thalidomide against generic infiltration in the USA. From

her experience in working with generic drug providers she is of the opinion that [Celgene was]

able to use bioequivalence as generic defense strategy. The team supports this notion. If generic

companies have to effectively prove that they are at least equivalent to what Celgene has to offer

including Celgene’s RiskMap before making product available on the market.”

         249.   The meeting participants also discussed paying for research and publishing

research papers stating generic manufacturers’ version of Thalomid were not bioequivalent:

“Diane Azzarello and Henry Lau are working with Dr. Iain McGilveray who will publish a paper

providing evidence that many other formulations of thalidomide available are not bio equivalent



   88
        Exhibit to MSJ Opp., Doc. No. 284-4.
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to Celgene’s Thalomid. We may also include our simple formulation and its chemical properties

as rationale. Funding for this publication is estimated to be $40k $60k.”

       250.    These internal discussions are further evidence Celgene was not negotiating the

sale of sample drugs to generic manufacturers nor executing contracts with exclusivity

provisions with suppliers in good faith, instead seeking to foreclose generic entry into the

markets for Revlimid and Thalomid.

   C. Celgene’s Patents Ostensibly Protecting Revlimid are Subject to Strong Invalidity,
      Unenforceability, Non-infringement, and Improper Orange Book listing arguments.

       251.    Even when a generic manufacturer managed to obtain a sample of Thalomid or

Revlimid, Celgene was still able to unlawfully block them from the market by obtaining and

asserting invalid and improper patents. Celgene’s patents were subject to strong invalidity and

unenforceability arguments, including as to key patents on which Celgene relied to exclude

generic competition, namely the ‘517 compound patent and the polymorph patents.

           1. The ’517 Compound Patent is Invalid as Obvious over the Prior Art.

       252.    The original, core patent for the composition of Celgene’s thalidomide-derived

drugs is the ’517 Patent, filed in 1996. It expired on October 4, 2019. Thalidomide, the drug on

which Revlimid is based, was first marketed in 1957. The innovations on which the ’517 Patent

is based are obvious in light of the innovations and research conducted long before Celgene

began its effort to bring Revlimid and Thalomid to market; thus, the ’517 Patent and the

subsequent patents derived from it are invalid.

       253.    A person working in the relevant field would have identified thalidomide and its

analogs as effective in treating a variety of conditions, including the reduction of TNFα levels. It

would have been a natural choice to select EM-12 and/or 4-aminothalidomide as lead

compounds for further development efforts, due to their favorable properties and the promise


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both compounds had shown. A small, conservative change to either one of two lead compounds,

EM-12 or 4-aminothalidomide, would result in lenalidomide. The conservative changes that

would need to be made to EM-12 or 4-aminothalidomide (i.e., the addition of an amino group or

the subtraction of an oxygen atom, respectively) would be motivated by a desire to improve

stability and/or solubility. In making these small changes, one would have had a reasonable

expectation of success in producing a compound with beneficial properties due in part to the

close structural similarity of the lead compounds to the claimed compound.

         254.    EM-12 is structurally similar to lenalidomide, differing only in the presence of an

amino group (NH2) at the 4-position of the phthalimidine ring.

                       EM-12                                                  Lenalidomide89




         255.    A person skilled in the art would be motivated to make the small structural change

of adding an amino group to EM-12 at this particular location – a routine and easy change to

make to the compound – as part of the standard steps in drug development and optimization.

         256.    4-aminothalidomide is structurally similar to lenalidomide, differing only in that

lenalidomide has one fewer oxygen atoms than 4-aminothalidomide:




    89
        See Revlimid labeling information submitted by Celgene to the FDA at p. 5, available at
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2005/021880s000_Revlimid_Prntlbl.pdf

                                                        69
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                4-aminothalidomide                                           Lenalidomide90




         257.     It has been well known in the scientific community for decades that thalidomide

analogs have a tendency to undergo hydrolysis (i.e., degradation in the presence of water) and

therefore one skilled in the art would have been motivated to make the well-known modification

of subtracting the oxygen atom from this location to reduce the chance of hydrolysis and thereby

promote stability. Indeed, the subtraction of an oxygen atom from this location is how one would

obtain EM-12 from thalidomide, with the resulting compound having a superior stability profile

as compared to thalidomide.

         258.     Taking into account: the structural similarity of the lead compounds (EM-12 and

4-aminothalidomide) to lenalidomide; the teachings of the prior art regarding known

modifications to improve the compound’s chemical properties (e.g., stability and solubility); the

small, conservative changes at issue (i.e., either the addition of an amino group or the subtraction

of a single oxygen atom); and the totality of the prior art on thalidomide analogues (including

EM-12 and 4-aminothalidomide specifically), a person skilled in the art would have been

motivated to make the conservative changes at the specified locations with a reasonable



    90
        See Revlimid labeling information submitted by Celgene to the FDA at p. 5, available at
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2005/021880s000_Revlimid_Prntlbl.pdf

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expectation of success in creating a compound with beneficial properties. The ‘517 claim for the

lenalidomide compound is obvious in light of the prior art and therefore invalid.

            2. Celgene Misled the PTO During the Reexamination of the ‘517 Compound
               Patent, Rendering it Invalid and/or Unenforceable.

        259.    A review of the Re-examination of the ’517 Patent during patent prosecution

illustrates its invalidity and Celgene’s unlawful methods of procuring patents while constructing

its patent thicket.

        260.    The ’517 has ten claims. Claims 1 – 9 claim methods-of-use as to six compounds.

In contrast to these method of treatment claim, Claim 10 of the ’517 claims four compounds,

including lenalidomide. One of the method of treatment claims (Claim 8) pertains to

pomalidomide. However, pomalidomide is not one of the compounds claimed in Claim 10 of the

’517.

        261.    On April 14, 1998, Celgene filed a Request for Reexamination concerning the

‘517. Celgene “sought reexamination because of a question raised by a non-adversarial third

party, a potential licensee, as to the significance of certain prior art.” Celgene sought

reexamination of claims 1-10 of the ‘517 patent “in view of (l) D’Amato, U.S Patent No.

5,593,990 issued Jan.14,1997; (2) D’Amato, U.S. Patent No. 5,629,327; (3) D’Amato, U.S.

Patent No. 5,712,291 (together, “the D’Amato Patents”); (4) in view of Leibovich et al. U.S.

Patent No. 4,808,402 and (5) Leibovich et al., Macrophage-lnduced Angiogenesis is Mediated

By Tumor Necrosis Factor-α, Letters To Nature, Vol. 329, pages 630-632, pub. 15 October,

1987” (together, the “Leibovich References”).

        262.    On November 11, 1998, the PTO granted the request for reexamination,

explaining Celgene “is correct to allege that all three of the primary references, namely, the

D’amato Patents possess the same disclosure and both of the ancillary reference, namely, the


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Leibovich et al. Patent and Journal article possess essentially the same disclosure. [] The

requester alleges that the three D’Amato patents generically teach[] the compounds of the

involved patent under reexamination and that both Leibovich et al. references may be relevant

because they teach the concept of Tumor Necrosis Factors possess[ing] the unexpected ability to

induce angiogenesis, which is related to the involved patent under reexamination, albeit with

different compounds, which appears to have relevance. A substantial new question of

patentability affecting claims 1-10 of United States Patent No. 5,635,517 is raised by the

request for reexamination.”

       263.    On December 9, 1998, Celgene submitted its Statement as to why the newly

disclosed prior art references did not render the ’517 patent invalid for obviousness, arguing:

“D’Amato clearly does not describe or suggest the compounds used in the claimed method

defined by claims 1-9 or those recited in claim 10. Regardless of what compounds the D’Amato

patents do disclose, however, those references cannot render obvious the claimed method of

reducing TNFa levels. This is also true of Leibovich et al. and D’Amato in combination with

Leibovich et al. The Patent Owner sought reexamination, not because it believed D'Amato

was relevant, but because of a question raised as to the significance of D'Amato by a

nonadversarial third party. While D’Amato may raise a substantial new question of patentability,

and should be considered, it is submitted that the ultimate question of patentability must be

resolved in the Patent Owner’s favor with a finding confirming the patentability of claims 1-10.

Favorable action is earnestly solicited.”

       264.    On February 22, 1999, the PTO rejected all claims of the ’517 as unpatentable

over the three D’Amato patents (the ’990, ’327, ‘ and ’291) and in view of the two Leibovich

references, finding, “there is ample information in the prior [art] to motivate one of



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ordinary skill in the chemical arts to place [applicant’s] compounds in possession of the

public.” Explaining its determination that the claims were unpatentable as obvious, the PTO

stated:

          [T]he record has shown and the patentee has admitted in the record that the 3
          D’Amato patents contain the same disclosure and said D’Amato patents supra
          disclose the very closely analogous compounds . . and methods for their
          preparation. . . . there is a teaching of equivalence between hydrogen, hydroxy,
          epoxy and amino as possible substituents on the 4,5,6 and 7 positions of the
          benzene ring of the said 1-oxo- or 1,3-dioxo-isoindoline ring. The concept of
          angiogenesis and administering said reference compounds to a patient with toxic
          concentrations of TNF-α is taught [in the D’Amato patents]. The [Leibovich
          references] represent an excellent reference for the known compound
          “thalidomide” which represents activation of macrophages, their relationship to
          angiogenic activity and a method of controlling abnormal concentrations of TNF-
          α factor associated with solid malignant tumors, benign tumors, leukemias and the
          like. . . . Since the properties of the prior art overlap with the [’517] under
          reexamination, and the 3-D’Amato patents teach the equivalents of hydrogen,
          hydroxy, epoxy and amino groups as substituents on each of the four positions on
          the benzene ring of the isoindoline nucleus, there is ample information in the prior
          [art] to motivate one of ordinary skill in the chemical arts to place applicants
          compounds in possession of the public.

          265.   On February 25, 1999, Celgene submitted a Request for Reconsideration and

attached a declaration from Dr. David I. Stirling, Celgene’s then-Chief Scientific Officer and

EVP (the “Stirling Declaration”). Celgene argued that any finding of obviousness was rebutted

by the evidence of “unexpected properties” set forth in the Stirling Declaration.

          266.   The Stirling Declaration states in part: “Test were conducted under my

supervision to evaluate the relative activities of test compounds to inhibit the levels of [TNF-

alpha]. . . . These test were conducted on various compounds including the following:




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       267.    The Stirling Declaration further stated: “I conclude that Compound 2 is >10,000

fold more active than Compound 1 in this primary human cell-based assay.”

       268.    In its accompanying Request for Reconsideration, Celgene explained Dr.

Stirling’s findings, stating: “As explained by Dr. Stirling, Compound 2 was >10,000 fold more

active than Compound 1 in this assay. Compound 1 of course is the hydroxythalidomide

compound of D’Amato; Compound 2 is the corresponding amino compound of the present

claims.” Celgene concluded, “it is submitted that the D’Amato patents, alone or in combination

with the Leibovich et al. patent and publication, do not establish a prima facie case of

obviousness. If, however, these references are deemed sufficient to establish a prima facie case

of obviousness, it is believed the same has been fully rebutted by the evidence of record

demonstrating unexpected properties.”

       269.    Shortly after Celgene’s submission of the Request for Reconsideration and the

Stirling Declaration, the PTO issued a Notice of Intent to Issue Reexamination Certificate

allowing the claims of the ’517.

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        270.   However, “Compound 2” is not lenalidomide, nor is it any of the other

compounds claimed by the ’517. “Compound 2” is another thalidomide analogue, pomalidomide,

which is not one of the compounds claimed by the ’517 patent.

                                                 Lenalidomide91




                                       Pomalidomide92




        271.   As shown above, lenalidomide has one fewer oxygen atoms as compared to

“Compound 2” referenced in the Stirling Declaration. The Stirling Declaration does not describe




   91
       See Revlimid labeling information submitted by Celgene to the FDA at p. 5, available at
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2005/021880s000_Revlimid_Prntlbl.pdf
    92
       See Pomalyst labeling information submitted by Celgene to the FDA at p. 10, available at
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2013/204026Orig1s000Lbl.pdf
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testing of lenalidomide, or any of the other three compounds claimed by Claim 10 of the ’517

patent.

          272.   “Compound 2” is in fact pomalidomide, which is mentioned in Claim 8 as part of

a method of treatment claim, i.e., “The method according to claim 7 in which said compound is

1,3-dioxo-2-(2,6-dioxopiperidin-3-yl)-4-aminoisoindoline.” But the testing of “Compound 2”

was irrelevant to the compound patent claims in Claim 10 of the ’517. Celgene misled the PTO

and breached its duty of candor by, inter alia, submitting testing that had nothing to do with the

most vital part of the ’517 patent, i.e., the compound claims of Claim 10.

          273.   Also notable, Dr. Stirling states in his declaration that he performed testing on

“various compounds.” Yet, Dr. Stirling presented his findings with respect to only one

comparator, i.e.., “Compound 1,” which is a compound identified in the D’Amato patents.

Celgene concealed the rest of the data; Celgene cherrypicked the results that would best support

its claim of unexpected results.

          274.   In sum, the ’517 is invalid. After Celgene submitted the D’Amato and Leibovich

references to the PTO as part of the reexamination, the PTO rejected all claims of the ’517 as

invalid over the prior art. To overcome those obviousness rejections, Celgene submitted testing

that purportedly showed unexpected results. However, the “unexpected results” did not pertain to

any of the compounds claimed by the ’517 patent. Celgene failed to overcome the PTO’s finding

of obviousness and the compound claims of the ’517 are therefore invalid.

          275.   That Dr. Stirling intended to deceive the PTO is supported by the facts that (i) he

had detailed first-hand knowledge of Celgene’s thalidomide analogue testing program generally,

including the testing that had been done as to lenalidomide and related analogues, as well as the

results of that testing program, (ii) he did not submit all of the testing results relevant to the



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issues raised during the ’517 examination, and (iii) he chose to present testing regarding a

compound other than one of the compounds claimed by the ‘517 (i.e., other than the compounds

that would have supported allowing reexamination) in support of patentability.

       276.    At minimum, under judicial scrutiny in litigation, the true facts would have

rendered the ‘517 patent invalid. The same facts would also support a finding of inequitable

conduct by David Stirling (who signed and submitted the declaration) and potentially Celgene’s

in-house and outside counsel who submitted the Request for Reconsideration and supporting

Stirling Declaration (Bruce M. Collins) and/or otherwise prosecuted the reexamination.

           3. The PTAB’s Reasoning for Declining to Further Review of the ’517 Patent
              Contradicts the PTO’s Express Finding of Obviousness and Would Not Have
              Undermined Generics’ Strong Arguments Establishing Invalidity and/or
              Unenforceability.

       277.    On May 7, 2015, the Coalition for Affordable Drugs (the “Coalition”) filed a

Petition for Inter partes Review (“IPR”) of Patent No. 5,635,517 (the “Coalition’s Petition”).

The Coalition is an organization created by Hayman Capital Management, an asset management

firm. To the extent a petition for inter partes review filed by the Coalition leads to fluctuations in

a company’s stock price, Hayman Capital Management could benefit financially.

       278.    On November 16, 2015, the PTAB declined to institute review based on the

Coalition’s Petition, which focused on five prior art references: Piper (1981); Kaplan (1995);

Agrawal (1981); WO ‘085 (1994); and Keith (1992).

       279.    As discussed above in Section VII.C.i.2, in 1998 (less than a year after the ’517

initially issued), the ’517 underwent a reexamination by the PTO and was invalidated for

obviousness. The PTO’s strong findings of invalidity were only overcome by Celgene’s

submission of the highly misleading Stirling Declaration, which presented test results that had

nothing to do with the compounds claimed by the ’517 patent. The PTAB did not address the


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reexamination, nor did it address any of the prior art references on which the PTO based its

findings of obviousness. The PTAB’s conclusions are directly contradicted by the PTO’s strong

findings of invalidity.

       280.    With respect to the compound claims of the ’517 (Claim 10), the PTAB

concluded: “We likewise are not persuaded that an ordinary artisan would have had sufficient

reason to prepare any of the four compounds recited in claim 10 [e.g., lenalidomide]. All four

compounds in claim 10 comprise an amino group on the benzene ring (like AH 13 [4-

aminothalidomide] and AH 14 [3-aminothalidomide]) and a single C=O in the 5-carbon ring

(like EM 12). Petitioner has not established sufficiently, with reasonable underpinnings, why one

would have produced such compounds for any reason, for example to produce analogs that

inhibit angiogenesis (discussed in WO ’085).”

       281.    The PTAB provides no support for this statement, which is directly contradicted

by the findings of the PTO during the reexamination, which concluded: “The concept of

angiogenesis and administering said reference compounds to a patient with toxic concentrations

of TNF-α is taught [in the 5,593,990, 5,629,327, and 5,712,291 (the “D’Amato patents”)]. The

[Leibovich references] represent an excellent reference for the known compound “thalidomide”

which represents activation of macrophages, their relationship to angiogenic activity and a

method of controlling abnormal concentrations of TNF-α factor associated with solid malignant

tumors, benign tumors, leukemias and the like. Thalidomide is the unsubstituted 1-oxo-2-(2,6-

dioxopiperdin-3-yl) isoindoline respectively. Since the properties of the prior art overlap with the

Muller et al. (U.S. Patent No. 5,635,517) under reexamination, and the 3-D’Amato patents teach

the equivalents of hydrogen, hydroxy, epoxy and amino groups as substituents on each of the

four positions on the benzene ring of the isoindoline nucleus, there is ample information in the



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prior [art] to motivate one of ordinary skill in the chemical arts to place applicants [sic]

compounds in possession of the public.”

        282.   Celgene was only able to overcome the PTO’s conclusive findings of obviousness

by submitting the fraudulent Stirling Declaration. That declaration falsely stated that a compound

claimed in the ’517 patent was surprisingly at least 10,000 times more active than

hydroxythalidomide when, in fact, the tested compound was not even one of the four compounds

claimed in the compound claim in the ’517 patent.93

        283.   More generally, the PTAB’s sweeping statement, suggesting that there is no

reason “why one would have produced such compounds” dismisses the very impetus behind the

drug development enterprise, which is to take promising lead compounds, and make small,

systematic changes resulting in compounds with beneficial properties. To suggest that no one

working in the field would have been motivated to undertake further development efforts with

respect to promising lead compounds like EM-12 and 4-aminothalidomide ignores what was

actually occurring in the field and contradicts the Supreme Court’s instruction that a person

skilled in the art is “a person of ordinary creativity, not an automaton.”

        284.   The PTAB appears to have decided the ultimate outcome (i.e., no review

instituted) and then stated conclusory (and erroneous) findings to reach that result based on an

unduly narrow view of the relevant evidence. It is unclear whether the PTAB was swayed by the

identity of the Petitioner. (As noted, the Coalition is backed by a hedge fund that could benefit

financially from fluctuations in Celgene’s stock price.) What is clear is that the PTAB’s findings




   93
      See supra Section VII.C.i.2 (explaining that the Stirling Declaration presented testing data
that compared the D’Amato compound (Stirling’s “Compound 1”) to pomalidomide (Stirling’s
“Compound 2”), which is not one of the four compounds claimed by the ‘517).
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are directly contradicted by the PTO’s findings of obviousness during the reexamination, which

Celgene only overcame by submitting the false Stirling Declaration.

       285.    The PTAB proceedings do not alter the fact that the generic challenges to the

validity of the ’517 were highly likely to prevail.

           4. Celgene’s Unlisted Polymorph Patents Claiming Form A (’357, ’219, ’598
              Patents) are Invalid as Anticipated and Celgene Itself Submits Evidence
              Suggesting the ‘517 is Not Enabled.

       286.    Celgene’s filings in other proceedings, such as in the course of defending its

polymorph patents in proceedings before the European Patent Office (“EPO”) further indicate

the invalidity of its polymorph patents.

       287.    Polymorphism refers the ability of a compound to form with different crystal

structures. Although the different polymorphic forms of a compound will have the same

chemical composition, the differences in crystalline structure impact the compound’s chemical

properties, such as solubility and bioavailability. Polymorphic forms are identified by their

particular X-ray powder diffraction pattern, with peaks at specified locations. Celgene obtained

several lenalidomide polymorph patents in the U.S. and in Europe.

       288.    On November 2, 2011, the EPO issued European Patent (“EP”) 1,667,682, a

lenalidomide polymorph patent. Claim 14 of EP ‘682 claims a polymorphic form having an X-

ray powder diffraction pattern with peaks at approximately 8, 14.5, and 16 degrees 2θ. Celgene

defines the lenalidomide polymorph with peaks at these locations as “Form A.”

       289.    Celgene’s U.S. polymorph patents, 7,977,357, 8,431,598, and 8,193,219, claim

polymorphic forms with peaks in the same or similar locations:

 EP ‘682, Claim 14      “Crystalline 3-(4-amino-1-oxo-1,3 dihydro-isoindol-2-yl)-piperidine-
                        2,6-dione, which has an X-ray powder diffraction pattern comprising
                        peaks at 8, 14.5 and 16 degrees 2θ.”



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 US ‘357, Claim 3        “An unsolvated crystalline Form A of 3-(4-amino-1-oxo-1,3 dihydro-
                         isoindol-2-yl)-piperidine-2,6-dione of claim 1, which has an X-ray
                         powder diffraction pattern comprising peaks at approximately 8,
                         14.5, and 16 degrees 2θ.”

 US ‘598, Claim 5        “A solid form of 3-(4-amino-1-oxo-1.3 dihydro-isoindol 2-yl)-
                         piperidine-2,6-dione comprising an unsolvated crystalline form of 3-(4-
                         amino-1-oxo-1.3 dihydro-isoindol-2-yl)-piperidine-2,6-dione having a
                         differential scanning calorimetry thermogram endotherm at
                         approximately 270° C. and an X-ray powder diffraction pattern
                         comprising peaks at approximately 8, 14.5, and 16 degrees 2θ and a
                         thermogravimetric analysis curve indicative of an unsolvated material,
                         wherein the crystalline form is present at greater than about 80% by
                         weight of the total weight of 3-(4-amino-1-oxo-1,3 dihydro-isoindol-2-
                         yl)-piperidine-2,6-dione.”

 US ‘219, Claim 1        “A pharmaceutical composition for oral administration comprising
                         between 5 mg and 25 mg of an unsolvated crystalline 3-(4-amino-1-
                         oxo-1.3 dihydro-isoindol-2-yl)-piperidine-2,6-dione having an X-ray
                         powder diffraction pattern comprising peaks at approximately 8,
                         14.5, 16, 17.5, 20.5, 24. and 26 degrees 2θ, and a pharmaceutically
                         acceptable excipient, diluent, or carrier, wherein the composition is a
                         solid dosage form.”



       290.      On January 8, 2012, Mylan filed a Notice of Opposition with the EPO requesting

that the EPO revoke EP ‘682 as lacking novelty in light of (i.e., anticipated by) Celgene’s (US)

’517 Patent. Mylan asserted that, if the steps in Example 1 of the ’517 are carried out, it results in

the same polymorph claimed by Claim 14 of the EP ’682: “The inevitable consequence of

following the process described in prior art document [the ’517 Patent] is the preparation of a

crystalline form of lenalidomide having peaks corresponding to those peaks claimed in claim 14

[of EP ’682].”

       291.      On February 8, 2012, Teva filed a Notice of Opposition similarly requesting the

revocation of EP ‘682 on the basis of, inter alia, lack of novelty in light of the ’517. As with

Mylan, Teva’s experts carried out Example 1 of the ’517 and reported: “We have checked the

[X-ray powder diffraction (“XRPD”)] data obtained and compared it with the XRPD data

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reported in EP 1 667 682. In my opinion there can be no doubt that the lenalidomide I obtained

(both samples) is the same polymorph form as the polymorph for designed for A in EP 1 667

682.”

        292.   On March 9, 2015, Celgene filed the declaration of Dr. Natarajan in an attempt to

counter the testing results submitted by Mylan and Teva. Dr. Natarajan explained that he “was

asked to synthesize . . . lenalidomide, by exactly following the procedures of . . . Example 1 of

U.S. Patent No. 5,635,517.” Rather than providing support for Celgene’s argument that its

polymorph patents are not anticipated, Celgene’s own expert actually presented results that cast

further doubt on the validity of the ’517. In his sworn declaration, Dr. Natarajan reported that he

did not obtain lenalidomide (polymorph or otherwise) at all: “No lenalidomide was formed in the

hydrogenation reaction . . . .” In other words, the data presented by Celgene’s expert supports the

argument that the ’517 lacks enablement and is therefore invalid.

        293.   On June 24, 2015, the EPO issued a decision revoking EP ’682 based on the

rationale that Form A claimed by EP ’682 was anticipated by the ’517 patent. In so holding, the

EPO remarked on Celgene’s failure to present evidence to suggest that the ’517 does not

inevitably lead to Form A, noting that Celgene instead asserted that it was unable to obtain

lenalidomide at all when following the ’517:

        The opposition division is of the opinion that also in the present case the best way of
        countering the experimental report of Prof. Dr. Kirschning would have been to present
        own results [sic], which demonstrate that the process as disclosed in Example 1 of . . .
        [the ’517] does not inevitably lead to the form A in question. If the proprietor would have
        presented such results, the argumentation of the opponents would have lost a lot of its
        credibility. However the proprietor did not make use of this option and instad [sic]
        merely demonstrated that the compound 3-(4-amino-1-oxo-1,3 dihydro-isoindol-2-yl)-
        piperidine-2,6-dione (lenalidomide) could not be obtained at all when the procedure of
        Example 1 was exactly followed in the repetition of the experiment.

        294.   For the same reasons that EP ’682 is invalid, so too are the ’357, ’598, and ’219,

all of which also claim Form A. Mylan and Teva’s uncontroverted testing showed that, when
                                                82
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Example 1 of the ’517 is carried out, Form A lenalidomide inevitably results. Thus the ’357,

’598, and ’219 are invalid as anticipated by the ’517.

       295.    If the only patents Celgene had protecting lenalidomide were these three

polymorph patents (’357, ’219, ’598 Patents) – which Celgene did not list in the Orange Book as

claiming lenalidomide – Celgene would have had no standing to bring paragraph IV Hatch

Waxman litigation against an allegedly infringing generic, so could not have triggered the FDA’s

30-month stay of ANDA approval or provided a pretextual lawsuit for purpose of negotiating an

(anticompetitive) settlement before generic entry and/or robust generic competition.

           5. Celgene’s Listed Polymorph patents (the ‘217 and ‘800 patents) are Also
              Subject to Invalidity and Non-Infringement Challenges.

       296.    To extend its monopoly on the sale of thalidomide derivatives, Celgene began

filing additional patent applications seeking to claim other polymorphic forms of lenalidomide.

Polymorphs, also known as solvates or crystalline forms, of previously patented compounds are

routinely developed as a standard practice in the pharmaceutical industry, according to a US

patent examiner in a rejection of one of Celgene’s polymorph patent applications, and generally

not separately patentable.

       297.    Nonetheless, Celgene managed to get the USPTO to approve its polymorph

patents and list them in the Orange Book. These patents—the ’800 Patent and the ’217 Patent—

expire in 2027 and 2024, respectively. Since these patents have the latest expiration dates of any

patents associated with Thalomid or Revlimid, they have been key patents cited in repeated

attempts by Celgene and Bristol-Myers Squibb to block generic competitors from the market.

Celgene routinely cites these polymorph patents against generic manufacturers that have filed

generic Revlimid and/or Thalomid ANDAs.




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        298.   In doing so, Celgene and Bristol-Myers Squibb have also repeatedly exposed the

polymorph patents to charges of invalidity and have repeatedly settled instead of testing the

strength of these patents in court for fear of the result. When Natco Pharma Limited (“Natco

Pharma”) filed an ANDA for its generic version of lenalidomide, Celgene brought suit against it,

Watson, and Arrow International Ltd., (“Arrow”) (collectively, “Natco”) claiming

infringement.94 The parties agreed to a Markman hearing to settle the meaning of disputed

patent terms. Citing Celgene’s own clarified definition of the term “hemihydrate,” Natco

amended its invalidity contentions to the ’800 Patent, arguing that it was invalid for

indefiniteness, lack of enablement, and lack of written description. When Celgene was unable to

prevent Natco from raising these amended invalidity contentions, Celgene quickly settled with

Natco with an anticompetitive reverse payment settlement agreement, described more fully infra

Section VII.E. Having learned a dangerous lesson, Celgene did what was necessary to avoid a

similar Markman hearing over the meaning of “crystalline” in its subsequent litigation against

Dr. Reddy’s and other generic manufacturers.95

        299.   Celgene knows that the overbroad terms of its redundant polymorph patents are

an attempt to block generic competitors from bringing non-infringing products to market where

the generic manufacturer has developed a suitable workaround to Celgene’s patents. The claims

of Celgene’s other polymorph patent, the ’217 Patent, also call out crystalline and hemihydrate

forms, and are invalid for the same reasons as the ’800 Patent. Celgene has entered into



   94
       Celgene Corp. v. Natco Pharma Ltd., No. 10-5197, 2015 WL 4138982 (D.N.J. Jul. 9,
2015). Celgene alleged that while Natco Pharma filed the ANDA, Arrow assisted Natco Pharma
in preparing and filing the ANDA, and Watson prosecuted the ANDA before FDA.
    95
       Letter to Court, Celgene Corp. v. Dr. Reddy’s Laboratories Ltd., 2:16-cv-7704 (D.N.J.
Mar. 23, 2018), ECF No. 77. On the date that its responsive Markman pleadings were due,
Celgene filed a letter informing the court that it resolved its claim construction disputes with Dr.
Reddy’s and would not be filing responsive pleadings.
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stipulations dismissing the ’217 Patent and/or executing a covenant not to sue on the ’217 Patent

in actions against eight separate generic manufacturers.96 By doing this, Celgene shields the ’217

Patent, and the patents derived therefrom, from judicial scrutiny and invalidation. Nonetheless,

Celgene continues to sue generic rivals on the ’217 Patent solely to delay generic entry.

        300.    These patents, like the ’517 Patent from which they were derived, were obtained

due to a failure to disclose publicly available prior art and research from decades earlier, which

anticipate and invalidate the patent. Celgene’s failure provides an independent basis for

invalidity. These polymorphs are also obvious variants of the composition of matter patent,

adding a further basis for invalidity. Finally, based on Celgene’s own representations in the

Markman hearing that was held in the Natco litigation, the claims of the patent are unenforceable

as overbroad.

           6. The Federal Circuit held Celgene’s key REMS patents (including the ’501,
              ’720) invalid; Celgene stopped asserting the rest (’976, ’977, and ’784
              Patents).

        301.    As discussed above, in 1998, Celgene only listed the ’501 Patent in the Orange

Book in connection with Thalomid. Since then, it has listed numerous additional patents,

including the ’720, ’976, ’977, and ’784 Patents (together with the ’501 Patent, the “REMS

patents”) in the Orange Book as covering Thalomid.



   96
      See Statement, Celgene Corp. v. Natco Pharma Ltd., No. 2:10-cv-05197, ECF No. 140
(D.N.J. Aug. 31, 2012); Statement, Celgene Corp. v. Lotus Pharmaceutical Co., Ltd., et al., No.
2:17-cv-06842, ECF No. 81 (D.N.J. Aug. 8, 2018); Statement, Celgene Corp. v. Zydus
Pharmaceuticals (USA) Inc. et al., No. 2:17-cv-02528, ECF No. 93 (D.N.J. Aug. 8, 2018);
Stipulation and Order of Dismissal, Celgene Corp. v. Cipla Ltd., No. 2:17-cv-06163, ECF No. 63
(D.N.J. Aug. 16, 2018); Statement, Celgene Corp. v. Sun Pharmaceutical Industries, Inc. et al.,
No. 2:18-cv-11630, ECF No. 50 (D.N.J. Jan. 22, 2019); Consent Judgment, Celgene Corp. v.
Apotex Inc., No. 2:18-cv-00461, ECF No. 63 (D.N.J. Apr. 30, 2019); Stipulation and Order of
Dismissal, Celgene Corp. v. Hetero Labs Ltd. et al., No. 2:18-cv-17463, ECF No. 54 (D.N.J Jan.
21, 2020); Statement, Celgene Corp. v. Mylan Pharmaceuticals Inc. et al., No. 1:20-cv-00003,
ECF No. 120 (N.D. W. Va. Oct. 9, 2020).
                                                85
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           302.   The ’501 and ’720 patents were invalidated by the Patent Trial and Appeal Board

(“PTAB”) on October 26, 2016.97 The same logic dictates that Celgene’s other REMS patents

are also invalid. Celgene stopped pressing its other REMS patents in litigation against generics

after the Federal Circuit affirmed the PTAB decision.

           303.   The PTAB found the ’501 Patent invalid as obvious over the combined

disclosures of three asserted prior art references as representative of the level of ordinary skill in

the art.

           304.   Guidance regarding the clinical use and dispensing of thalidomide was provided

by an existing publication in 1994 that identified a patient subpopulation of women who could

and wished to become pregnant, warning that they should not be treated with Thalomid, and

recommending counseling on the risks of thalidomide as well as the use of contraception.98

           305.   Further guidance was also provided by the existing pregnancy-prevention

program for women users of Accutane, a Vitamin A analogue of isotretinoin and a known

teratogenic drug. Accutane was subject to a program of preventative measures, such as

pregnancy-risk warnings on packaging, targeting of women of childbearing age for the

pregnancy-prevention program, and communication between physicians and patients regarding

the drug’s teratogenic risk and the need to prevent pregnancy.99




    97
       See Coalition for Affordable Drugs VI LLC, et al., v. Celgene Corp., IPR2015-01092, Paper No. 73 (P.T.A.B.
Oct. 26, 2016), https://portal.unifiedpatents.com/ptab/case/IPR2015-01092; IPR2015-01096, Paper No. 73 (P.T.A.B.
Oct. 26, 2016), https://portal.unifiedpatents.com/ptab/case/IPR2015-01096; IPR2015-01102, Paper No. 75 (P.T.A.B.
Oct. 26, 2016), https://portal.unifiedpatents.com/ptab/case/IPR2015-01102; IPR2015-01103, Paper No. 76 (Oct. 26,
2016), https://portal.unifiedpatents.com/ptab/case/IPR2015-01103 (“Coalition”).
    98
       R.J. Powell and J.M.M Gardner–Medwin, Guideline for the clinical use and dispensing of
thalidomide, POSTGRAD MED. J. 79, 901–904 (1994) (“Powell”).
    99
       Allen A. Mitchell et al., A Pregnancy–Prevention Program in Women of Childbearing Age
Receiving Isotretinoin, NEW ENG. J. MED. 333:2, 101–06 (Jul. 13, 1995) (“Mitchell”).
                                                       86
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         306.   Guidance for the use of a national database to register prescribers, pharmacies,

and patients as a way to restrict access to drugs that could be potentially hazardous was also

published well before the ’501 Patent was filed, such as the nationwide registry for patients

requiring clozapine, a potent anti-psychotic drug with potential for serious side effects.100

         307.   The PTAB found that a person of ordinary skill in the art would have understood

how to implement Powell’s teachings in clinical and pharmacy settings in view of the Accutane

Pregnancy Prevention Program and the Clozaril (clozapine) controlled distribution model

outlined in Dishman. The PTAB was not persuaded by Celgene’s argument that the prior art did

not specifically single out men who could impregnate a woman as a subgroup, noting that a

skilled artisan would have recognized that the sperm of male patients could be damaged by

teratogenic drugs and consequently result in birth defects if the male was to impregnate a

female.101

         308.   The PTAB found the ’720 Patent invalid as obvious over the combined

disclosures cited against the ’501 Patent for the original S.T.E.P.S. program, while finding that

the inherent dangers of Thalidomide would drive someone of ordinary skill in the art to

proactively improve the system. Citing U.S. Patent No. 5,832,449 (issued Nov. 3, 1998,

“Cunningham”), which describes an approval code used by prescribers and pharmacies to track

and manage pharmaceutical products, the PTAB found that a person of ordinary skill in the art

could predict that such an approval code could be utilized by prescribers and pharmacies to track

and manage Thalomid and Revlimid. In light of this prior art, the PTAB invalidated the ’720

Patent as obvious.



   100
       Benjamin R. Dishman, et al., Pharmacists’ role in clozapine therapy at a Veterans Affairs
medical center, AM. J. HOSP. PHARM. 51, 899–901 (Apr. 1, 1994) (“Dishman”).
   101
       Coalition, IPR2015–01092, Paper No. 73.
                                                 87
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          309.    As the PTAB noted, “[w]hen it benefitted [Celgene's] interests before FDA,

[Celgene] freely admitted that its ‘plan [for thalidomide] is built on experience with restrictions

on such other drugs with severe adverse effects as Accutane … and Clozaril.”102 Before the

USPTO however, Celgene repeatedly failed to disclose the very materials that it relied on in

presenting its program to FDA, along with other similar prior art such as the Clozaril Patient

Monitoring Service and numerous published works describing the features of REMS programs

similar to Celgene’s original and modified S.T.E.P.S. programs.

          310.    On July 30, 2019, the Federal Circuit affirmed the findings of the PTAB

invalidating the ’501 and ’720 patents for obviousness.103

          311.    The ’976 Patent, the ’977 Patent, and the ’784 Patent, filed more than three years

later, are nearly identical to the invalidated ’501 and ’720 patents. In fact, many of these patents

were so similar that Celgene did not even bother changing the title or abstract describing the

patent.104

          312.    As explained above, at least the ’720, ’977, ’784, and ’399 patents are

unenforceable due to inequitable conduct because the applicants of these patents, including

Williams, as well as their agents, attorneys and/or others substantively involved in the

prosecution of those patents, concealed from the PTO prior art references that they knew were


    102
          IPR2015-01092, at 24 (P.T.A.B. Oct. 26, 2016).
    103
          Celgene Corp. v. Peter, 931 F.3d 1342 (Fed. Cir. 2019).
    104
        At least the ’720, ’977, ’784, and ’399 patents are also unenforceable due to inequitable conduct because the
applicants of these patents, including Zeldis’s co-inventor Williams, as well as their agents, attorneys and/or others
substantively involved in the prosecution of those patents, concealed from the PTO prior art references that they
knew were material to patentability—including the CPMS, Honigfeld I, Honigfeld II, the Guide, the PPP, the PPP
Package, the CDC Meeting and Transcript, the CDER Meeting (including Williams’ presentation) and Transcript,
and/or the NIH Meeting (including Williams’ presentation) and Transcript—with intent to deceive the patent
examiner. As a patent related to and directed to an invention not sufficiently distinct from the unenforceable ’720,
’977, ’784, and ’399 patents, the ’018, ’566, ’886 and ’531 patents are likewise unenforceable under the doctrine of
infectious unenforceability (an argument raised by generics in litigation). In particular, each of the ’018, ’566, and
’531 patents is terminally disclaimed over the ’720, ’977, ’784, and/or ’399 patents, and the ’866 patent is terminally
disclaimed over the ’566 patent.

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material to patentability—the CPMS, Honigfeld I, Honigfeld II, the Guide, the PPP, the PPP

Package, the CDC Meeting and Transcript, the CDER Meeting (including Williams’

presentation) and Transcript, and/or the NIH Meeting (including Williams’ presentation) and

Transcript—with intent to deceive the patent examiner.

        313.    As a patent related to and directed to an invention not sufficiently distinct from

the unenforceable ’720, ’977, ’784, and ’399 patents, the ’018, ’566, ’886 and ’531 patents are

likewise unenforceable under the doctrine of infectious unenforceability. In particular, each of

the ’018, ’566, and ’531 patents is terminally disclaimed over the ’720, ’977, ’784, and/or ’399

patents, and the ’866 patent is terminally disclaimed over the ’566 patent.

            7. Celgene’s Method of Treatment Patents are Not a Roadblock for Generic
               Entry.

                    a. Celgene’s ’740 MDS method of treatment patent is subject to strong
                       invalidity and unenforceability challenges, including as to the date of
                       conception of the invention
        314.    The patent prosecution of the ’740 Patent shows how Celgene engaged in

deceitful tactics to obtain invalid method of use patents that should not have issued and would

have been invalidated at trial but for Celgene’s monopolistic scheme, including its practice of

settling all its sham litigations to shield its patents from judicial scrutiny.

        315.    Celgene’s method of treatment patent 7,189,740 is a continuation of U.S.

Application No. 10/411,649 filed Apr. 11, 2003. Application No. 10/411,649 stems from

Provisional Patent Application No. 60/418,468 filed on October 15, 2002. Based on this

information, one would understand the priority date for the ‘740 to be October 15, 2002.

        316.    During the prosecution of what led to the ‘740 patent, the PTO rejected the claims

as anticipated over U.S. Application No. 03/0235909 and U.S. Application No. 04/0067953




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(“Stein”). The PTO also rejected the claims as anticipated or obvious over WO 01/87307 and for

double patenting over U.S. Application No. 10/438213.

       317.    To overcome the PTO’s rejection, Celgene filed a declaration by Jerome Zeldis,

Celgene’s then-Vice President and Chief Medical Officer, dated August 17, 2005 (the “First

Zeldis Declaration”). The First Zeldis Declaration states: “I conceived of the presently claimed

invention in the ‘649 application prior to March 8, 2002, the date of the first filed application

to which Stein claims priority. This is evidenced by a clinical trial protocol identified within

Celgene as ‘MDS-501-001’ which is entitled “A PHASE II OPEN LABEL STUDY OF THE

SAFETY AND EFFICACY OF CC-5013 (REVIMID®) TREATMENT FOR PATIENTS

WITH MYELODYSPLASTIC SYNDROME.’ A redacted copy of the front page of this protocol

description is attached hereto as Exhibit D.”

       318.    The First Zeldis Declaration continues, “Specifically, the protocol for treating

MDS with REVLIMID® was designed based upon my conception, and under my supervision

and direction, prior to March 8, 2002. Patients were enrolled and treated with REVLIMID®

under the protocol from prior to March 8, 2002 to the filing date of the present application. This

is evidenced, in part, by the abstract attached hereto as Exhibit E, List et al., ‘High Erythropoietic

Remitting Activity of the Immunomodulatory Thalidomide Analog, CC-5013, In Patients with

Myelodysplastic Syndrome (MDS),’ American Society of Hematology Abstract #353, 2002,

which reports the results obtained under the protocol MDS-501-001. This study is also disclosed

in Section 5.3. ‘Clinical Studies In MDS Patients,’ on pages 34-35 of the specification.”

       319.    Contrary to Dr. Zeldis’s assertion, none of the cited references support his claim

that he “conceived of the claimed invention prior to March 8, 2002.” Exhibit D is a single page

from the protocol, from which all date information has been conspicuously omitted:



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         320.   Similarly, Exhibit E is an abstract from the December 6-10, 2002 annual meeting

of the American Society of Hematology that describes a study, but provides no information

about the date of the study. The same is true for the referenced pages of the specification.

         321.   Subsequently, the PTO rejected the claims, inter alia, as obvious over a newly-

cited prior art reference, Raza (August 2001, Blood), in view of WO 01/87307 (international

publication date of November 22, 2001). In response, Celgene submitted a second declaration

from Dr. Zeldis dated June 22, 2006 (the “Second Zeldis Declaration.”)105 In this declaration, Dr.

Zeldis claims, “I conceived of treating MDS with Revlimid before July 19, 2001.”106 He cites

the same Exhibits D and E and the same section of the specification. However, no exhibits are

attached the Second Zeldis Declaration; and as noted above, the referenced pages of the

specification do not provide any date information. Shortly after the submission of the Section

Zeldis Declaration, the ’740 Patent issued (subject to terminal disclaimer as to U.S. Patent

Application No. 10/438,213).107

         322.   The ’740 Patent is invalid. The PTO found that the claimed invention was obvious

over the prior art, including Raza (August 2001) in view of WO ‘307. Dr. Zeldis submitted no

documentation that supports his assertion that he had “conceived of the claimed invention prior

to March 8, 2002” (the First Zeldis Declaration”) nor does he submit any evidence to support his

later claim that he had “conceived of treating MDS with Revlimid before July 19, 2001.”

Celgene therefore failed to overcome the PTO’s findings of obviousness.

                   b. A Significant Portion of Celgene’s Method of Treatment Patents were
                      Subject to Section viii Carve Outs by Generic Manufacturers.




   105
       Patent file wrapper PDF at p. 794-796.
   106
       Id. (emphasis added).
   107
       Terminal disclaimer dated June 23, 2006 (patent file wrapper PDF at p. 792).
                                                92
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         323.    While Celgene improperly obtained sixteen method of treatment patents, many of

these related to uses that were susceptible to section viii carveouts.108 Through a section viii

carveout, a generic can limit the number of patents at issue in litigation by seeking ANDA

approval on one or more of the FDA approved indication, and omit from its label information

about other approved indications. Often a generic company includes in its label the original

approved indication and omits additional indications that are claimed by patents with later

expiration dates. The FDA and Congress encourage generic companies to use Section viii carve

outs in order to bring generic drugs to market as soon as possible.

         324.    From the three Final and Temporary Approval letters that are publicly available, it

is apparent that generics were contemplating and/or employing this strategy.

         325.    The following lists the publicly available methods-of-use patents that have been

carved out by each generic manufacturer.

           Generic                             Section viii Carve Outs
         Lotus          ’363 patent, ’406 patent, ‘929 patent, ‘730 patent, ‘238 patent
         DRL            ’363 patent, ‘406 patent, ‘929 patent, ‘730 patent, ‘238 patent
         Natco          ’363 (it appears), ’406 patent, ’730 patent, ’238 patent, ’621 patent
         326.    For instance, Natco’s Final Approval Letter confirms that it certified section viii

carveouts for the '406, '621, '730, and '238 patents. Additionally, from the redacted text it appears

that Natco may have been contemplating a carveout for less common uses of the ’363 Patent,

including for treatment of MCL, follicular cancer, and marginal zone lymphona.




   108
         See 21 U.S.C. § 355(j)(2)(A)(viii).
                                                  93
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        327.    While all of Celgene’s methods-of-use patents are invalid, generic manufacturers

 would have only needed to address subsections of these patents to prevail at trial and bring a

 competing generic to market.

                    c. Celgene’s Multiple Myeloma Method of Treatment Patents are
                       Obvious Over the Prior Art
        328.    Celgene’s multiple myeloma method of treatment patents (the 7,968,569,

 8,530,498, 8,648,095, and 9,101,622) claim the administration of lenalidomide in combination

 with dexamethasone in specific dosing regimens. The initial non-provisional applications for

 these method of treatment patents claimed the benefit of a May 17, 2002 provisional application

 (Application No. 60/380,842) and a November 6, 2002 provisional application (Application No.

 60/424,600).

        329.    The multiple myeloma method of treatment patents are subject to strong invalidity

 challenges, including obviousness. It was well known in the prior art before May 17, 2002 that

 lenalidomide in combination with steroids such as dexamethasone was used to treat cancers. To

 overcome the PTO’s rejections for obviousness, Celgene submitted findings it argued showed

 that it had determined, before the date of its May 2002 application, that there were unexpected

 results in the administration of lenalidomide in combination with dexamethasone in specific

 dosing regimens. However, Celgene’s unexpected results either were not, in fact, unexpected or

 post-date the claimed invention by a significant period of time. For example, during the

 prosecution of the ‘569 patent Celgene stated that it “submitted numerous publications which

 support that the claimed combination therapy showed surprising, unexpected and synergistic

 effects for treating multiple myeloma patients.” In support of this statement, Celgene cited the

 following references:

                . . . . Weber et al., Abstract #412, American Society of
                Hematology, December 8-11, 2007; Harousseau et al., Abstract

                                                 94
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                #3598, American Society of Hematology, December 8-11, 2007;
                Foa et al., Abstract #4839, American Society of Hematology,
                December 8-1,. 2007; Chanan-Khan et al., Abstract #2721,
                American Society of Hematology, December 8-11, 2007; Wang et
                al., Abstract #P0-662, XI International Myeloma Workshop and IV
                International Workshop on Waldenstrom 's Macroglobulinemia
                #3553, American Society of Hematology, December 9-12, 2006.
                Also see the publications submitted on February 26, 2007,
                Rajkumar et al., Blood, Dec. 15, 2005, l06 (13)4050-4053;
                WEBER et al., Abstract# PO. 7 38, International Multiple
                Myeloma Workshop, April 10-14. 2005; RICHARDSON et al.,
                Blood, Abstract# 825, American Society of Hematology, Dec. 6-9,
                2003; WEBER, Abstract# Pl5.02. International Multiple Myeloma
                Workshop, April 10-14, 2005; CELGENE CORPORATION Press
                Release, February 2003; RICHARDSON et al., Best Practice &
                Research Clinical Haematology, 2005, 18 (4):619-634; HUSSEIN
                et al., Blood, Abstract #208, American Society of Hematology,
                Dec. 4-7, 2004; and BAZ et al., "Blood, Abstract# 2559, American
                Society of Hematology, December 10-13, 2005.

        330.    However, the publications noted above all post-date the claimed invention, often

 by years; none of these showed that at the time Celgene claimed it has made the invention that it

 has shown there to be unexpected results. The citations did not support a finding of patentability.

 The generic manufacturers had strong invalidity challenges to the multiple myeloma method of

 treatments patents (several of which are subject to terminal disclaimers) and would have entered

 the market earlier, either by successfully invalidating the patents or by negotiating an earlier

 entry date, under competitive conditions.

    D. Celgene Filed Baseless Citizen Petitions to Stymie Generic Approval

        331.    As part of its multifaceted and decades long scheme to monopolize the market for

 Thalomid and Revlimid, Celgene filed baseless citizen petitions against generic manufacturers

 when manufacturers belatedly managed to secure the necessary API to file an ANDA. Celgene

 engaged in such anticompetitive conduct to take advantage of its knowledge that it is the

 standard practice for FDA to withhold ANDA approval until FDA completes its research into



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 and response to a citizen petition. The filing of baseless citizen petitions occurred often in

 tangent with, and as a complement to, Celgene’s sham patent litigations. See infra, Part VII.E.

          332.   To illustrate, Celgene filed a citizen petition concerning Barr’s ANDA application

 on September 20, 2007, urging FDA not to approve Barr’s thalidomide ANDA. Celgene

 submitted this citizen petition one year after Barr had filed its ANDA with FDA for generic

 Thalomid and nine months after Celgene had filed a sham patent litigation. Celgene’s citizen

 petition was baseless and intended to delay Barr’s entry into the market for generic thalidomide.

          333.   At a meeting with Celgene in 2012, FDA’s Jane Axelrad, Associate Director for

 Policy at CDER, commented “since 2007, Celgene’s citizen’s petition states there are safety

 concerns and this is because the company does not want generics on the market.”109 In its citizen

 petition, Celgene requested that FDA withhold approval of any generic thalidomide product, or

 alternatively: i) require the application for generic thalidomide to be subject to the same

 conditions of approval applied to Thalomid under Subpart H of 21 C.F.R. Part 314; and ii)

 prohibit the restricted distribution program for the generic thalidomide product from authorizing

 prescriptions for, and registering patients with, multiple myeloma, in violation of Celgene’s

 orphan drug exclusivity, which would expire in 2013.

          334.   Celgene’s petition was meritless. It lacked any reasonable regulatory, scientific,

 medical, or other basis. FDA lacked statutory authority to withhold approval of generic

 thalidomide on the bases given by Celgene or to require the actions Celgene requested. Like its

 litigation against Barr, this citizen’s petition was also a sham designed to maintain Celgene’s

 monopoly.




    109
          Exhibit to MSJ Opp., Doc. No. 285-15.
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          335.   On December 19, 2008, Barr responded to the petition, arguing that it “is nothing

 more than yet another attempt by a brand company to block all generic competition using market

 exclusivity protecting just a single approved indication.”110 Barr explained that Celgene’s

 pretextual safety concerns were “hyperbole designed to improperly play on the public’s fears

 regarding thalidomide,” and that Barr’s proposed thalidomide would be safe and its label would

 contain all precautionary information contained in the Thalomid label. Specifically, Barr argued

 that the law permits it to carve-out from its label Thalomid’s protected MM indication, and that

 “Barr’s Thalidomide Labeling Need Not Contain The Multiple Myeloma Indication To Ensure

 The Safe And Effective Use Of The ANDA Product.”

          336.   Nearly six years later, on September 30, 2014, FDA denied Celgene’s citizen

 petition. Specifically, FDA “den[ies] your request that FDA decline to approve any ANDA for

 thalidomide.”

          337.   Celgene’s filing of baseless citizen petitions was part of, and advanced, its scheme

 to unlawfully monopolize the markets for Revlimid and Thalomid. As detailed above, Celgene

 used its baseless citizen petition to argue for a stay in Lannett’s antitrust lawsuit against Celgene

 over its refusal to sell Lannett samples, further delaying Lannett’s ability to file an ANDA and

 enter the market.

    E. Celgene and Bristol-Myers Squibb Serially Commenced “Sham” Patent Litigation
       Before Inducing a Pay-for-Delay Settlement Agreement with Natco and Agreements
       with Later-Filing Generics that Shored Up the Anticompetitive Terms of the Natco
       Agreement

          338.   Celgene fraudulently obtained invalid patents in order to construct a patent thicket

 that would, along with the other anticompetitive tactics in its multi-faceted monopolistic scheme,

 prevent and delay generic competition. With its fraudulently obtained and invalid patents in


    110
          Exhibit to MSJ Opp., Doc. No. 285-17.
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 hand, Celgene and BMS then serially filed “sham” patent litigations against would-be

 competitors. Due to Celgene’s policy and practice of refusing to provide samples to would-be

 generic rivals, the details of many of which are outlined above, each generic manufacturer below

 had already been delayed by Celgene’s multifaceted scheme and would have filed a Paragraph

 IV certification earlier. Knowing its patents were invalid and that asserting them would trigger

 the 30-month stay of FDA ANDA approval, Celgene asserted them solely for the purpose of

 continuing to delay generic competition as part of its multifaceted monopolistic scheme.

        339.    Then, after utilizing the 30-month stay to delay generic entry, Celgene induced

 generic companies to settle. Celgene induced an anticompetitive reverse payment settlement

 agreement regarding Revlimid with (1) the first-filers, Natco, Arrow, and Watson. Celgene then,

 leveraging its settlement with Natco, induced settlement agreements with numerous later-filing

 generics regarding Revlimid that shored up the anticompetitive terms in the Celgene-Natco

 agreement, including: (2) Alvogen and Lotus, (3) Dr. Reddy’s, (4) Cipla, (5) Apotex, (6) Zydus,

 (7) Sun, (8) Hetero, (9) Mylan, (10) Aurobindo, (11) Torrent, (12) Biocon, (13) Lupin, and (14)

 Hikma (collectively, “Later-Filing Generics”).

        340.    To date, after fifteen years of litigation comprising at least twenty-eight separate

 actions, Celgene and BMS have not allowed a single patent to face judicial scrutiny and

 judgment after trial by a District Court. Only a single remaining patent litigation, against

 Alembic, remains pending. There remains no generic Thalomid alternative on the market and

 there will be no true generic competition on Revlimid until 2026.

        341.    Celgene and BMS shielded its Revlimid and Thalomid patents by settling patent

 litigation before judicial scrutiny of its patents and sharing their monopoly rents by allocating a




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 portion of the market to each generic competitor in exchange for abandoning their patent

 challenges.

        342.      Celgene initiated a sham patent litigation against the first filer for Revlimid,

 Natco, before inducing it to delay its generic launch in exchange for a large, unjustified payment.

 This unlawful “reverse payment” comprised a two-pronged in-kind payment: (1) a volume

 limited, royalty-free generic license before full generic competition began, equating to hundreds

 of millions of dollars in payment to Natco; and (2) MFE clauses that both deterred later-filing

 generics from challenging Celgene’s patents through judgment and induced Natco to accept a

 later entry date by eliminating the risk that Natco loses its lucrative exclusivity period.

        343.      Celgene also filed sham patent litigations and induced settlements against the

 Later-Filing Generic rivals. Celgene modeled these settlements on and designed them to

 complement the Natco settlement, further allocating the market for Revlimid and delaying

 generic entry.

        344.      In 2008, Celgene filed a patent infringement lawsuit against Barr, in 2015 against

 Lannett Holdings, Inc. and Lannett Company, Inc. (collectively, “Lannett”), and in 2018 against

 Hikma Pharmaceuticals International Ltd. and Hikma Pharmaceuticals USA, Inc. (collectively,

 “Hikma) for its thalidomide ANDAs.

        345.      In 2010, Celgene filed a patent lawsuit against Natco for its lenalidomide ANDA.

 In 2016, Celgene filed a patent lawsuit against Dr. Reddy’s for its lenalidomide ANDA. In 2017,

 Celgene filed patent lawsuits against Zydus Pharmaceuticals (USA), Inc. and Cadila Healthcare

 Ltd. (collectively, “Zydus”), Cipla Ltd. (“Cipla”), Lotus Pharmaceutical Co., Ltd. and Alvogen

 Pine Brook, LLC (collectively, “Alvogen”), and again against Dr. Reddy’s for their lenalidomide

 ANDAs. In 2018, Celgene filed patent lawsuits against Apotex Inc. (“Apotex”), Hetero Labs



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 Ltd., Hetero Labs Ltd. Unit-V, Hetero Drugs Ltd., and Hetero USA, Inc. (collectively, “Hetero”),

 twice against Sun Global FZE, Sun Pharma Global Inc., Sun Pharmaceuticals Industries, Inc.,

 and Sun Pharmaceutical Industries Ltd. (collectively, “Sun”), again against Alvogen, Dr.

 Reddy’s, Cipla, and Zydus for its lenalidomide ANDAs. In 2019, Celgene filed patent lawsuits

 against Mylan Pharmaceuticals Inc., Mylan Inc., and Mylan N.V. (collectively, “Mylan”), and

 again against Cipla, Hetero, and twice against Apotex. In 2020, Celgene filed patent lawsuits

 against Lupin Ltd. (“Lupin”), and again against Mylan and Hetero. In 2021, Celgene filed patent

 lawsuits against Hikma Pharmaceuticals USA, Inc. (“Hikma”), Aurobindo Pharma Ltd., Eugia

 Pharma Specialties Ltd., Aurobindo Pharma USA, Inc., and Aurolife Pharma LLC (collectively,

 “Aurobindo”), Torrent Pharmaceuticals Ltd. and Torrent Pharma Inc. (collectively, “Torrent”),

 Biocon Pharma Limited, Biocon Limited, and Biocon Pharma, Inc. (collectively, “Biocon”),

 Lupin Ltd., and Alembic Pharmaceuticals Limited, Alembic Global Holding SA, and Alembic

 Pharmaceuticals, Inc. (collectively, “Alembic”).

        346.     In all cases, Celgene complained that the generic versions of Thalomid and/or

 Revlimid infringed Celgene’s patents. In all cases, each generic defendant counterclaimed,

 alleging that Celgene’s patents are invalid as prior art or for obviousness, or for lack of written

 description, under 35 U.S.C. §§ 101, 102, 103 and/or 112, and general principles of patent law,

 and/or noninfringed. Because Celgene knew that its patents were invalid, it also must have

 known that the litigation to enforce the invalid patents would be unsuccessful. It brought the

 actions only because the filing would delay generic entry.

        347.    As detailed above, Revlimid and Thalomid were the key assets acquired by

 Bristol-Myers Squibb in its acquisition of Celgene on November 20, 2019. On information and

 belief, including but not limited to the importance of Revlimid and Thalomid to the success of



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 the acquisition and the extensive due diligence performed by Bristol-Myers Squibb in the course

 of evaluating the merger, Bristol-Myers Squibb directed, oversaw, and/or ratified the

 monopolistic scheme described in this Complaint. Thus, all actions described herein, including

 the anticompetitive reverse payment agreement and complementary agreements described here,

 are equally attributable to Bristol-Myers Squibb, particularly as to all agreements following the

 merger, described below, for which Celgene is the sole executing Bristol-Myers Squibb entity.

              1. Celgene Initiates Patent Infringement Litigation Against Revlimid First-Filer
                 Natco.

           348.   On August 30, 2010, Natco sent a Paragraph IV certification letter to Celgene,

 which contained a detailed factual and legal statement as to why Revlimid REMS patents, as

 well as the ʼ517, ʼ230, ʼ554, ʼ106, and ʼ800 patents are invalid, unenforceable, and/or not

 infringed by Natco’s proposed generic Revlimid.111

           349.   Shortly after, in September of 2010, Natco filed ANDA No. 201-452 seeking

 approval to bring lenalidomide capsules to market (in 5mg, 10mg, 15mg, and 25mg strength).

           350.   On October 8, 2010, Celgene filed a patent infringement suit against Natco in the

 District of New Jersey.112

           351.   Celgene continued to pursue new patents for its Revlimid product. In 2012, it

 listed two new patents in the Orange Book in connection with the formulation of Revlimid

 (patent no. 8,288,415) and another REMS patent (patent no. 8,315,886). In response, Natco sent

 Celgene an additional Paragraph IV certification on March 14, 2013 which contained a detailed

 factual and legal statement as to why the ʼ415 and ʼ866 patent are invalid, unenforceable, and/or

 not infringed by Natco’s generic Revlimid product.


     111
         Answer and Counterclaims to First Amended Complaint, Celgene Corp. v. Natco Pharma Ltd. No. 10-5197
 (D.N.J. Jan. 14, 2010).
     112
         Complaint, Celgene Corp. v. Natco Pharma Ltd., No. 10-5197 (D.N.J. Oct. 8, 2010).

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           352.   On April 10, 2013, Celgene caused patent no. 8,404,717 to be listed in the Orange

 Book for Revlimid. The ʼ717 patent is a method of use patent for the treatment of

 myelodysplastic syndromes using lenalidomide.113

           353.   Celgene filed a Fifth Amended Complaint against Natco on May 6, 2013.114

 Celgene alleged that Natco’s generic Revlimid product would infringe the Revlimid REMS

 patents, as well as the ʼ886 patent, the ʼ517, ʼ230, ʼ554, ʼ106, ʼ800, ʼ415, ʼ717 and ʼ598 patents.

 Natco denied these allegations and argued that the ʼ517, ʼ230, ʼ554, ʼ106, ʼ800, ʼ415, ʼ717 and

 ʼ598 patents are invalid and that its proposed generic lenolidamide product did not infringe

 Celgene’s ʼ800 patent as it does not contain lenalidomide hemihydrate. The invalidity of these

 patents is discussed above. Natco also filed counterclaims against Celgene, alleging fraud on the

 USPTO, and invalid and/or unenforceable patents.

           354.   Meanwhile, Celgene had abandoned its efforts to assert many of its ill-gotten and

 invalid patents. On January 20, 2011, Celgene informed the court that it covenanted not to sue

 Natco on the ’326 Patent and ’432 Patent.115 On August 31, 2012, Celgene did the same for the

 ’217 Patent, which, along with the ’800 Patent, is one of Celgene’s two key polymorph

 patents.116 And on September 26, 2012, Celgene again covenanted not to sue Natco on the ’763

 Patent.117 In exchange, Natco dropped its counterclaims of invalidity against Celgene.




     113
          Later that month, Celgene was issued another patent (patent no. 8,431,598). Celgene did not cause this
 patent to be listed in the Orange Book, but did allege infringement against Natco and other later filers.
      114
          Amended Complaint (Fifth), Celgene Corp. v. Natco Pharma Ltd. No. 10-5197, ECF No. 215 (D.N.J. May
 6, 2013).
      115
          Statement, Celgene Corp. v. Natco Pharma Ltd., No. 2:10-cv-05197, ECF No. 24 (D.N.J. Jan. 20, 2011).
      116
          Id. at ECF No. 140 (D.N.J. Aug. 31, 2012).
      117
          Id. at ECF No. 145 (D.N.J. Sep. 26, 2012). In its Answer, Natco provided twenty-six pages of prior art
 references that render the ’763 Patent invalid and/or unenforceable. 2:12-cv-04571, ECF No. 15, Exh. B (D.N.J.
 Sep. 28, 2012).

                                                       102
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          355.    A Markman hearing was held on May 15, 2014. On May 27, 2014, the Hon.

 Susan D. Wigenton issued a Markman Opinion resolving disputed claim definitions in Natco’s

 favor on three of the five disputed terms at issue.118 These included narrowing constructions

 regarding the ’554, ’230, ’357, and ’598 patents, likely indicating that Natco would have

 prevailed under a noninfringement theory as to these pharmaceutical patents (’554 and ’230

 Patents) and polymorph patents (’357, and ’598 Patents). Indeed, following the Opinion, Celgene

 stipulated to the dismissal of the ’554 and ’230 patents, as below.

          356.    Natco’s strategy also included an attack on the ’800 and ’217 Patents, two

 polymorph patents that expire in 2027 and 2024, respectively.119 As above, these patents are

 invalid for obviousness. Nonetheless, Natco also alleged that it had invented around these

 patents. The polymorph patents, including the ’357 and ’598 Patents, claim multiple different

 polymorph embodiments of lenalidomide, which are labeled “Form A”, “Form B”, all the way

 through “Form H”. The different polymorph embodiments differ based upon their levels of

 solvation or hydration. For instance, Form A is “unsolvated” and Form B is “hemihydrated”.

 They also differ based upon specific testing results (such as X-Ray powder diffraction) that serve

 as “finger prints” or identifying characteristics of each different polymorph.

          357.    Celgene attempted to argue that these embodiments were not claimed, specific

 polymorphs, but merely exemplars. In arguing for this (rejected) construction, Celgene’s counsel

 inadvertently revealed just how difficult it would be for Celgene to prove infringement by listing

 the numerous specifications that an ANDA would need to have: “This is what they're talking

 about reading in. So I don't know how you would put the chart in there, but you'd have to put




    118
          Markman Opinion, Celgene Corp. v. Natco Pharma Ltd. No. 10-5197 (D.N.J. May 6, 2013), ECF No. 312.
    119
          As above, Celgene covenanted not to sue on the (earlier expiring) ’217 patent.

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 words to it. And they'd have another one, and another one, and another one, and another one, and

 another one, and another one, and another one, and another one, and it's just keeps going. This is

 all the material they are suggesting should be read into this claim, this term, to define Form A.

 My finger is getting tired, but I'm almost done. This is what is the claim would look like with -

 and it's not even all of it because we couldn't fit it on one slide.”120 In other words, unless Natco

 (or another generic’s) product had each of the innumerable characteristics, it would not infringe.

           358.   The Court rejected Celgene’s attempt, limiting “Form A to mean a particular

 polymorph with these distinguishing characteristics.” This cleared the way for Natco to prevail

 on noninfringement where it’s ANDA did not exhibit each and every characteristic specified in

 the exact polymorph forms disclosed – an unlikely proposition as demonstrated by Celgene’s

 Markman hearing arguments.

           359.   Additionally, the ’800 Patent included the disputed term “hemihydrate.” Natco

 argued that the term required an exact water to compound ratio of 0.5 to 1, and would have

 further limited the claimed polymorphic crystal form to what is called “Form B.” Celgene, by

 contrast, argued that “hemihydrate”, as used in the patent, implied an approximate, rather than

 exact, ratio. Under either construction, however, Natco’s accused products do not infringe

 because they are an “anhydrous” form, i.e., a form that has no water in the crystal.

           360.   In the Court’s Markman Opinion, the Court adopted Celgene’s proposed

 definition, reading “hemihydrate,” as a term of approximation.121 Nevertheless, Celgene could

 only prove infringement of Natco’s anhydrous product by arguing that at some point (such as

 after ingestion) Natco’s product would become hemihydrated and infringe, an unlikely prospect.


     120
          Transcript, Celgene Corp. v. Natco Pharma Ltd. No. 10-5197 (D.N.J. May 20, 2014), ECF No. 310, at 84.
     121
          Markman Opinion, Celgene Corp. v. Natco Pharma Ltd. No. 10-5197 (D.N.J. May 27, 2014), ECF No. 312,
 at 6-7. (finding that hemihydrate means “a hydrate containing approximately half a mole of water to one mole of the
 compound forming the hydrate”).

                                                        104
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 However, by arguing for this broader definition of hemihydrate to help its weak and speculative

 infringement argument, Celgene exposed the ’800 Patent to new invalidity defenses.

          361.   Less than a month after the Markman hearing, Natco moved to amend its defenses

 to assert these defenses, arguing invalidity for indefiniteness, lack of written description, and

 lack of enablement.122 With the gloss of the term of “approximately” applied to “hemihydrate”,

 (1) a person of ordinary skill would be unable to determine the scope of the patent, (2) the patent

 did not disclose or suggest to a person of ordinary skill in the art that any hemihydrate form of

 lenalidomide other than Form B even exists, let alone clearly convey that the patentee was in

 possession of other hemihydrated forms of lenalidomide, and (3) the patent does not disclose

 how to make a hemihydrated form, other than Form B, having the claimed characteristics.123

          362.   Celgene vigorously fought Natco’s motion, opposing amendment in a July 11,

 2014 opposition brief.124 And when Magistrate Judge Arleo granted Natco’s motion,125 Celgene

 immediately appealed the Opinion and Order, likely because it would have ultimately required

 Celgene to answer for the invalidity issues its own claim construction had created. Briefing over

 the granted amendment extended into January 2015 before Judge Wigenton.

          363.   Meanwhile, Celgene stipulated to dismissing its claims and defenses as to the

 ’230 and ’554 patents (following the Court’s adoption of Natco’s proposed claim terms

 regarding these patents), as well as the ’106 and ’415 Patents.126

          364.   On July 9, 2015, Judge Wigenton affirmed Magistrate Judge Arleo’s Opinion and

 Order granting Natco’s motion to amend its defenses to assert the new contentions opened up by



    122
        Letter, 2:10-cv-05197, ECF No. 321 (D.N.J. June 19, 2014).
    123
        Id. at 3.
    124
        Letter, 2:10-cv-05197, ECF No. 331 (D.N.J. July 11, 2014).
    125
        Opinion, 2:10-cv-05197, ECF No. 366 (D.N.J. Nov. 18, 2014).
    126
        Stipulation of Dismissal, 2:10-cv-05197, ECF No. 402 (D.N.J. March 26, 2015).

                                                     105
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 the court’s Markman Opinion.127 The parties served expert reports in late summer 2015 and

 responsive expert reports in September 2015.128 Shortly thereafter, some six years after litigation

 began, Celgene settled the patent litigation, shielding its patents from scrutiny before the court

 could address the infringement or invalidity of any of its patents.

              2. Celgene Settles Patent Litigation with Natco/Arrow/Watson with an
                 Anticompetitive Reverse Payment Agreement.

           365.   On December 22, 2015, Celgene announced the settlement of litigation with

 Natco Pharma Ltd. of India, Natco's U.S. partner, Arrow International Limited, and Arrow's

 parent company, Watson Laboratories, Inc. (a wholly owned subsidiary of Allergan plc) (for

 these purposes, collectively “Natco”) relating to patents for REVLIMID® (lenalidomide).129

           366.   At this time there was a substantial probability that Natco’s lenolidamide product

 would be adjudged non-infringing, Celgene’s patents would be invalidated, and/or Natco would

 launch its Revlimid generic “at risk.” To avert devastation to its falsely constructed monopoly

 over lenolidamide products, Celgene bought off its would-be competitor, Natco.

           367.   By the express and implied economic terms of the agreement—some but not all of

 which are set forth explicitly in the settlement documentation—the agreement contained an

 anticompetitive reverse payment from Celgene to Natco. For its part, Celgene shared profits by

 allocating a volume-limited small number of generic sales to Natco beginning in March 2022. In

 exchange, Natco agreed to delay entry of its generic version of Revlimid until 2026 (eleven years

 later).




     127
           Opinion, 2:10-cv-05197, ECF No. 440 (D.N.J. July 9, 2015).
     128
           See Amended Scheduling Order, Celgene Corp. v. Natco Pharma Ltd. No. 10-5197 (D.N.J. May 6, 2013),
 ECF No. 449.
      129
           Press Release, Celgene Corp., Celgene Settles REVLIMID® Patent Litigation (Dec. 22, 2015),
 http://ir.celgene.com/releasedetail.cfm?ReleaseID=947998.

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           368.    By both the terms and effect of the arrangement, Celgene agreed to share its

 monopoly rents with Natco as a quid pro quo for Natco’s agreement not to compete with

 Celgene until January 31, 2026. Celgene shared profits by allocating a volume-limited number of

 generic sales to Natco beginning in March 2022.

           369.    On December 22, 2015, Celgene announced:

                   In settlement of all outstanding claims in the litigation, Celgene
                   will permit entry of generic lenalidomide before the April 2027
                   expiration of Celgene’s last-to-expire patent listed in the Orange
                   Book for REVLIMID®. Celgene has agreed to provide Natco with
                   a license to Celgene’s patents required to manufacture and sell an
                   unlimited quantity of generic lenalidomide in the United States
                   beginning on January 31, 2026. In addition, Natco will receive a
                   volume-limited license to sell generic lenalidomide in the United
                   States commencing in March 2022. The volume limit is expected
                   to be a mid-single-digit percentage of the total lenalidomide
                   capsules dispensed in the United States during the first full year of
                   entry. The volume limitation is expected to increase gradually each
                   12 months until March of 2025, and is not expected to exceed one-
                   third of the total lenalidomide capsules dispensed in the U.S. in the
                   final year of the volume-limited license under this agreement.130

           370.    Celgene and Natco kept the details of the payment terms secret from the Court,

 the public, and Plaintiff.

           371.    On a February 12, 2016 earnings call, Natco further disclosed that the license

 referred to by Celgene in its announcement was royalty free. Natco also newly disclosed the

 inclusion of an acceleration clause, allowing for earlier Natco entry triggered by other generic

 market entries.131


     130
          Press Release, Celgene Settles REVLIMID Patent Litigation, dated December 22, 2015, available at
 https://www.businesswire.com/news/home/20151222005986/en/ (last accessed March 29, 2022).
      131
          See Natco Pharma Q3 FY 2016 Earnings Conference Call” February 12, 2016, available at
 https://natcopharma.co.in/wp-content/uploads/2016/02/NirmalBang-NatcoPharma-Feb12-2016.pdf (“… if
 something triggers a launch date earlier than 2022 so the agreement has standard accelerated clauses with respect to
 everything, so if such an event were to happen so it is 22 limited quantity which will increase over a period of time
 to unlimited quality till 26 or in the event that something happens to the patents or certain events which are defined
 in our agreement, there are whole slew of events that are defined, standard accelerated clauses kick in which allows
 us an earlier entry as well.”).

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           372.   Individually and collectively, these payment terms are anticompetitive. First, the

 volume-limited royalty-free license allocates the market by eliminating the incentive to compete

 on price (i.e., to increase volume), ensuring that prices will remain at supra-competitive levels

 even after generic entry. As Teva (Natco’s marketing partner) described, Celgene set up a “profit

 share.”132 The royalty-free generic license prior to true generic competition constitutes a large

 reverse payment from Celgene to the generic that equates to hundreds of millions of dollars in

 the first year of generic sales alone. Second, the acceleration clause deters other generics from

 continuing to challenge Celgene’s patents, and provides assurance to Natco that it will receive

 the most favorable entry date and retain its lucrative exclusivity period.

           373.   Natco executives celebrated the supracompetitive profits it planned to make from

 the Revlimid settlement to investors:

                  Revlimid looks like a blockbuster. If you look at the guidance that
                  they have given they have given very obscene numbers on how
                  big the brand will be, right now it is about 3.5 billion. I have seen
                  projections in the US and globally I think it is doing 5, 6 billion,
                  they are saying it will be a $8, $9 billion brand so I think it will
                  stay and I am still very positive about it . . . .133

           374.   The settlement caused Natco to delay its bona fide full market entry until January

 31, 2026.

           375.   On December 23, 2015 (the day on which the Revlimid settlement was

 announced) Celgene’s stock price leaped upward by 9.8%, confirming the additional monopoly

 profits Celgene would gain from delayed competition. Stock prices reflect investors’

 expectations about a company’s future profits. A dramatic upward change in the stock price

 reflects an upward revision in profit expectations. Generally, an increase in the brand’s stock


     132
          See “Q1 FY 2019 Teva Pharmaceutical Industries Ltd. Earnings Conference Call” May 2, 2019, available at
 https://www.fool.com/earnings/call-transcripts/2019/05/02/teva-pharmaceutical-industries-limited-teva-q1-201.aspx.
      133
          Id. at 20.

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 price after a patent litigation settlement indicates that the settlement delayed generic entry

 beyond investors’ expectations.134

           376.   Celgene’s stock price increase equates to a staggering increase in market

 capitalization of $8.6 billion, the single largest percentage increase in Celgene’s stock price in

 2015. Trends in the overall market do not explain the spike as the S&P 500 increased by only

 1.2% on the same day. Natco’s stock price went up too, increasing 2.3% on the Bombay Stock

 Exchange upon announcement of the settlement.135 Without an alternative explanation, investors

 interpretation of the settlement as benefiting both Celgene and Natco indicates that joint profits

 were increased by delaying genuine generic competition.

              3. Celgene Initiates and Settles Sham Litigation against At Least Four Other
                 Generics, Shoring up the Anticompetitive Terms of its Agreement with
                 Natco.

           377.   Celgene settled at least four later patent infringement suits against generic

 companies on terms that served to shore up the anticompetitive terms (and the attendant windfall

 of profits) of the reverse payment Natco agreement. As explained further below, virtually all of

 the terms of the later generic settlements have been concealed from Plaintiff and the public.

 None of the later filed generics entered the market before the March 2022 date agreed to in

 Natco’s. Celgene's actions in settling these other ANDA litigations served to preserve the ill-

 gotten gains and market allocation with Natco, by, in part, ensuring that generics accepted

 Natco’s March 2022 entry date (and did not try to leapfrog over Natco to enter earlier with their

 own product) and forestalling robust generic competition until at least January 31, 2026.


     134
           See Drake, Starr, and McGuire, Do “Reverse Payment” Settlements Constitute an Anticompetitive Pay-for-
 Delay?” International Journal of the Economics of Business, 22(2), 2015, pp. 173-200and McGuire et al.,
 “Resolving Reverse-Payment Settlements with the Smoking Gun of Stock Price Movements,” Iowa Law Review,
 101, 2016, pp. 1581-1599.
      135
          http://www.myiris.com/newsCentre/storyShow.php?fileR=20151223130747199&secTitle=
 activestock&arttype=news.

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                      a. Celgene Settles with Dr. Reddy’s.
           378.   As part of its unlawful anticompetitive strategy, Celgene filed three serial patent

 infringement suits against Dr. Reddy’s for the sole purpose of delaying generic entry into the

 lenalidomide market. Although Dr. Reddy’s obtained Final Approval on October 14, 2021, it still

 has not launched a generic Revlimid. But for Celgene’s anticompetitive scheme, Dr. Reddy’s

 would have gained temporary and final approval far earlier and launched a competing generic

 Revlimid.

           379.   First, on September 9, 2016, generic manufacturer Dr. Reddy’s sent Celgene a

 Paragraph IV certification notifying Celgene that it had filed ANDA No. 209-348 with the FDA

 seeking approval to market generic Revlimid. On October 10, 2016, Celgene sued Dr. Reddy’s in

 the District of New Jersey.136 Celgene later sued Dr. Reddy’s in two additional suits alleging

 infringement of Celgene’s later-acquired patents.137 Dr. Reddy’s answered, in all three

 litigations, that the patents asserted were not duly or lawfully issued.138

           380.   The parties filed a Joint Claim Construction Hearing and Statement on October

 26, 2017, in which Dr. Reddy’s notified the court that “the construction of the claim term

 ‘crystalline’ will be ‘most significant to the resolution of the case’ and ‘will be case or claim

 dispositive or substantially conducive to promoting settlement,’ at least with respect to the ’800

 and ’217 patents on crystalline lenalidomide.”139 Although the ’800 and ’217 patents are invalid

 for obviousness, Dr. Reddy’s had nonetheless invented around these keys patents (set to expire in

 2024 and 2027) and its ANDA did not infringe Celgene’s patents.


     136
         Celgene Corp. v. Dr. Reddy’s Laboratories, Inc., No. 2:16-cv-07704 (D.N.J).
     137
         Celgene Corp. v. Dr. Reddy’s Laboratories, Inc., 2:17-cv-05314 (D.N.J.); and Celgene Corp. v. Dr. Reddy’s
 Laboratories, Inc., 2:18-cv-06378 (D.N.J.).
     138
         See No. 2:16-cv-07704, ECF No. 7 (D.N.J. Nov. 18, 2016); 2:17-cv-05314, ECF No. 17 (D.N.J. Oct. 18,
 2017); 2:18-cv-06378, ECF No. 30 (D.N.J. May 31, 2018).
     139
         No. 2:16-cv-07704, ECF No. 57, at 4-5 (D.N.J. Oct. 26, 2017).

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          381.     As detailed in its Markman brief, while Celgene’s Polymorph patents claim a

 “crystalline lenalidomide,” Dr. Reddy’s ANDA product comprises an “amorphous lenalidomide”

 structure. With the support of “the intrinsic and extrinsic record, as well as the understanding of

 the person of skill in the art” amorphous structures “are not crystalline,” but rather “composed of

 randomly oriented molecules with no long-range order.”140




          382.     This distinction, likely establishing noninfringement, was further highlighted by

 the prosecution history of the patents. Celgene had initially attempted to include claims covering



    140
          No. 2:16-cv-07704, ECF No. 67, at 1, 4 (D.N.J. Dec. 22, 2017)

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 amorphous as well as crystalline forms, but, following rejection by the examiner, Celgene

 cancelled and removed the amorphous claims from the application.141

          383.     Celgene initially opposed Dr. Reddy’s proposed construction. However,

 following briefing, on March 23, 2018, Celgene notified the court that the parties had resolved

 their claim construction disputes and would not be filing responsive Markman briefs.

          384.     On information and belief, Celgene had conceded to Dr. Reddy’s construction of

 “crystalline”, paving the way for Dr. Reddy’s to argue its ANDA did not infringe Celgene’s key

 Polymorph patents because were Celgene to oppose it (as in the Natco litigation), it would have

 opened its patents up to strong invalidity arguments.

          385.     Dr. Reddy’s had also previewed winning invalidity arguments regarding

 Celgene’s method of treatment patents (for myelodysplastic syndromes) in PTAB proceedings,

 showing Celgene that Dr. Reddy’s had a clear path to market on at least a skinny label.

 Celgene’s ’740, ’717, and ’120 patents were anticipated by invalidating prior art, including press

 releases from years earlier. Dr. Reddy’s introduced the two press releases bearing dates which

 would have invalidated the patent. In response, Celgene did not deny that the press releases were

 in fact published on the relevant dates, but instead disingenuously argued that the date on the

 press release did not themselves establish that their press release was published. While the PTAB

 was forced to deny institution on this technicality, Dr. Reddy’s—and Celgene—knew that Dr.

 Reddy’s could easily remedy this evidentiary technicality during District Court proceedings and

 invalidate Celgene’s method of use patents.




    141
          ECF No. 67, at 4-5 (D.N.J. Dec. 22, 2017).

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           386.    On September 17, 2020, Celgene142 announced a settlement of its litigation with

 Dr. Reddy’s.143 Similar to Celgene’s agreement with Natco, Celgene’s announcement provided

 only minimal details of the deal between Celgene and Dr. Reddy’s. As stated in their press

 release:

                   Celgene has agreed to provide DRL with a license to Celgene’s
                   patents required to manufacture and sell certain volume-limited
                   amounts of generic lenalidomide in the U.S. beginning some time
                   after the March 2022 volume-limited license date that Celgene
                   previously provided to Natco. The specific volume-limited license
                   date and percentages agreed-upon with DRL were not disclosed
                   and are confidential. In addition, Celgene has agreed to provide
                   DRL with a license to Celgene’s patents required to manufacture
                   and sell an unlimited quantity of generic lenalidomide in the U.S.
                   beginning no earlier than January 31, 2026.

           387.    The settlement agreement between Dr. Reddy’s and Celgene served to shore up

 the anticompetitive reverse payment deal. In exchange for ending the patent litigation, Celgene

 carved out a portion of its monopoly to share with Dr. Reddy’s. The volume-limited small caps

 ensure that Dr. Reddy’s has no incentive to compete on price (because, as with Natco, a price

 reduction does not increase output).144 As in the case of the settlement with Natco, Celgene has

 no incentive to launch an AG. The net result of the agreement is that there will be no price

 competition, and Celgene retains its ability for a longer period to sell brand Revlimid at a

 monopoly pricing. The agreement with Dr. Reddy’s solidified, and was in part induced by,

 Celgene’s earlier agreement with Natco.



     142
          Bristol-Myers Squibb acquired Celgene in November of 2019, for clarity, this complaint will continue to
 refer to the brand defendant as Celgene. As above, it is likely that Bristol-Myers Squibb approved Celgene’s
 settlement with Dr. Reddy’s.
      143
          Brisol Myers Squibb Announces Settlement of U.S. Patent Litigation for Revlimid (lenalidomide) with Dr.
 Reddy’s, Available at, https://www.businesswire.com/news/home/20200917005211/en/Bristol-Myers-Squibb-
 Announces-Settlement-of-U.S.-Patent-Litigation-for-REVLIMID%C2%AE-lenalidomide-With-Dr.-
 Reddy%E2%80%99s.
      144
          While Dr. Reddy’s qualified for first-filer statutory exclusivity for two of the six formulations – the 2.5mg
 and 20mg capsules – neither Dr. Reddy’s nor Natco have an incentive to compete on price.

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          388.       Plaintiff is forced to purchase brand-name Revlimid at Celgene’s

 supracompetitive prices until true price competition is expected to start, in 2026.

                        b. Celgene Settles with Lotus (Alvogen).
          389.     As part of its unlawful anticompetitive strategy, Celgene filed two serial patent

 infringement suits against Lotus and Alvogen, Inc. (collectively, “Lotus”). It brought the actions

 only because the filing would delay generic entry into the lenalidomide market. Although Lotus

 obtained Temporary Approval on September 24, 2020, it still has not launched a generic

 Revlimid. But for Celgene’s anticompetitive scheme, Lotus would have gained temporary and

 final approval far earlier and launched a competing product.

          390.     On September 6, 2017, Celgene filed a patent infringement action against Lotus

 for filing ANDA No. 210480 for various dosages of its generic alternative to Revlimid, which

 Celgene alleged would infringe its ’517 Patent, ’720 Patent, ’977 Patent, ’784 Patent, ’740

 Patent, ’800 Patent, ’217 Patent, ’569 Patent, ’886 Patent, ’717 Patent, ’498 Patent, ’531 Patent,

 ’095 Patent, ’120 Patent, ’621 Patent, and the ’622 Patent.145

          391.     On July 10, 2018, Celgene filed another patent infringement action against Lotus,

 alleging Lotus’s ANDA would also infringe its ’357 Patent, ’219 Patent, and the ’598 Patent.146

 The patents that Celgene has claimed would be infringed in this case, however, have not been

 submitted to the Orange Book by Celgene in association with Revlimid as required pursuant to

 21 U.S.C. §355(b)(1) and attendant FDA regulations. Celgene was required to list with its NDA,

 or within thirty days for a new patent after the NDA has been submitted, any patents for which

 an infringement claim could reasonably be asserted against an unlicensed entity attempting to

 manufacture, use, or sell its drug. By citing these patents that were not filed in the Orange Book,


    145
          Celgene Corp. v. Lotus Pharmaceutical Co., Ltd., et al., No. 2:17-cv-06842 (D.N.J.).
    146
          Celgene Corp. v. Lotus Pharmaceutical Co., Ltd., et al, No. 2:18-cv-11518 (D.N.J.).

                                                         114
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 Celgene is either filing a frivolous infringement claim for a patent that it does not believe could

 be reasonably asserted or failing to list patents properly, which could give rise to administrative

 action or potentially additional antitrust liability if done in an attempt to delay filing and further

 extend its monopoly.

           392.   Lotus filed answers and counterclaims in all actions, alleging that all Celgene’s

 asserted patents are invalid, unenforceable, or uninfringed.

           393.   On August 8, 2018, Celgene filed a Statement informing the court of its covenant

 not to sue Lotus for infringement of the ’217 Patent.147

           394.   On December 17, 2018, the parties submitted a Joint Claim Construction

 Statement. As argued by Lotus, the methods-of-use patents for multiple myeloma (the ’498

 patent, ’095 patent, ’621 patent, and ’622 patent) are invalid for, amongst other reasons,

 indefiniteness of key terms which the parties agreed to address through expert discovery.

           395.   Invalidation and/or a favorable construction regarding these methods-of-use

 patents, which expire on May 23, 2023, would have paved the way for a Lotus and/or other

 generic rivals to launch a “skinny-label” generic Revlimid for treatment of multiple myeloma,

 endangering Celgene’s monopoly.

           396.   On February 22, 2019, Celgene and Lotus stipulated to bifurcating and staying all

 proceedings related to the REMS patents (the ’720, ’977, ’784, ’886, and ’531 Patents), pending

 Celgene’s appeal to the Federal Circuit of the PTAB’s invalidation of the ’720 Patent (ultimately

 affirmed on July 30, 2019).

           397.   On March 29, 2019, Celgene and Lotus announced a settlement agreement. The

 terms of the agreement are confidential, but Celgene and Lotus announced some details in a


     147
         Statement, Celgene Corp. v. Lotus Pharmaceutical Co., Ltd., et al., No. 2:17-cv-06842, ECF No. 81 (D.N.J.
 Aug. 8, 2018).

                                                       115
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 press release that is identical to that released in the Dr. Reddy’s settlement,148 indicating a similar

 settlement with another Later-Filing Generic protecting sales at monopoly pricing.

          398.   The settlement agreement between Lotus and Celgene also served to shore up the

 anticompetitive reverse payment deal and complementary agreement. In exchange for ending

 the patent litigation, Celgene carved out a portion of its monopoly to share with Lotus. The

 volume-limited small caps ensure that Lotus has no incentive to compete on price (because, as

 with Natco, a price reduction does not increase output). As in the cases of the settlements with

 Natco and Dr. Reddy’s, Celgene has no incentive to launch an AG. The net result of the

 agreement is that there will be no price competition, and Celgene retains its ability for a longer

 period to sell brand Revlimid at a monopoly pricing. The agreement with Lotus solidified, and

 was in part induced by, Celgene’s agreements with Natco and Dr. Reddy’s.

          399.   The anticompetitive effects of Celgene’s conduct are to again delay and forestall

 price competition in the lenalidomide market.

                    c. Celgene Settles with Cipla.
          400.   As part of its unlawful anticompetitive strategy, Celgene filed four serial patent

 infringement suits against Cipla. It brought the actions only because the filing would delay

 generic entry into the lenalidomide market. Cipla’s ANDAs are “skinny labels” that seek only to

 treat multiple myeloma and myelodysplastic syndromes.

          401.   On August 15, 2017, Celgene filed a patent infringement action against Cipla, for

 filing ANDA No. 210435 for various dosages of its generic alternative to Revlimid, which

 Celgene alleged would infringe the same combination of the ’800 Patent, ’217 Patent, ’569




    148
      https://www.businesswire.com/news/home/20190329005384/en/Celgene-Settles-U.S.-
 REVLIMID%C2%AE-Patent-Litigation-with-Alvogen.

                                                  116
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 Patent, ’498 Patent, ’095 Patent, ’621 Patent, and the ’622 Patent.149 On May 8, 2018, Celgene

 filed another patent infringement action against Cipla, alleging Cipla’s ANDA would also

 infringe the ’357 Patent, ’219 Patent, and the ’598 Patent, none of which Celgene listed in the

 Orange Book as covering Revlimid.150 On March 29, 2019, Cipla submitted a second ANDA,

 No. 213165. On July 3, 2019, Celgene filed another patent infringement action against Cipla,

 alleging Cipla’s second ANDA would infringe the ’800 Patent, the ’217 Patent, the ’569 Patent,

 the ’498 Patent, the ’095 Patent, the ’621 Patent, the ’622 Patent, the ’740 Patent, the ’717

 Patent, and the ’120 Patent.151 On May 12, 2020, Cipla submitted a third ANDA, No. 214618.

 On June 24, 2020, Celgene filed another patent infringement action against Cipla, alleging

 Cipla’s third ANDA would infringe the ’800 Patent, the ’217 Patent, the ’569 Patent, the ’498

 Patent, the ’095 Patent, the ’621 Patent, the ’622 Patent, the ’740 Patent, the ’717 Patent, and the

 ’120 Patent.152

          402.     Cipla filed answers and counterclaims in all actions, alleging that all Celgene’s

 asserted patents are invalid, unenforceable, or uninfringed.

          403.     On January 14, 2019, the court ordered mediation between the parties. On

 February 6, 2019, the parties informed the court that Markman hearings were no longer

 necessary.

          404.     On April 30, 2019, the court issued a stipulated order in which the parties agreed

 not to contest a finding that products derived from Cipla’s ANDA would infringe Celgene’s




    149
        Celgene Corp. v. Cipla Ltd., No. 2:17-cv-06163 (D.N.J.).
    150
        Celgene Corp. v. Cipla Ltd., No. 2:18-cv-08964 (D.N.J.).
    151
        Celgene Corp. v. Cipla Ltd., No. 2:19-cv-14731 (D.N.J.).
    152
        Celgene Corp. v. Cipla Ltd., No. 2:20-cv-07759 (D.N.J.)

                                                      117
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 ’357, ’219, and ’598 patents, none of which Celgene listed in the Orange Book as covering

 Revlimid, while Cipla reserved its rights to argue invalidity.

           405.   On May 28, 2020, Celgene filed its First Amended Complaint, alleging patent

 infringement arising from both of Cipla's ANDAs.153 That day, the parties submitted their Joint

 Claim Construction Statement, informing the court of the absence of disputed terms. On June 8,

 2020, Civil Action Nos. 18-08964 and 17-06163 were administratively terminated and

 incorporated by reference into Civil Action No. 19-14731.

           406.   On June 22, 2020, Cipla was granted leave to serve amended noninfringement

 contentions regarding Celgene’s method of use patents for multiple myeloma.154 On July 13,

 Celgene stipulated to a dismissal of its claims regarding the ’217 Patent and filed a covenant not

 to sue Cipla for infringement of the ’217 Patent.155

           407.   On August 21, 2020, Cipla submitted an application of fifteen single-spaced

 pages to the court seeking an order compelling Celgene’s production of discovery. Celgene’s

 opposition was due September 15. A telephone conference was set for November 23, 2020.

           408.   On December 11, 2020, Celgene announced a settlement agreement.156 The terms

 of the agreement are confidential, but Celgene and Cipla announced some details in a press

 release that is identical to that released for the Dr. Reddy’s and Lotus settlements,157 indicating a

 similar settlement with another Later-Filing Generic designed to protect monopoly pricing.




     153
          First Amended Complaint, Celgene Corp. v. Cipla Ltd., No. 2:19-cv-14731, ECF No. 64 (D.N.J.).
     154
          Stipulation and Order, No. 2:19-cv-14731, ECF No. 67 (D.N.J. June 22, 2020).
      155
          Stipulation and Order of Dismissal, Celgene Corp. v. Cipla Ltd., No. 2:19-cv-14731, ECF No. 74 (D.N.J.
 Jul. 13, 2020).
      156
          As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
 with Cipla.
      157
          https://www.businesswire.com/news/home/20201211005052/en/Bristol-Myers-Squibb-Announces-
 Settlement-of-U.S.-Patent-Litigation-for-REVLIMID%C2%AE-lenalidomide-with-Cipla.

                                                         118
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        409.    The settlement agreement between Cipla and Celgene also served to shore up the

 anticompetitive reverse payment deal and complementary agreement. In exchange for ending

 the patent litigation, Celgene carved out a portion of its monopoly to share with Cipla. The

 volume-limited small caps ensure that Cipla has no incentive to compete on price (because, as

 with Natco, a price reduction does not increase output). As in the cases of the settlements with

 Natco, Dr. Reddy’s, and Lotus, Celgene has no incentive to launch an AG. The net result of the

 agreement is that there will be no price competition, and Celgene retains its ability for a longer

 period to sell brand Revlimid at a monopoly pricing. The agreement with Cipla solidified, and

 was in part induced by, Celgene’s agreements with Natco, Dr. Reddy’s, and Lotus.

        410.    The anticompetitive effects of Celgene’s conduct are to again delay and forestall

 price competition prevent in the lenalidomide market.

                    d. Celgene’s Settles with Sun.
        411.    As part of its unlawful anticompetitive strategy, Celgene filed three serial patent

 infringement suits against Sun. It brought the actions only because the filing would delay

 generic entry into the lenalidomide market.

        412.    In Spring 2018, Sun filed ANDA No. 211846 for generic lenalidomide. Sun’s

 ANDA is a “skinny label” seeking only to treat multiple myeloma. On May 30, 2018, Sun sent

 written notice of its Paragraph IV certification to Celgene alleging that the patents-in-suit are

 invalid and/or will not be infringed by Sun’s ANDA.

        413.    On July 13, 2018, Celgene filed yet another patent infringement action against a

 generic manufacturer, this time against Sun Pharmaceuticals Industries Inc. and related entities

 for filing its ANDA for various dosages of its generic alternative to Revlimid, which Celgene




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 alleged would infringe its ’800 Patent, ’217 Patent, and ’569 Patent.158 On April 16, 2019,

 Celgene filed another patent infringement action against Sun, alleging that Sun’s ANDA would

 infringe its ’357 Patent, ’219 Patent, and its ’598 Patent, none of which Celgene listed in the

 Orange Book as covering Revlimid.159 On February 2, 2021, Celgene filed another patent

 infringement action against Sun, alleging that Sun’s ANDA would infringe its ’498 Patent, ’095

 Patent, ’621 Patent, and its ’622 Patent.160

           414.   Sun filed answers and counterclaims in the first two actions (the third settled

 before Sun filed an Answer), alleging that all Celgene’s asserted patents are invalid,

 unenforceable, or uninfringed.

           415.   On January 22, 2019, Celgene filed a Statement informing the court of its

 covenant not to sue Sun for infringement of the ’217 Patent.161

           416.   On December 12, 2019, the court cancelled Markman hearings upon the parties’

 joint motion.

           417.   On June 21, 2021, Sun announced its settlement with Celgene.162 The only details

 made available were that “Celgene will grant Sun Pharma a license to Celgene’s patents required

 to manufacture and sell (subject to USFDA approval) certain limited quantity of generic

 lenalidomide capsules in the US beginning on a confidential date that is sometime after March

 2022. In addition, the license will also allow Sun Pharma to manufacture and sell an unlimited




     158
         Celgene Corp. v. Sun Pharmaceutical Industries, Inc. et al., No. 2:18-cv-11630 (D.N.J.).
     159
         Celgene Corp. v. Sun Pharmaceutical Industries, Inc. et al., No. 2:19-cv-10099 (D.N.J.).
     160
         Celgene Corp. v. Sun Pharmaceutical Industries, Inc. et al., No. 2:21-cv-01734 (D.N.J.).
     161
         Statement, Celgene Corp. v. Sun Pharmaceutical Industries, Inc. et al., No. 2:18-cv-11630, ECF No. 50
 (D.N.J. Jan. 22, 2019).
     162
         As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved Celgene’s settlement
 with Sun.

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 quantity of generic lenalidomide capsules in the US beginning January 31, 2026.”163 The terms

 of the agreement are confidential, but Celgene and Sun announced some details in a press release

 that is identical to that released for the Dr. Reddy’s, Lotus, and Cipla settlements, indicating a

 similar settlement to another Later-Filing Generic.164 As in the cases of the settlements with

 Natco, Dr. Reddy’s, and Lotus, Celgene has no incentive to launch an AG. The net result of the

 agreement is that there will be no price competition, and Celgene retains its ability for a longer

 period to sell brand Revlimid at a monopoly pricing. The agreement with Sun also solidified,

 and was in part induced by, Celgene’s earlier agreements with Natco, Dr. Reddy, Lotus, and

 Cipla.

           418.   The anticompetitive effects of Celgene’s conduct are to again delay and forestall

 price competition prevent in the lenalidomide market.

              4. The Settlement Between Celgene and Natco, is an Anticompetitive Reverse
                 Payment Agreement that Resulted in a Market Division and Delayed True
                 Generic Competition.

           419.   The Celgene-Natco agreement is an anticompetitive reverse payment condemned

 by the Supreme Court in FTC v. Actavis. The reverse payment took the form of volume-limited

 royalty-free licenses prior to full-fledged and robust competition,165 as well as most-favored

 entry clauses. The agreement is also, separate and apart from whether it includes payments, an

 illegal market allocation among competitors. The agreement delayed full-fledged and robust

 competition and resulted in an anticompetitive market division that benefited the parties involved

 to the detriment of purchasers.


     163
         https://sunpharma.com/wp-content/uploads/2021/06/Press-Release-Settlement-of-Patent-Litigation-for-
 Generic-Revlimid-in-US.pdf
     164
         https://sunpharma.com/wp-content/uploads/2021/06/Press-Release-Settlement-of-Patent-Litigation-for-
 Generic-Revlimid-in-US.pdf
     165
         Prior to full disclosure of the actual agreement(s) and discovery, quantification of the payment is
 approximate.

                                                      121
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                    a. Bona fide Generic Competition Will Not Begin Until January 31,
                       2026, Causing Plaintiff to Suffer Substantial Overcharges on its
                       Purchases of Revlimid.
        420.    The Revlimid anticompetitive reverse payment settlement and complementary

 agreements will prevent true generic competition for Revlimid until January 31, 2026. As a

 result, Plaintiff will be and has been forced to purchase brand Revlimid at supra-competitive

 prices through at least early 2026, even with the volume-limited introduction of Natco’s generic

 Revlimid (marketed by Teva) in March of 2022.

        421.    Absent Celgene’s multipronged monopolistic scheme, generic Revlimid would

 have been available years ago, on a date to be determined during discovery.

        422.    Absent the Revlimid agreements, a reasonable generic company in the position of

 Natco/Teva would have launched: (i) launched generic Revlimid after prevailing at trial, (ii)

 launched at risk, or (iii) entered into a payment-free agreement that provided for an earlier agreed

 entry date. At the very latest, absent the Revlimid agreements, Natco/Teva would have at least

 been able to launch on May 21, 2021, after receiving final approval from the FDA or – in the

 absence of entering into an anticompetitive payment-laded agreement with competitor Celgene –

 even earlier. As above, Dr. Reddy’s would have been able to launch two formulations of generic

 Revlimid soon thereafter, having itself received final approval on October 14, 2021 or – in the

 absence of entering into an anticompetitive payment-laded agreement with competitor Celgene –

 even earlier. From what is known and alleged in this Complaint, including the improperly listed

 and later invalidated REMS patents (expired 2020) and the known defects of the ’517 Patent

 (expired 2019), generic entry would have likely occurred substantially earlier.

        423.    A 2010 study by the FTC found that on average, within a year of generic entry,

 generics had captured 90% of corresponding brand sales and (with multiple generics on the

 market) prices had dropped 85%, findings confirmed by later studies. Given that there were

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 multiple generic filers, it is likely that additional generics would have entered subsequent to

 Natco, driving down prices in accord with industry experience.166 Thus, Plaintiff will suffer

 substantial damages in overcharges on Revlimid purchases through at least early 2026.

          424.   A seller with a volume limit has no incentive to compete on price. Adding

 generic sellers with volume limits will put no downward pressure on price.

          425.   If reasonable, competitively-acting companies in the position of Natco and

 Celgene had chosen to settle lawfully, i.e., without a market allocation and/or large and

 unjustified payment, the agreed upon date by which Natco could enter with its generic Revlimid

 would have been earlier, well before March of 2022 and robust generic competition would have

 occurred well before January 31, 2026.

          426.   Because of the delayed date of robust competition, and Celgene’s multifaceted

 monopolistic scheme, Celgene had extra time to convert the bulk of Thalomid prescriptions over

 to Revlimid prescriptions, thereby taking advantage of its artificially and unlawfully extended

 monopoly on Revlimid and the supracompetitive prices caused by its misconduct.

                    b. Volume Limited, Royalty-Free Licenses Prior to True Generic
                       Competition as a Reverse Payment.
          427.   As discussed above, Celgene’s settlement agreement with Natco provides for a

 volume-limited, royalty-free license. Natco described the existence of, but not the precise

 numbers, of the volume limits in its original press release. Additionally, during Natco’s

 February 12, 2016 earnings call (held shortly after the Natco Revlimid settlement was

 announced), Natco CEO Rajeev Nannapaneni stated with respect to the Revlimid settlement


    166
        See R. Conrad and R. Lutter, Generic Competition and Drug Prices: New Evidence
 Linking Greater Generic Competition and Lower Generic Drug Prices, FDA: Generic
 Competition and Drug Prices (December 2019), available at https://www.fda.gov/about-
 fda/center-drug-evaluation-and-research-cder/generic-competition-and-drug-prices (last accessed
 March 29, 2022).
                                                 123
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 agreement: “We have a launch date. The launch date is clear. It allows us to launch without

 paying a license fee that is the arrangement that we have.”167

          428.   The volume-limited, royalty-free license is essentially a side deal wherein the

 brand pays the generic by allowing some sales during a period protected from generic

 competition. In an arm’s length agreement where the volume-limited license were not connected

 to a delayed date for full generic competition, a reasonable, competitively-acting company in the

 position of Celgene would have kept the large majority of profits prior to full generic entry by

 charging Natco a substantial royalty. By instead offering a favorable royalty payment as part of

 a patent litigation settlement, or by waiving it entirely, as Celgene did when settling the Revlimid

 litigation with Natco, a brand manufacturer makes a substantial reverse payment to the generic

 manufacturer.

          429.   Similar, competitive agreements that are unconnected to patent litigation

 settlements provide a close analogy to an arm’s length transaction. Brand manufacturers

 sometimes launch their own generic product before full-fledged generic entry occurs.168 When



    167
         Natco Feb. 12, 2016 earnings call transcript at p. 20, available at
 https://natcopharma.co.in/wp-content/uploads/2016/02/NirmalBang-NatcoPharma-Feb12-
 2016.pdf (last accessed March 2, 2022).
     168
          Although brand AG products are typically launched upon generic entry (see FTC 2011
 Report, p. 74), numerous brand manufacturers have employed the strategy of preempting generic
 competition with an earlier AG launch. For example, brand manufacturers employed this
 strategy with AG launches of the drugs Xanax, Dyazide, Lopid, Tenormin, and Naprosyn. See J.
 Peny and R. Young, “Are generic defence strategies worth the effort?” Scrip Magazine, June
 1996 (https://smart-pharma.com/wp-content/uploads/2019/07/Ethical-Products_Are-generics-
 defense-strategies-worth-the-effort.pdf); “Geneva Pharmaceuticals has First Legitimate AB-
 Rated Generic Dyazide,” The Pink Sheet, August 5, 1991
 (https://pink.pharmaintelligence.informa.com/PS019523); “Warner-Lambert will Launch
 Generic Lopid; Is ‘Discussing’ Triglycerides Claim for Lopid SR with FDA, Company Tells
 Analysts in ‘Life after Lopid’ Talk,” The Pink Sheet, April 27, 1992
 (https://pink.pharmaintelligence.informa.com/PS020773); and “Arthritis Drug Maker Losing Its
 Monopoly: Pharmaceuticals: As its patent runs out, Syntex faces another challenger. Analysts


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 the brand launches its own generic through a distributor in a competitive agreement that is

 unconnected to patent litigation, the industry standard is for the brand to retain 90% or more of

 the licensed generic profits.169 A rational brand manufacturer in Celgene’s position would not

 waive these royalties unless it was getting something in return. Celgene charged no royalties to

 Natco during the limited-volume period because the license was indeed connected to the patent

 litigation settlement and it was getting something in return: Celgene was buying a delay in full-

 fledged, robust, generic competition.

        430.    While at this stage precise calculation of the size of the payment cannot be made,

 by any view the transfer of value to Natco in the settlement agreement is massive. By way of

 illustration, a three-year, volume-limited license starting at 5% and over time moving to an

 allocation of 30% of the market to the Natco generic170 would result in a reverse payment from

 the brand manufacturer to Natco of approximately $3.6 billion.171 As shown below:



 are predicting a ‘ruthless market,’” L.A. Times, September 30, 1993
 (https://www.latimes.com/archives/la-xpm-1993-09-30-fi-40495-story.html).
     169
         FTC 2011 study at p. 77 (“Apart from contexts where AG marketing rights derive from
 patent litigation settlements, marketing agreements generally require AG distributors to pay the
 brand a large percentage of profits on the AG, typically from 50–92 percent”); id. at fn. 55 (“CD,
 Oct. 12, 2004 (‘Historically, generic partners received 20–35% of the economics, but this has
 now been driven down to 10% or less’)”); see also presentation entitled “Authorized Generic
 Partnership: Merck – Ranbaxy” dated May 24, 2007 (PDF labeled “Nexium Trial Exhibit 103”),
 which states, “Current industry standard for sharing Net Profits is 90% to the innovator company
 and 10% to the generic marketer.” Some brand companies retain all the profit by launching AGs
 “in house” through a subsidiary.
     170
         As described above, Natco was set to receive “a mid-single-digit percentage” of the
 volume during the first year after entry, which was set “increase gradually each 12 months” and
 was “not expected to exceed one-third of the total” volume in the third year of the Agreement.
 Press Release, Celgene Corp., Celgene Settles REVLIMID® Patent Litigation (Dec. 22, 2015),
 http://ir.celgene.com/releasedetail.cfm?ReleaseID=947998.
     171
         The Revlimid market is conservatively assumed to remain at $8 billion in each year.
 Reasonable parties in Celgene and Natco’s positions likely would have expected it to be greater.
 Also, as discussed above, there is no incentive for the generic to compete on price with a volume
 limited license, so the generic-to-brand price ratio is 100%.

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                                                                                        Foregone
                                                                        Generic       royalties on
                                                    Generic-to-
                                                                          sales      generic sales
                 Brand Market      Percent of       brand price
                   (in millions)    market                ratio     (in millions)     (in millions)
       Year 1            $8,000           5.0%               100%           $400              $360
       Year 2            $8,000          15.0%               100%         $1,200            $1,080
       Year 3            $8,000          30.0%               100%         $2,400            $2,160
                                                                                    Total: $3,600



          431.    Celgene also agreed to provide volume-limited licenses to at least four of the

 Later-Filing Generics to start “sometime after March 2022” and likely limited to a “low-single

 digit percentage” of the market.172 Celgene has continued to conceal the terms of these

 settlements, including whether they involve a below market rate royalty. However, the

 settlements with LFGs are at least complementary agreements that Celgene settled on terms that

 shored up the anticompetitive terms (and attendant windfall) of the anticompetitive reverse

 payment to Natco. The total size of the reverse payment from Celgene to Natco associated with

 these foregone royalties is estimated to be $3.6 billion.

                     c. Most-Favored Entry Clauses.
          432.    Second, Celgene made a payment to Natco in the form of a most-favored entry

 (alternative, “acceleration”) clause, that would provide disincentives to later generics to continue

 to challenge the Revlimid patents. If a later (non-settling) generic were to continue the litigation


 172
    See https://www.businesswire.com/news/home/20200917005211/en/Bristol-Myers-Squibb-
 Announces-Settlement-of-U.S.-Patent-Litigation-for-REVLIMID%C2%AE-lenalidomide-With-
 Dr.-Reddy%E2%80%99s; https://www.businesswire.com/news/home/20190329005384/en/
 Celgene-Settles-U.S.-REVLIMID%C2%AE-Patent-Litigation-with-Alvogen.;
 https://www.businesswire.com/news/home/20201211005052/en/Bristol-Myers-Squibb-
 Announces-Settlement-of-U.S.-Patent-Litigation-for-REVLIMID%C2%AE-lenalidomide-with-
 Cipla; https://sunpharma.com/wp-content/uploads/2021/06/Press-Release-Settlement-of-Patent-
 Litigation-for-Generic-Revlimid-in-US.pdf.
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 and invalidate the patents, triggering the most-favored entry clause, it would allow at least Natco

 to enter the market early, cutting into the non-settling generic’s market share and causing further

 price erosion. In other words, the challenger would bear 100% of the cost and risk associated

 with continuing the patent challenge but would enjoy only a fraction of the rewards if it were to

 succeed. As a result, most-favored entry clauses deter patent challenges and provide a payment

 to the settling generic in the form of an assurance that it will receive the most-favorable entry

 date.

          433.   Natco has disclosed that the Revlimid settlement agreement contains a most-

 favored entry clause, which if triggered, would or will permit Natco to enter the market earlier

 than it otherwise would be allowed under the terms of the settlement agreement. One of the

 events that can trigger the most-favored entry clause is if another generic manufacturer pursues

 the patent litigation and succeeds in invalidating Celgene’s patents.173 Without the clause, Natco

 would forfeit its lucrative 180-day exclusivity period if it could not launch within 75 days of the

 legal decision. The clause would allow Natco to launch quickly and retain its exclusivity, thus

 eliminating the risk that Natco could lose the 180-day exclusivity period.174 This elimination of

 the risk of losing the exclusivity period was extremely valuable to Natco.

                    d. The Anticompetitive Reverse Payment and Complementary
                       Agreements Delayed Generic Competition and Created an
                       Anticompetitive Market Division.
          434.   Celgene’s agreements with Natco and the Later-Filing Generics delayed full-

 fledged generic entry by creating an anticompetitive market division. As summarized in Table X,


    173
         Other common forms of most favored entry clauses allow the settling generic to enter if a
 different generic launches at risk or gets an earlier licensed entry date.
     174
         Keith Drake and Thomas McGuire, Most Favored Entry Clauses in Drug Patent
 Litigation Settlements as a Potential Reverse Payment, National Bureau of Economic Research,
 Working Paper 29801 (February 2022), available at https://www.nber.org/papers/w29801 (last
 accessed March 8, 2022).
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 compared to true generic entry, the market division benefits Celgene, Natco, and the Later Filing

 Generics at the expense of Purchasers.

          Table X Market Division Created by the Anticompetitive Reverse Payment Settlements

                                         Celgene                        Third-Party   Purchaser
                                    Brand        AG           Natco      Generics     Spending
   Competitive Conditions
     180-days                        0.40           0.84       0.84                     2.07
     Next 2.5 years                  2.00           0.18       0.18        0.73         3.10
     Total                           2.40           1.02       1.02        0.73         5.17

   Reverse Payment Agreements
     Year 1                          7.12                      0.40        0.48         8.00
     Year 2                          5.52                      1.20        1.28         8.00
     Year 3                          4.00                      2.40        1.60         8.00
     Total                          16.64           0.00       4.00        3.36        24.00

   Anticompetitive Profit           14.24          -1.02       2.98        2.63
   Harm to Purchasers                                                                  18.83

          435.   To make these calculations, the market is conservatively assumed to be $8 billion

 in each year with no price competition. Without volume limits, generics are assumed to capture

 90% of the overall unit volume and generic prices are assumed to be as specified by the generic-

 to-brand price ratios calculated by the FDA.175

          436.   Under competitive conditions, with full-fledged generic entry, Celgene would

 make approximately $3.4 billion. During the first 180 days after generic entry, Celgene would

 make $0.4 billion from its brand sales ($4 billion * 10% brand-generic market share) and $0.84

 billion in authorized generic sales ($4 billion * 90% brand-generic market share * 46.5%

 generic-to-brand price ratio * 50% of the generic market). Over the next two-and-a-half years,

 Celgene would make another $2 billion in brand sales ($8 billion * 2.5 years * 10% brand-



    175
          https://www.fda.gov/media/133509/download (last page)
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 generic market share) and $0.18 billion in authorized generic sales ($8 billion * 2.5 years * 90%

 brand-generic market share * 6.1% brand-to-generic price ratio * 1/6 of the generic market).

        437.    With the market division in place, Celgene would earn $16.6 billion,

 approximately $14.2 billion more than under competitive conditions. Because its brand product

 could retain whatever share of the market Celgene did not allocate to the generics, Celgene

 would have no incentive to launch an authorized generic (which would typically enhance generic

 competition if no volume caps were in place). Assuming that Natco and the Later Filing

 Generics are allocated the same shares of the market as above, Celgene’s sales are calculated as:

 $8 billion * (100% - 5% volume to Natco – 1.5% * 4 volume to Later Filing Generics) + $8

 billion * (100% - 15% volume to Natco – 4% * 4 volume to Later Filing Generics) + $8 billion *

 (100% - 30% volume to Natco - 5% * 4 volume to Later Filing Generics) = $16.6 billion.

        438.    As shown, Natco is also better off with the market division agreement in place

 compared to with competitive conditions, by approximately $3.0 billion. With competitive

 conditions, Natco’s generic sales are similar to Celgene’s authorized generic sales of $1.02

 billion ($0.84 billion during the exclusivity period and $0.18 billion over the next 2.5 years).

 With the market division in place, Natco captures less of the generic market but benefits from the

 lack of price competition. Natco’s sales across the three-year period total $4.0 billion ($8 billion

 * 5% market share + $8 billion * 15% market share + $8 billion * 30% market share).

        439.    The Later-Filing Generics are also better off with the market division agreement

 in place, by about $2.6 billion. Under competitive conditions, they collectively make $0.73

 billion ($8 billion * 2.5 years * 90% brand-generic market share * 6.1% brand-to-generic price

 ratio * 4/6 of the generic market). With the market division agreement, they make $3.4 billion

 ($8 billion * 1.5% * 4 volume to Later Filing Generics + $8 billion * 4% * 4 volume to Later



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 Filing Generics + $8 billion * 5% * 4 volume to Later Filing Generics). Each generic makes

 approximately $0.7 billion more under the market division agreement ($2.6 billion / 4 generics)

 compared to with competitive conditions.

          440.   In total, Celgene, Natco, and the Later-Filing Generics’ sales increase by $18.8

 billion with the market division agreement compared to competitive conditions. The increased

 sales of all the sellers of the brand and generic Revlimid come at the expense of Purchasers.

                    e. Although Similar to a No-AG Clause, the Market Division Created by
                       the Volume-Limited Licenses Results in Even More Harm to
                       Purchasers
          441.   With competitive conditions, there are typically three products available during

 the 180-day generic exclusivity period: the first-to-file generic’s product, the brand’s authorized

 generic product, and the brand product. As summarized above, the two generic products quickly

 capture most of the market. The generics compete on price, bringing it down to approximately

 46.5% of the brand price, so purchasers benefit.

          442.   A no-AG clause is an anticompetitive promise from the brand not to compete with

 the generic during the 180-day exclusivity period (made in exchange for a delay in generic

 entry). However, there are still two competitors and the generic must price below the brand

 product to capture most of the market. According to the FDA, a generic product in a market with

 only one generic seller is priced at 61.4% of the brand price.176 There is less benefit to

 purchasers compared to if there had been two generic products, but the competition introduced

 by one generic making unrestricted sales still benefits purchasers.



    176
        R. Conrad and R. Lutter, Generic Competition and Drug Prices: New Evidence Linking
 Greater Generic Competition and Lower Generic Drug Prices, FDA: Generic Competition and
 Drug Prices (December 2019), available at https://www.fda.gov/about-fda/center-drug-
 evaluation-and-research-cder/generic-competition-and-drug-prices (last accessed March 29,
 2022).
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        443.    With a volume-limited license, the brand can retain whatever share of the market

 it has not allocated to the generic, so there is no incentive to launch an authorized generic. For

 the volume-restricted generic, its sales volume is also fixed and it has no incentive to try to

 increase volume by reducing price. Without some price competition, purchasers do not benefit

 from volume-limited generic entry.

        444.    The market division agreement here is more harmful to purchasers than a

 traditional no-AG clause for another reason. With a no-AG clause, after the 180-day exclusivity

 period expires, later-filing generics typically enter and drive down the price much further

 towards marginal cost. With respect to Revlimid, Celgene also allocated small shares of the

 market to the Later Filing Generics, so they will also have no incentive to compete on price.

 Thus, even after more generics become available, the price will remain close to the brand price

 and purchasers will derive very little if any benefit. In other words, a no-AG clause keeps the

 generic price unduly high for 180-days, but the Revlimid market division will keep it even higher

 and for a longer period of almost three years. (Of course, both arrangements also result in

 delaying generic competition.)

            5. Celgene and Remaining Later-Filing Generics Quietly Settle Sham
               Litigations

        445.    Celgene continued to file patent infringement litigation against any generic

 Revlimid ANDA filer. Only the Alembic sham patent litigation remains pending. Celgene and

 the below Later-Filing Generics have kept all the terms of their settlement agreements

 confidential. However, Plaintiff believes that, given the above anticompetitive reverse payment

 agreement and complementary agreements discernible with the little public information

 available, discovery of the below settlement agreements will likely reveal anticompetitive




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 provisions that have shielded Celgene’s patents from judicial scrutiny and delayed generic

 competition.

                     a. Celgene’s Sham Litigation Against Apotex
          446.   As part of its unlawful anticompetitive strategy, Celgene filed three patent

 infringement suits against Apotex. It brought the actions only because the filing would delay

 generic entry into the lenalidomide market.

                       i.   Polymorphic Forms and Methods-of-Use Patents

          447.   After Apotex filed its ANDA for generic lenalidomide, it sent written notice of its

 Paragraph IV certification to Celgene on November 28, 2017, alleging that the patents-in-suit are

 invalid and/or will not be infringed by Apotex’s ANDA.

          448.   On January 11, 2018, Celgene filed yet another patent infringement action against

 a generic manufacturer, this time against Apotex for filing ANDA No. 211022 for various

 dosages of its generic alternative to Revlimid, which Celgene alleged would infringe its ’720

 patent, ’977 Patent, ’784 Patent, ’886 Patent, ’531 Patent, ’800 Patent, ’217 Patent, ’363 Patent,

 and ’929 Patent.177

          449.   On August 30, 2018, Apotex filed its answer and affirmative defenses, alleging

 that Celgene’s asserted patents are invalid, unenforceable, or uninfringed. Apotex alleged that

 five of the patents-in-suit are unenforceable due to patent misuse because Celgene asserted the

 patents even though no reasonable litigant could believe they were valid in light of prior

 proceedings in front of the PTAB.

          450.   On January 14, 2019, the District Court referred the parties to mediation.




    177
          Celgene Corp. v. Apotex Inc., No. 2:18-cv-00461 (D.N.J.).
                                                 132
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             451.   On January 22, 2019, the District Court entered a statement executed by both

 Celgene and Apotex in which Celgene covenanted not to sue Apotex Inc. (“Apotex”), or its

 successors in interest, for infringement of the ’217 Patent based on the filing of ANDA No.

 211022 or its past, present, or future manufacture, use, sale, and offer for sale, in the United

 States, or importation into the United States, of a generic version of Celgene’s Revlimid®

 product, as presently described in ANDA No. 211022. The statement nonetheless included that

 Celgene did not concede that the ’217 Patent is not infringed, is invalid, or is unenforceable.

             452.   Per the scheduling order, Apotex was to serve its invalidity and non-infringement

 contentions on February 15, 2019, with Celgene to serve its infringement contentions on April

 26.

             453.   Four days after Celgene was to serve its infringement contentions, on April 30,

 2019, the District Court issued a consent judgment that the ’217 Patent was not infringed by

 ANDA No. 211022. Thus, judgment of non-infringement was entered in favor of Apotex and

 against Celgene as to infringement of the ’217 Patent, Celgene’s Polymorph patent.178

             454.   The following week, on May 8, 2019, the District Court issued an order

 bifurcating the claims and staying the action as to the ’720 Patent, ’977 Patent, ’784 Patent, ’886

 Patent, and ’531 Patent, Celgene’s REMS patents. As described above, Celgene’s REMS patents

 are likely invalid as obvious—as shown by the Federal Circuit’s invalidation of the ’720

 Patent—and Celgene likely stayed litigation of these patents in order to protect them from

 invalidation, thereby preserving its ability to sue on them and still trigger a 30 month stay of

 FDA approval. Apotex asserted affirmative defenses that these patents were also invalid for




       178
       Consent Judgment, Celgene Corp. v. Apotex Inc., No. 2:18-cv-00461, ECF No. 63 (D.N.J.
 Apr. 30, 2019).
                                                   133
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 patent misuse, as no reasonable litigant could believe they were valid in light of PTAB’s

 invalidation of the ’720 Patent. The remaining patents share the same specifications as the ’720

 Patent and have similar claims.

             455.   Like Natco, Apotex asserted defenses that the ’800 Patent is invalid under 35

 U.S.C. § 112 for indefiniteness, lack of written description, and lack of enablement. The ’800

 Patent is one of two key patents in Celgene’s scheme, covering—along with the non-infringing

 ’217 Patent—polymorphic forms of the lenalidomide compound.

             456.   On August 9, 2019, following extensions, the parties entered joint claim

 construction and prehearing statements indicating that no claim construction was needed to

 resolve all claims relating to the remaining patents at issue.

             457.   On January 13, 2021 the District Court entered a new scheduling order as to

 expert discovery regarding still pending claims concerning the remaining patents at issue,

 including the ‘800 patent. Per the order, polymorph patent expert reports were due on February

 18.

             458.   On March 10, 2021, Celgene and Apotex stipulated and consented to an entry of

 judgment and an injunction prohibiting Apotex from marketing its generic lenalidomide, “except

 as specifically authorized by Celgene,” until the expiration of the patents-in-suit listed above

 pursuant to a settlement agreement.179

             459.   Neither Celgene nor Apotex issued a press release and the terms of the settlement

 agreement are not publicly available.

                         ii.   Additional Methods-of-Use Patents




       As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved
       179

 Celgene’s settlement with Apotex.
                                                   134
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          460.   On February 26, 2019, Celgene filed yet another patent infringement action

 against a generic manufacturer, this time against Apotex for filing ANDA No. 211022 for

 various dosages of its generic alternative to Revlimid, which Celgene alleged would infringe its

 ’740 Patent, ’717 Patent, and ’120 Patent.180

          461.   On December 2, 2019, the parties submitted a joint claim construction statement

 advising the court that no Markman order was needed.

          462.   On January 13, 2021 the District Court entered a new scheduling order as to

 expert discovery regarding still pending claims concerning the outstanding patents at issue.

          463.   As detailed above, the parties on March 10, 2021, stipulated to a dismissal and

 injunction, covering the ’740 Patent, ’717 Patent, and ’120 Patent. Details of this settlement

 agreement are not publicly available.

          464.   Plaintiff believes that, given the above anticompetitive reverse payment

 agreement and complementary agreements discernible with the little public information

 available, discovery of the settlement agreements will likely reveal anticompetitive provisions

 that have shielded Celgene’s patents from judicial scrutiny and delayed and forestalled price

 competition in the lenalidomide market.181

                     iii.   Additional Litigation

          465.   On June 19, 2019, Celgene filed yet another patent infringement action against a

 generic manufacturer, this time against Apotex for filing ANDA No. 211022 for various dosages

 of its generic alternative to Revlimid, which Celgene alleged would infringe its ’357 Patent, ’219

 Patent, and ’598 Patent.182


    180
        Celgene Corp. v. Apotex Inc., No. 2:19-cv-06999 (D.N.J.).
    181
        As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved
 Celgene’s settlement with Apotex.
    182
        Celgene Corp. v. Apotex Inc., No. 2:19-cv-13994 (D.N.J.).
                                                 135
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        466.    On February 27, 2020, the parties submitted a joint claim construction statement

 advising the court that no Markman order was needed.

        467.    On January 13, 2021, the District Court entered a new scheduling order as to

 expert discovery regarding still pending claims concerning the outstanding patents at issue.

        468.    The parties on March 10, 2021, stipulated to a dismissal and injunction, covering

 the patents in suit. Apotex is prohibited from marketing a generic lenalidomide, “except as

 specifically authorized by Celgene.” Details of this settlement agreement are not publicly

 available.

        469.    Plaintiff believes that, given the above anticompetitive reverse payment

 agreement and complementary agreements discernible with the little public information

 available, discovery of the settlement agreements will likely reveal anticompetitive provisions

 that have shielded Celgene’s patents from judicial scrutiny and delayed and forestalled price

 competition in the lenalidomide market.

                   b. Celgene’s Sham Litigation Against Zydus
        470.    As part of its unlawful anticompetitive strategy, Celgene filed two patent

 infringement suits against Zydus. It brought the actions only because the filing would delay

 generic entry into the lenalidomide market. Although Zydus obtained Temporary Approval on

 August 16, 2021, it still has not launched a generic Revlimid. But for Celgene’s anticompetitive

 scheme, Zydus would have gained temporary and final approval far earlier and launched a

 competing product.

                      i.   Polymorphic Form and Methods-of-Use Patents

        471.    On April 12, 2017, Celgene filed a patent infringement action against Zydus and

 its healthcare arm, Cadila Healthcare Limited, for filing ANDA No. 210154 for various dosages

 of its generic alternative to Revlimid, allegedly infringing Celgene’s same ’800 Patent, ’217

                                                136
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 Patent, ’569 Patent, ’498 Patent, ’095 Patent, ’621 Patent, and ’622 Patent.183 This combination

 of patents has become central to Celgene’s strategy of blocking generic competitors.

          472.   On August 7, 2017, Zydus filed its answer and counterclaimed that each of

 Celgene’s asserted patents are invalid, unenforceable, or noninfringed.

          473.   On August 8, 2018, Celgene filed a Statement informing the court of its covenant

 not to sue Zydus for infringement of the ’217 Patent.184

          474.   On December 17, 2018, Celgene and Zydus stipulated that the parties had no

 disputed terms requiring claim construction.

          475.   On January 14, 2019, the court ordered mediation between the parties.

          476.   On May 10, 2019, the court issued an Amended Scheduling Order.

          477.   On March 13, 2020, Celgene filed a motion to stay proceedings, filed under seal,

 which was denied on September 3, 2020. On March 24, 2021, the Court entered a consent

 judgment, dismissing the matter with prejudice pursuant to a settlement agreement.

                      ii.   Additional Polymorphic Form Patents

          478.   On April 27, 2018, Celgene filed yet another patent infringement action against

 Zydus for filing ANDA No. 210154 for various dosages of its generic alternative to Revlimid,

 allegedly also infringing Celgene’s ’357 Patent, ’219 Patent, and ’598 Patent.185

          479.   On July 9, 2018, Zydus filed its Answer.

          480.   On January 14, 2019, the court ordered mediation between the parties. Fact

 discovery closed on August 30, 2019.




    183
       Celgene Corp. v. Zydus Pharmaceuticals (USA) Inc. et al., No. 2:17-cv-02528 (D.N.J.).
    184
       Statement, Celgene Corp. v. Zydus Pharmaceuticals (USA) Inc. et al., No. 2:17-cv-02528,
 ECF No. 93 (D.N.J. Aug. 8, 2018).
   185
       Celgene Corp. v. Zydus Pharmaceuticals (USA) Inc. et al., No. 2:18-cv-08519 (D.N.J.).
                                                137
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          481.   On March 13, 2020, three years after filing suit, In briefing now partially

 redacted, Celgene argued that because samples provided by Zydus two years prior were expired

 that an indefinite stay was warranted.186 On September 3, the District Court denied the stay

 during a hearing, the minutes of which have been sealed.

          482.   On March 24, 2021, the Court entered a consent judgment in both of the patent

 infringement actions that Celgene brought against Zydus, wherein Zydus agreed to refrain from

 making, having made, using, selling, offering to sell, importing, or distributing Zydus’ generic

 version of Revlimid in the United States of America, including its territories, possessions, and

 the Commonwealth of Puerto Rico, until the expiration of Celgene’s ’800 Patent, ’569 Patent,

 ’357 Patent, ’219 Patent, ’598 Patent, ’498 Patent, ’095 Patent, ’621 Patent, and ’622 Patent,

 “except as provided for in the settlement.”187

          483.   Details of this settlement agreement are not publicly available. Plaintiff believes

 that, given the above anticompetitive reverse payment agreement and complementary

 agreements discernible with the little public information available, discovery of the settlement

 agreements will likely reveal anticompetitive provisions that have shielded Celgene’s patents

 from judicial scrutiny and delayed and forestalled price competition in the lenalidomide

 market.188

                    c. Celgene’s Sham Litigation Against Hetero




    186
        REDACTED Opposition to Motion to Stay, Celgene Corp. v. Zydus Pharmaceuticals
 (USA) Inc. et al., No. 2:18-cv-08519, ECF No. 116 at 4-5, 12-13 (D.N.J. Mar. 12, 2021).
    187
        Consent Judgment, ECF 210, No. 2:17-cv-02528, ECF 119, No. 2:18-cv-08519 (D.N.J.
 Mar. 24, 2021).
    188
        As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved
 Celgene’s settlement with Zydus.
                                                  138
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          484.   As part of its unlawful anticompetitive strategy, Celgene filed three patent

 infringement suits against Hetero. It brought the actions only because the filing would delay

 generic entry into the lenalidomide market.

                       i.   Polymorphic Forms and Methods-of-Use Patents

          485.   In fall 2018, Hetero filed its ANDA for generic lenalidomide. On November 9,

 2018, Hetero sent written notice of its Paragraph IV Certification to Celgene alleging that the

 patents-in-suit are invalid and/or will not be infringed by Hetero’s ANDA.

          486.   On December 20, 2018, Celgene filed yet another patent infringement action

 against a generic manufacturer, this time against Hetero Labs Ltd.189 for filing ANDA No.

 212414 for various dosages of its generic alternative to Revlimid, which Celgene alleged would

 infringe its ’800 Patent, ’217 Patent, ’363 Patent, and ’929 Patent.190

          487.   On March 11, 2019, Hetero filed its answer and counterclaim, alleging that

 Celgene’s asserted patents are invalid, unenforceable, or uninfringed. On April 15, 2019,

 Celgene filed its answer to Hetero’s counterclaim.

          488.   On January 21, 2020, the District Court entered a stipulation dismissing without

 prejudice Celgene’s claims relating to the ’217 Patent, ’363 Patent, and the ’929 Patent, leaving

 the case at that point only pending with respect to only the ’800 Patent.191

          489.   On October 26, the parties submitted final Markman briefings.




    189
        The complaint also named Hetero Labs Limited Unit-V, Hetero Drugs Limited, and
 Hetero USA, Inc. (collectively, “Hetero”).
    190
        Celgene Corp. v. Hetero Labs Ltd. et al., No. 2:18-cv-17463 (D.N.J.).
    191
        Stipulation, Celgene Corp. v. Hetero Labs Ltd. et al., No. 2:18-cv-17463, ECF No. 54
 (D.N.J Jan. 21, 2020).
                                                 139
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          490.   On January 11, 2021, the District Court entered an order administratively

 terminating the docket, with the action consolidated under lead docket 2:20-cv-14389, detailed

 below.

          491.   The anticompetitive effects of Celgene’s conduct, including filing yet another

 sham litigation, are to delay and forestall price competition in the lenalidomide market.

                       ii.   Additional Methods-of-Use Patents

          492.   On July 16, 2019, Celgene filed yet another patent infringement action against

 Hetero for filing ANDA No. 212414 for various dosages of its generic alternative to Revlimid,

 which Celgene alleged would also infringe its ’740 Patent, ’569 Patent, ’717 Patent, ’498 Patent,

 ’095 Patent, ’120 Patent, ’621 Patent, and ’622 Patent.192

          493.   On October 11, 2019, Hetero filed its answer and counterclaims against Celgene,

 for which Celgene filed an answer on November 15, 2019.

          494.   On December 18, 2019, the court issued a pretrial scheduling order. On October

 26, 2020, the parties submitted final Markman briefs.

          495.   On January 11, 2021, the District Court entered an order administratively

 terminating the docket, with the action consolidated under lead docket 2:20-cv-14389, detailed

 below.

          496.   The anticompetitive effects of Celgene’s conduct, including filing yet another

 sham litigation, are to delay and forestall price competition in the lenalidomide market.

                      iii.   Additional Litigation




    192
          Celgene Corp. Hetero Labs Ltd., et al., No. 2:19-cv-15449 (D.N.J.).
                                                 140
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          497.   On October 13, 2020, Celgene filed another patent infringement action against

 Hetero for filing ANDA No. 212414 for various dosages of its generic alternative to Revlimid,

 which Celgene alleged would infringe its ’357 Patent and ’219 Patent.193

          498.   On January 8, 2021, Celgene filed an Amended Complaint, incorporating the

 claims asserted in the other two, administratively terminated, dockets.

          499.   On May 7, 2021, the parties submitted a joint claim construction statement.

          500.   On September 27, 2021, Celgene and Hetero stipulated and consented to an entry

 of judgment and an injunction prohibiting Hetero from marketing lenalidomide, “unless and to

 the extent otherwise specifically authorized by Celgene,” until the expiration of the patents-in-

 suit listed above pursuant to a settlement agreement.194 The terms of the settlement agreement

 are not publicly available. Plaintiff believes that, given the above anticompetitive reverse

 payment agreement and complementary agreements discernible with the little public information

 available, discovery of the settlement agreements will likely reveal anticompetitive provisions

 that have shielded Celgene’s patents from judicial scrutiny and delayed and forestalled price

 competition in the lenalidomide market.195

                    d. Celgene’s Sham Litigation Against Mylan
          501.   In winter 2019, Mylan filed its ANDA for generic lenalidomide. On November

 20, 2019, Mylan sent written notice of its Paragraph IV Certification to Celgene alleging that the

 patents-in-suit are invalid and/or will not be infringed by Mylan’s ANDA.




    193
         Celgene Corp. Hetero Labs Ltd., et al., No. 2:20-cv-14389 (D.N.J.).
    194
         Consent Judgment, Celgene Corp. Hetero Labs Ltd., et al., No. 2:20-cv-14389, ECF No.
 51 (D.N.J. Sep. 27, 2021).
     195
         As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved
 Celgene’s settlement with Hetero.
                                                 141
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          502.   On December 31, 2019, Celgene filed yet another patent infringement action

 against a generic manufacturer, this time against Mylan in the District of New Jersey for filing

 ANDA No. 213912 for various dosages of its generic alternative to Revlimid, which Celgene

 alleged would infringe its ’740 patent, ’800 Patent, ’217 Patent, ’569 Patent, ’717 Patent, ’498

 Patent, ’095 Patent, ’120 Patent, ’621 Patent, and ’622 Patent (“New Jersey action”).196

          503.   Also, on January 3, 2020, Celgene filed an identical complaint against Mylan in

 the Northern District of West Virginia (“West Virginia action”), alleging infringement of the

 same patents as in the New Jersey action.197

          504.   On October 9, 2020, in the West Virginia action, Celgene submitted a covenant

 not to sue Mylan on the ’217 Patent.198

          505.   On November 16, 2020, the parties submitted, in the West Virginia action, a joint

 claim construction statement agreeing that there were no disputed terms requiring claim

 construction. On April 23, 2021, Mylan filed its Amended Answer and Counterclaims to

 Celgene’s Amended Complaint.

          506.   On July 23, 2021, Mylan and Celgene stipulated and consented to an entry of

 judgment in both actions and an injunction prohibiting Mylan from marketing its generic

 lenalidomide, “unless and to the extent otherwise specifically authorized by Celgene,” until the

 expiration of the patents-in-suit listed above pursuant to a settlement agreement. The terms of the

 settlement agreement are not publicly available. Plaintiff believes that, given the above

 anticompetitive reverse payment agreement and complementary agreements discernible with the




    196
        Celgene Corp. v. Mylan Pharmaceuticals Inc. et al., No. 2:19-cv-22231 (D.N.J.).
    197
        Celgene Corp. v. Mylan Pharmaceuticals Inc. et al., No. 1:20-cv-00003 (N.D. W. Va.).
    198
        Statement, Celgene Corp. v. Mylan Pharmaceuticals Inc. et al., No. 1:20-cv-00003, ECF
 No. 120 (N.D. W. Va. Oct. 9, 2020).
                                                142
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 little public information available, discovery of the settlement agreements will likely reveal

 anticompetitive provisions that have shielded Celgene’s patents from judicial scrutiny and

 delayed and forestalled price competition in the lenalidomide market.199

                    e. Celgene’s Sham Litigation Against Aurobindo
          507.   As part of its unlawful anticompetitive strategy, Celgene filed two patent

 infringement suits against Aurobindo. It brought the actions only because the filing would delay

 generic entry into the lenalidomide market. Although Aurobindo obtained Temporary Approval

 on March 8, 2022, it still has not launched a generic Revlimid. But for Celgene’s anticompetitive

 scheme, Aurobindo would have gained temporary and final approval far earlier and launched a

 competing product.

                       i.   Polymorphic Forms and Methods-of-Use Patents

          508.   In Winter 2019, Aurobindo filed ANDA No. 213885 for generic lenalidomide. On

 November 25, 2019, Aurobindo sent written notice of its Paragraph IV Certification to Celgene

 alleging that the patents-in-suit are invalid and/or will not be infringed by Aurobindo’s ANDA.

          509.   On January 8, 2020, Celgene filed yet another patent infringement action against a

 generic manufacturer, this time against Aurobindo Pharma Ltd., Aurobindo Pharma U.S.A., Inc.,

 Aurolife Pharma LLC, and Eugia Pharma Specialties Ltd. (collectively, “Aurobindo”) for filing

 its ANDA for various dosages of its generic alternative to Revlimid, which Celgene alleged

 would infringe its ’800 Patent, ’217 Patent, ’569 Patent, ’498 Patent, ’095 Patent, ’621 Patent,

 and ’622 Patent.200




    199
        As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved
 Celgene’s settlement with Mylan.
    200
        Celgene Corp. v. Aurobindo Pharma Ltd. et al., No. 2:20-cv-00315 (D.N.J.).
                                                 143
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          510.   On March 27, 2020, Aurobindo filed its answer and counterclaim, alleging that

 Celgene’s asserted patents are invalid, unenforceable, or uninfringed.

          511.   On July 19, 2021, Aurobindo and Celgene stipulated and consented to an entry of

 judgment and an injunction prohibiting Aurobindo from marketing its generic lenalidomide until

 the expiration of the patents-in-suit listed above pursuant to a settlement agreement. The terms of

 the settlement agreement are not publicly available. The terms of the settlement agreement are

 not publicly available. Plaintiff believes that, given the above anticompetitive reverse payment

 agreement and complementary agreements discernible with the little public information

 available, discovery of the settlement agreements will likely reveal anticompetitive provisions

 that have shielded Celgene’s patents from judicial scrutiny and delayed and forestalled price

 competition in the lenalidomide market.201

                      ii.   Additional Litigation

          512.   On January 12, 2021, Celgene filed another patent infringement action against

 Aurobindo Pharma Ltd., Aurobindo Pharma U.S.A., Inc., Aurolife Pharma LLC, and Eugia

 Pharma Specialties Ltd. (collectively, “Aurobindo”) for filing its ANDA for various dosages of

 its generic alternative to Revlimid, which Celgene alleged would infringe its ’357 Patent, ’219

 Patent, and ’598 Patent.202

          513.   On April 15, 2021, Aurobindo filed its answer and counterclaim, alleging that

 Celgene’s asserted patents are invalid, unenforceable, or uninfringed.

          514.   On July 19, 2021, Aurobindo and Celgene stipulated and consented to an entry of

 judgment and an injunction prohibiting Aurobindo from marketing its generic lenalidomide,



    201
        As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved
 Celgene’s settlement with Aurobindo.
    202
        Celgene Corp. v. Aurobindo Pharma Ltd. et al., No. 2:21-cv-00624 (D.N.J.).
                                                144
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 “unless and to the extent otherwise specifically authorized by Celgene,” until the expiration of

 the patents-in-suit listed above pursuant to a settlement agreement. The terms of the settlement

 agreement are not publicly available. The terms of the settlement agreement are not publicly

 available. Plaintiff believes that, given the above anticompetitive reverse payment agreement and

 complementary agreements discernible with the little public information available, discovery of

 the settlement agreements will likely reveal anticompetitive provisions that have shielded

 Celgene’s patents from judicial scrutiny and delayed generic competition.203

                    f. Celgene’s Sham Litigation Against Lupin
          515.   In Summer 2020, Lupin filed ANDA No. 214398 for generic lenalidomide. On

 May 26, 2020, Lupin sent written notice of its Paragraph IV Certification to Celgene alleging

 that the patents-in-suit are invalid and/or will not be infringed by Lupin’s ANDA.

          516.   On July 9, 2020, Celgene filed yet another patent infringement action against a

 generic manufacturer, this time against Lupin Limited for filing its ANDA for various dosages of

 its generic alternative to Revlimid, which Celgene alleged would infringe its ’800 Patent, ’217

 Patent, ’569 Patent, ’498 Patent, ’095 Patent, ’621 Patent, and ’622 Patent.204

          517.   On August 5, 2020, Lupin filed its answer and counterclaim, alleging that

 Celgene’s asserted patents are invalid, unenforceable, or uninfringed.

          518.   On February 19, 2021, the parties submitted a joint statement advising the court

 that the parties did not dispute any claim terms.

          519.   On June 30, 2021, Celgene filed an amended complaint.




    203
        As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved
 Celgene’s settlement with Aurobindo.
    204
        Celgene Corp. v. Lupin Ltd., No. 2:20-cv-08570 (D.N.J.).
                                                 145
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          520.   On September 15, 2021, the Court entered an Amended Scheduling Order,

 requiring the parties to serve their infringement and invalidity contentions by October 12.

          521.   On December 14, 2021, Lupin and Celgene stipulated and consented to an entry

 of judgment in both actions and an injunction prohibiting Lupin from marketing its generic

 lenalidomide, “unless and to the extent otherwise specifically authorized by Celgene,” until the

 expiration of the patents-in-suit listed above pursuant to a settlement agreement. The terms of the

 settlement agreement are not publicly available. The terms of the settlement agreement are not

 publicly available. Plaintiff believes that, given the above anticompetitive reverse payment

 agreement and complementary agreements discernible with the little public information

 available, discovery of the settlement agreements will likely reveal anticompetitive provisions

 that have shielded Celgene’s patents from judicial scrutiny and delayed and forestalled price

 competition in the lenalidomide market.205

                    g. Celgene’s Sham Litigation Against Hikma
          522.   As part of its unlawful anticompetitive strategy, Celgene filed two patent

 infringement suits against Hikma. It brought the actions only because the filing would delay

 generic entry into the lenalidomide market.

                       i.   Polymorphic Forms and Methods-of-Use Patents

          523.   In early 2021, Hikma filed ANDA No. 213103 for generic lenalidomide. On

 March 15, 2021, Hikma sent written notice of its Paragraph IV Certification to Celgene alleging

 that the patents-in-suit are invalid and/or will not be infringed by Aurobindo’s ANDA.

          524.   April 28, 2021, Celgene filed yet another patent infringement action against a

 generic manufacturer, this time against Hikma for filing its ANDA for various dosages of its


    205
       As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved
 Celgene’s settlement with Lupin.
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 generic alternative to Revlimid, which Celgene alleged would infringe its ’740 Patent, ’800

 Patent, ’217 Patent, ’569 Patent, ’717 Patent, ’498 Patent, ’095 Patent, ’120 Patent, ’621 Patent,

 and ’622 Patent.206

          525.   On June 22, 2021, Hikma filed its answer and counterclaim, alleging that

 Celgene’s asserted patents are invalid, unenforceable, or uninfringed.

          526.   On January 13, 2022, Hikma and Celgene stipulated and consented to an entry of

 judgment in both actions and an injunction prohibiting Hikma from marketing its generic

 lenalidomide until the expiration of the patents-in-suit listed above pursuant to a settlement

 agreement. The terms of the settlement agreement are not publicly available. Plaintiff believes

 that, given the above pattern of anticompetitive reverse payment agreements discernible with the

 little public information available, discovery of the settlement agreements will likely reveal

 anticompetitive provisions that have shielded Celgene’s patents from judicial scrutiny and

 delayed and forestalled price competition in the lenalidomide market.207

                       ii.   Additional Litigation

          527.   On December 10, 2021, Celgene filed another patent infringement action against

 Hikma for filing its ANDA for various dosages of its generic alternative to Revlimid, which

 Celgene alleged would infringe its ‘357 Patent, ‘219 Patent, and ‘598 Patent.208

          528.   Only one month later on January 13, 2022, as above, Hikma and Celgene

 stipulated and consented to an entry of judgment in both actions and an injunction prohibiting

 Hikma from marketing, “unless and to the extent otherwise specifically authorized by Celgene,”

 its generic lenalidomide until the expiration of the patents-in-suit listed above pursuant to a


    206
        Celgene Corp. v. Hikma Pharmaceuticals USA, Inc., No. 2:21-cv-10398 (D.N.J.).
    207
        As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved
 Celgene’s settlement with Hikma.
    208
        Celgene Corp. v. Hikma Pharmaceuticals USA, Inc., No. 2:21-cv-20459 (D.N.J.).
                                                 147
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 settlement agreement.209 The terms of the settlement agreement are not publicly available.

 Plaintiff believes that, given the above anticompetitive reverse payment agreement and

 complementary agreements discernible with the little public information available, discovery of

 the settlement agreements will likely reveal anticompetitive provisions that have shielded

 Celgene’s patents from judicial scrutiny and delayed and forestalled price competition in the

 lenalidomide market.210

                    h. Celgene’s Sham Litigation Against Biocon
          529.   In Spring 2021, Biocon filed ANDA No. 215759 for generic lenalidomide. On

 April 1, 2021, Torrent sent written notice of its Paragraph IV Certification to Celgene alleging

 that the patents-in-suit are invalid and/or will not be infringed by Torrent’s ANDA.

          530.   On May 14, 2021, Celgene filed yet another patent infringement action against a

 generic manufacturer, this time against Biocon for filing its ANDA for various dosages of its

 generic alternative to Revlimid, which Celgene alleged would infringe its ’740 Patent, ’800

 Patent, ’217 Patent, ’569 Patent, ’717 Patent, ’498 Patent, ’095 Patent, ’120 Patent, and ’622

 Patent.211

          531.   On June 11, 2021, Biocon filed its answer and counterclaim, alleging that

 Celgene’s asserted patents are invalid, unenforceable, or uninfringed.

          532.   On September 8, 2021—less than four months after the action began—Biocon

 and Celgene stipulated and consented to an entry of judgment and an injunction prohibiting

 Biocon from marketing its generic lenalidomide, “unless and to the extent otherwise specifically



    209
        Celgene Corp. v. Hikma Pharmaceuticals USA, Inc., No. 2:21-cv-20459, ECF No. 8
 (D.N.J. Jan. 13, 2022).
    210
        As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved
 Celgene’s settlement with Hikma.
    211
        Celgene Corp. v. Biocon Pharma Ltd. et al., No. 2:21-cv-11261 (D.N.J.).
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 authorized by Celgene,” until the expiration of the patents-in-suit listed above pursuant to a

 settlement agreement. The terms of the settlement agreement are not publicly available. Plaintiff

 believes that, given the above anticompetitive reverse payment agreement and complementary

 agreements discernible with the little public information available, discovery of the settlement

 agreements will likely reveal anticompetitive provisions that have shielded Celgene’s patents

 from judicial scrutiny and delayed and forestalled price competition in the lenalidomide market.

                     i. Celgene’s Sham Litigation Against Torrent
          533.   In Spring 2021, Torrent filed ANDA No. 213405 for generic lenalidomide. On

 May 10, 2021, Torrent sent written notice of its Paragraph IV Certification to Celgene alleging

 that the patents-in-suit are invalid and/or will not be infringed by Torrent’s ANDA.

          534.   On June 23, 2021, Celgene filed yet another patent infringement action against a

 generic manufacturer, this time against Torrent for filing its ANDA for various dosages of its

 generic alternative to Revlimid, which Celgene alleged would infringe its ’740 Patent, ’800

 Patent, ’217 Patent, ’569 Patent, ’717 Patent, ’498 Patent, ’095 Patent, ’120 Patent, ’621 Patent,

 and ’622 Patent.212

          535.   On August 12, 2021—less than two months after the action began—Torrent and

 Celgene stipulated and consented to an entry of judgment and an injunction prohibiting Torrent

 from marketing its generic lenalidomide until the expiration of the patents-in-suit listed above

 pursuant to a settlement agreement. The terms of the settlement agreement are not publicly

 available and Torrent officials have declined to disclose launch timelines. Plaintiff believes that,

 given the above anticompetitive reverse payment agreement and complementary agreements

 discernible with the little public information available, discovery of the settlement agreements



    212
          Celgene Corp. v. Torrent Pharmaceuticals Ltd. et al., No. 2:21-cv-12927 (D.N.J.).
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 will likely reveal anticompetitive provisions that have shielded Celgene’s patents from judicial

 scrutiny and delayed and forestalled price competition in the lenalidomide market.213

                    j. Celgene’s Sham Litigation Against Alembic
          536.   In Fall 2021, Alembic filed ANDA No. 215759 for generic lenalidomide. On

 October 7, 2021, Alembic sent written notice of its Paragraph IV Certification to Celgene

 alleging that the patents-in-suit are invalid and/or will not be infringed by Alembic’s ANDA.

          537.   On November 18, 2021, Celgene filed yet another patent infringement action

 against a generic manufacturer, this time against Alembic for filing its ANDA for various

 dosages of its generic alternative to Revlimid, which Celgene alleged would infringe its ’800

 Patent, ’217 Patent, ’569 Patent, ’498 Patent, ’095 Patent, and ’622 Patent.214

          538.   On December 20, 2021, Alembic filed its answer and counterclaim, alleging that

 Celgene’s asserted patents are invalid, unenforceable, or uninfringed.

          539.   The anticompetitive effects of Celgene’s conduct, including filing yet another

 sham litigation, are to delay and prevent generic entry into the lenalidomide market.

      VIII.       CELGENE AND BRISTOL-MYERS SQUIBB INTENDED TO AND DID
                                HARM COMPETITION

          540.   Celgene and Bristol-Myers Squibb’s scheme was intended to and did in fact block

 and delay generic thalidomide and lenalidomide entry into the market, destroy incentives for

 price competition, disrupt the normal distribution channels, and manipulate the statutory and

 regulatory mechanisms by which generic competition takes place, and otherwise exclude generic

 competitors from competitively marketing and distributing their products.



    213
        As with the Dr. Reddy’s settlement, it is likely that Bristol-Myers Squibb approved
 Celgene’s settlement with Torrent.
    214
        Celgene Corp. v. Alembic Pharmaceuticals Ltd. et al., No. 2:21-cv-20099 (D.N.J.).

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        541.    But for Celgene and Bristol-Myers Squibb’s anticompetitive scheme, generic

 Thalomid would have been brought to market possibly at least as early as spring 2009. Celgene

 illegally prevented competitors, including Mylan in 2004, Barr in 2005, and Lannett in 2007,

 from obtaining Thalomid samples for bioequivalence testing. When Barr filed an ANDA in

 September 2005, Celgene executed a contract with Barr’s API supplier that contained an

 anticompetitive exclusive dealing provision that created deficiencies in Barr’s ANDA application

 and required Barr to undergo new bio-studies and validation testing, delaying Barr’s ANDA one

 year. When Barr filed its ANDA in September 2006, Celgene filed a sham litigation suit to

 enforce its invalid and unenforceable patents. The litigation was halted when Celgene and Barr

 reached a confidential settlement which resulted in a continued absence of generic Thalomid

 from the market.

        542.    But for Celgene’s anticompetitive conduct, generic Revlimid would have entered

 the market in 2010 or soon thereafter. Celgene once again prevented multiple competitors

 including Mylan, Natco Pharma, Dr. Reddy’s, Teva, and Watson from obtaining Revlimid from

 Celgene for BE testing. Celgene refused to supply samples to Mylan, and Mylan has been

 unable to complete BE testing or file an ANDA for lenalidomide. Natco filed its lenalidomide

 ANDA in September 2010 and would have brought generic Revlimid to market shortly

 thereafter, but for Celgene’s sham patent infringement lawsuit and the subsequent settlement

 wherein Natco agreed not to sell generic lenalidomide until 2022, in limited quantities. Dr.

 Reddy’s filed its lenalidomide ANDA in 2016, after which Celgene once again filed a sham

 patent litigation. Lannett filed its thalidomide ANDA in December 2014, after which Celgene

 filed a sham patent litigation that resulted in a settlement wherein Lannett’s thalidomide could

 not be sold until August 2019. Zydus, Cipla, Lotus, Hetero, Apotex, Sun, Mylan, Lupin,



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 Aurobindo, Hikma, Torrent, Biocon, and Alembic each filed lenalidomide ANDAs and were met

 with Celgene’s serial sham litigation tactic, delaying the entry of their generic Revlimid products

 into the market.

        543.    All of Celgene’s patents on Revlimid are invalid under 35 U.S.C. §§ 101, 102,

 103, 112, and/or doctrines of double-patenting.

        544.    Celgene’s unjustifiable refusal to cooperate with the generic ANDA filers directly

 prevented generic filers from obtaining FDA approval. But for Celgene’s unlawful conduct,

 FDA would have given final approval to the pending generic manufacturers’ ANDAs and

 allowed them to enter the market as genuine competitors.

        545.    Celgene cannot justify its scheme by pointing to any consumer benefit. Generic

 drugs offer enormous cost savings, which outweigh any non-pretextual, if there even are any,

 justifications Celgene could possibly offer.

     IX. CELGENE AND BRISTOL-MYERS SQUIBB’S FORECLOSURE OF GENERIC
         COMPETITION FOR THALOMID AND REVLIMID CAUSED PLAINTIFF TO
           PAY MORE THAN IT WOULD HAVE PAID IN AN UNMANIPULATED
                                 MARKET

        546.    Celgene and Bristol-Myers Squibb’s scheme suppressed the ability of generic

 Revlimid and Thalomid substitutes to compete in the market under the governing statutory and

 regulatory scheme.

        547.    The absence of generic competition injured Plaintiff because it would have paid

 less for Thalomid and Revlimid, or their generic alternatives, by substituting purchases of less

 expensive AB-rated generic drugs for their purchases of more expensive branded drugs,

 receiving discounts on their remaining purchases of branded drugs, and by purchasing generic

 versions of Revlimid and Thalomid at lower prices sooner.




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             548.   As a result, Plaintiff has sustained substantial losses and damages to its business

 and property in the form of overcharges, the exact amount of which will be the subject of proof

 at trial.

      X. CELGENE AND BRISTOL-MYERS SQUIBB’S FORECLOSURE OF GENERIC
        COMPETITION FOR REVLIMID AND THALOMID AFFECTED INTERSTATE
                         COMMERCE FOR THOSE DRUGS

             549.   At all material times, Thalomid and Revlimid, manufactured and sold by Celgene,

 were shipped across state lines and sold to customers located outside of its state of manufacture.

             550.   Between at least 2010 and the present, in connection with the purchase and sale of

 Thalomid and Revlimid, monies as well as contracts, bills and other forms of business

 communication and transactions were transmitted in a continuous and uninterrupted flow across

 state lines.

             551.   At all material times, various devices were used to effectuate the illegal acts

 alleged herein, including the United States mail, interstate and foreign travel, and interstate and

 foreign telephone commerce. The activities of Celgene and Bristol-Myers Squibb as charged

 were within the flow of, and have substantially affected interstate commerce, money, contracts,

 and bills, and other forms of business communications were transmitted in a continuous and

 uninterrupted flow across state lines.

             XI. CELGENE AND BRISTOL-MYERS SQUIBB MAINTAINED MONOPOLY
                  MARKET POWER OVER REVLIMID AND THALOMID AND THEIR
                                     GENERIC FORMS

             552.   At all relevant times, Celgene has had monopoly power over the market for

 Revlimid and Thalomid in all their forms and dosages, which are still only available in the form

 of branded Thalomid and branded Revlimid. Celgene has and continues to have the power to

 maintain and increase the price of Revlimid and Thalomid to supracompetitive levels without



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 losing sales, because Celgene and Bristol-Myers Squibb have successfully conspired to keep

 AB-rated generic versions of Revlimid and Thalomid from reaching the U.S. market.

        553.     A small, but significant, non-transitory price increase for Revlimid or Thalomid

 by Celgene would not have caused a significant loss of sales.

        554.     Celgene needed to control only Revlimid and Thalomid and their AB-rated

 generic equivalents, and no other products, to maintain the price of Revlimid and Thalomid at

 supracompetitive prices. Only the market entry of a competing AB-rated generic version of

 those drugs would render Celgene unable to maintain its market monopoly.

        555.     If Plaintiff is legally required to prove market power through circumstantial

 evidence by first defining a relevant product market, the relevant market for Thalomid is all

 dosages of thalidomide, i.e., Thalomid and its AB-rated generic equivalents, and for Revlimid is

 all dosages of lenalidomide, i.e., Revlimid and its AB-rated generic equivalents.

        556.     Revlimid and Thalomid do not exhibit significant, positive cross-elasticity of

 demand regarding price with any other product, due to FDA regulatory hurdles incident to

 securing an A-B rating and laws allowing pharmacists to substitute only AB-rated generics for

 prescribed branded drugs.

        557.     There are no interchangeable drug products available for purchasers of Thalomid

 and Revlimid.

        558.     Celgene needed to control the output of Revlimid and Thalomid and its AB-rated

 generic equivalents only, and no other products, to maintain the price of Revlimid and Thalomid

 profitably at supracompetitive prices. Only the market entry of a competing AB-rated generic

 version of Revlimid or Thalomid would render Celgene unable to profitably maintain its current

 prices of those drugs without losing substantial sales.



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         559.    Celgene also sold branded Revlimid and Thalomid well over marginal costs, and

 substantially more than the competitive price, and enjoyed unusually high profit margins.

         560.    Celgene has had, and so exercised, the power to exclude and restrict competition

 for Thalomid and Revlimid.

         561.    Without the power to exclude and restrict competition for Thalomid and

 Revlimid, and the ability to sell its own branded version of those drugs at prices well over

 marginal costs, it would not have been economically rational for Celgene to make exorbitant

 payments to settle with Natco to delay the launch of generic Thalomid and Revlimid.

         562.    At all relevant times, Celgene has enjoyed the benefits of high barriers to entry

 with respect to competition to the above-defined market due to patent and other regulatory

 protections.

         563.    The relevant geographic markets are (i) the United States and its territories, and

 (ii) each state in which Plaintiff purchased Revlimid and/or Thalomid and under whose laws

 Plaintiff assert claims for relief. Celgene’s market share in the relevant market was 100% until

 March 2022, is 100% of the non-volume limited segment of the market for lenalidomide, and

 remains at least 90% of the overall market for lenalidomide.

                                    XII.      ANTITRUST INJURY

         564.    Celgene and Bristol-Myers Squibb’s use of the regulatory process as an

 anticompetitive tool to block and delay generic competition for Revlimid and Thalomid keeps

 costs high for insurers like Plaintiff.

         565.    Plaintiff paid substantial sums to purchase Revlimid and Thalomid during the

 relevant times and their members paid additional sums in cost-sharing for Thalomid and

 Revlimid. Because of Celgene’s illegal conduct, Plaintiff has been compelled to pay artificially

 inflated prices for Thalomid and Revlimid. Those prices have been substantially higher than the
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 prices Plaintiff would have paid for generic Thalomid and generic Revlimid but for the illegal

 conduct alleged. Plaintiff continues to pay artificially high, supracompetitive prices for Revlimid

 and Thalomid as a direct and proximate result of Celgene’s anticompetitive conduct.

        566.     Consequently, Plaintiff, a purchaser of Thalomid and Revlimid, having paid for

 Thalomid and Revlimid, has sustained substantial losses and damage to its business and property

 in the form of overcharges. The full amount, forms, and components of such damages will be

 determined after discovery and upon proof at trial.

        567.     Celgene’s efforts to restrain competition in the defined relevant markets has and

 continues to substantially affect interstate and intrastate commerce throughout the United States.

        568.     Excluding generic competitors and capping their volume of sales at a small

 fraction of the market prevented price competition for Thalomid and Revlimid.

        569.     Prices for Revlimid and Thalomid have been and will continue to be inflated as a

 direct and foreseeable result of Celgene’s anticompetitive conduct. The inflated prices that

 Plaintiff has paid and will continue to pay are traceable to, and are the proximate foreseeable

 result of, the overcharges by Celgene.

                                  XIII.      CLAIMS FOR RELIEF

                                FIRST CLAIM FOR RELIEF
               Conspiracy and Combination in Restraint of Trade Under State Law

        570.     Plaintiff incorporates by reference each preceding and succeeding paragraph as

 though fully set forth herein.

        571.     Defendants entered into an agreement or combination in restraint of trade in

 violation of many states’ laws. Defendants and Natco engaged in a continuing contract,

 combination or conspiracy with respect to the sale of Revlimid in unreasonable restraint of trade

 and commerce, in violation of the various state antitrust statutes set forth below.


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           572.   Defendants and Natco entered into an unlawful reverse payment agreement that

 restrained, and continues to restrain, competition in the market for Revlimid and/or its AB-rated

 generic equivalents.

           573.   Defendants and Natco’s acts and combinations in furtherance of the conspiracy

 have caused unreasonable restraints in the market for Revlimid and/or its AB-rated generic

 equivalents.

           574.   As a result of Defendants and Natco’s unlawful conduct, Plaintiff has been

 harmed by being forced to pay artificially inflated, supracompetitive prices for Revlimid.

           575.   In formulating and carrying out the alleged agreement, understanding, contract,

 combination, and conspiracy, Defendants and Natco did those things that they combined and

 conspired to do, including but not limited to the acts, practices and course of conduct set forth

 herein.

           576.   Defendants and Natco’s conspiracy had the following effects, among others: the

 reverse payment agreement between Defendants and Natco delayed generic entry and its

 attendant lower prices for Plaintiff, and the market allocation output restriction agreement

 effectively fixed prices at an artificially high level.

           577.   Brand Defendant and Natco engaged in the actions described above for the

 purpose of carrying out their unlawful agreements to fix, raise, maintain, or stabilize prices of

 Revlimid.

           578.   There was no legitimate, non-pretextual, pro-competitive business justification for

 this reverse payment agreement that outweighs its harmful effect on Plaintiff and competition.

 Even if there were some conceivable and cognizable justification, the payment was not necessary




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 to achieve the purpose. Accordingly, these acts constitute violations of the antitrust laws of

 various states in accordance with FTC v. Actavis, Inc., 570 U.S. 136 (2013).

        579.    By engaging the foregoing conduct, Defendants and Natco intentionally and

 wrongfully engaged in a contract, combination, or conspiracy in restraint of trade in violation of

 the following state antitrust laws:

        a) Arizona Rev. Stat. §§ 44-1401, et seq., with respect to purchases in Arizona.
        b) C.G.S.A. §§ 35-26 and 28, et seq., with respect to purchases in Connecticut.
        c) D.C. Code §§ 28-4501, et seq., with respect to purchases in the District of Columbia.
        d) Haw. Rev. Stat. §§ 480-1, et seq., with respect to purchases in Hawaii.
        e) 740 Ill. Comp. Stat. 10/1, et seq., with respect to purchases in Illinois.
        g) Iowa Code § 553.1, et seq., with respect to purchases in Iowa.
        g) Kan. Stat. Ann. § 50-101, et seq., with respect to purchases in Kansas.
        h) Me. Rev. Stat. Ann. 10, §§ 1101, et seq., with respect to purchases in Maine.
        i) MD Code Ann., Com. Law, §§ 11-204, et seq., with respect to purchases in Maryland.
        j) Mich. Comp. Laws Ann. §§ 445.771, et seq., with respect to purchases in Michigan.
        k) Minn. Stat. §§ 325D.49, et seq., and Minn. Stat. §§ 8.31, et seq., with respect to
           purchases in Minnesota.
        l) Miss. Code Ann. §§ 75-21-1, et seq., with respect to purchases in Mississippi.
        m) Neb. Rev. Stat. Ann. §§ 59-801, et seq., with respect to purchases in Nebraska.
        n) Nev. Rev. Stat. Ann. §§ 598A.010, et seq., with respect to purchases in Nevada.
        o) N.H. Rev. Stat. Ann. §§ 356:1, et seq., with respect to purchases in New Hampshire.
        p) N.M. Stat. Ann. §§ 57-1-1, et seq., with respect to purchases in New Mexico.
        q) N.Y. Gen. Bus. Law § 340, et seq., with respect to purchases in New York.
        r) N.C. Gen. Stat. §§ 75-1, et seq., with respect to purchases in North Carolina.
        s) N.D. Cent. Code §§ 51-08.1-01, et seq., with respect to purchases in North Dakota.
        t) Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases in Oregon.
        u) P.R. Laws Ann. tit. 10 §§ 258, et seq., with respect to purchases in Puerto Rico.
        v) R.I. Gen. Laws §§ 6-36-1 et seq., with respect to purchases in Rhode.
        w) S.D. Codified Laws §§ 37-1-3.1, et seq., with respect to purchases in South Dakota.

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        x) Tenn. Code Ann §§ 47-25-101, et seq., with respect to purchases in Tennessee.
        y) Utah Code Ann. §§ 76-10-3101, et seq., with respect to purchases in Utah.
        z) W.Va. Code §§ 47-18-1, et seq., with respect to purchases in West Virginia.
        aa) Wis. Stat. §§ 133.01, et seq., with respect to purchases in Wisconsin.
        580.    Plaintiff has been injured in its business or property by reason of Defendants’

 violations of the laws set forth above, in that they were, and continue to be: (i) denied the

 opportunity to purchase lower-priced generic Revlimid; and (ii) paid higher prices for Revlimid

 than they would have paid but for Defendants’ unlawful conduct. These injuries are of the type

 that the above laws were designed to prevent and flow from that which makes Defendants’

 conduct unlawful.

        581.    Plaintiff seeks damages and multiple damages as permitted by law.

                              SECOND CLAIM FOR RELIEF
                  Monopolization and Monopolistic Scheme under State Law

        582.    Plaintiff incorporates by reference the preceding allegations.

        583.    Celgene possessed monopoly power in the defined relevant market at all times

 since its NDAs for Revlimid and Thalomid were respectively approved. Celgene knowingly and

 willfully engaged in a course of exclusionary conduct designed to prevent generic manufacturers

 from entering the market and unlawfully extended its monopoly power.

        584.    Celgene intentionally extended its monopoly power in the relevant market

 through its anticompetitive and illegal scheme. Thus, Plaintiff paid artificially inflated prices for

 its indirect purchases of Thalomid and Revlimid, including by assignment from its subsidiaries.

 There is and was no non-pretextual justification for Celgene’s anticompetitive actions.

        585.    As a direct and proximate result of Celgene’s conduct, as alleged herein, Plaintiff

 was injured.



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        586.   By engaging in the foregoing conduct, Celgene has intentionally and wrongfully

 maintained monopoly power in the relevant market in violation of the following state laws:

               a. Arizona Rev. Stat. §§ 44-1403, et seq., with respect to purchases of Revlimid
                  and Thalomid in Arizona.
               b. D.C. Code §§ 28-4503, et seq., with respect to purchases of Revlimid and
                  Thalomid in the District of Columbia.
               c. Fla. Stat. §§ 501.201, et seq., with respect to purchases of Revlimid and
                  Thalomid in Florida.
               d. Hawaii Code §§ 480, et seq., with respect to purchases of Revlimid and
                  Thalomid in Hawaii.
               e. 740 Ill. Comp. Stat. 10/3, et seq., with respect to purchases of Revlimid and
                  Thalomid in Illinois.
               f. Iowa Code §§ 553.5 et seq., with respect to purchases of Revlimid and
                  Thalomid in Iowa.
               g. Mass. Gen. L. Ch. 93A, et seq., with respect to purchases of Revlimid and
                  Thalomid in Massachusetts by Plaintiff, who paid substantially higher prices
                  for Revlimid and Thalomid in actions and transactions occurring substantially
                  within Massachusetts.
               h. Me. Rev. Stat. Ann. 10, §§ 1102, et seq., with respect to purchases of
                  Revlimid and Thalomid in Maine.
               i. Mich. Comp. Laws Ann. §§ 445.773, et seq., with respect to purchases of
                  Revlimid and Thalomid in Michigan.
               j. Minn. Stat. §§ 325D.52, et seq., and Minn. Stat. § 8.31, et seq., with respect to
                  purchases of Revlimid and Thalomid in Minnesota.
               k. Miss. Code Ann. §§ 75-21-3, et seq., with respect to purchases of Revlimid
                  and Thalomid in Mississippi.
               l. Neb. Code Ann. §§ 59-802, et seq., with respect to purchases of Revlimid and
                  Thalomid in Nebraska.
               m. Nev. Rev. Stat. Ann. §§ 598A.060, et seq., with respect to purchases of
                  Revlimid and Thalomid in Nevada by Plaintiff, who paid substantially higher
                  prices for Revlimid and Thalomid in actions and transactions occurring
                  substantially within Nevada.
               n. N.H. Rev. Stat. Ann. §§ 356.1, et seq., with respect to purchases of Revlimid
                  and Thalomid in New Hampshire.
               o. N.M. Stat. Ann. §§ 57-1-2, et seq., with respect to purchases of Revlimid and
                  Thalomid in New Mexico.
               p. N.C. Gen. Stat. §§ 75-2.1, et seq., with respect to purchases of Revlimid and
                  Thalomid in North Carolina.
               q. N.D. Cent. Code §§ 51-08.1-03, et seq., with respect to purchases of Revlimid
                  and Thalomid in North Dakota.
               r. Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases of Revlimid and
                  Thalomid in Oregon.
               s. 10 L.P.R.A. §§ 257, et seq., with respect to purchases of Revlimid and
                  Thalomid in Puerto Rico.

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                t. R.I. Gen. Laws §§ 6-36-1, et seq., with respect to purchases of Revlimid and
                   Thalomid in Rhode Island.
                u. S.D. Codified Laws §§ 37-1-3.2, et seq., with respect to purchases of
                   Revlimid and Thalomid in South Dakota.
                v. Utah Code Ann. §§ 76-10-911, et seq., with respect to purchases of Revlimid
                   and Thalomid in Utah.
                w. Vt. Stat. Ann. 9, §§ 2453, et seq., with respect to purchases of Revlimid and
                   Thalomid in Vermont.
                x. W.Va. Code §§ 47-18-4, et seq., with respect to purchases of Revlimid and
                   Thalomid in West Virginia.
                y. Wis. Stat. §§ 133.03, et seq., with respect to purchases of Revlimid and
                   Thalomid in Wisconsin by Plaintiff, in that the actions and transactions
                   alleged herein substantially affected and continue to affect the people of
                   Wisconsin, whereby Plaintiff paid substantially higher prices for Revlimid and
                   Thalomid at Wisconsin pharmacies.

                               THIRD CLAIM FOR RELIEF
                          Attempted Monopolization Under State Law

        587.    Plaintiff incorporates by reference the preceding allegations.

        588.    Celgene, through its anticompetitive scheme, specifically intended to maintain

 monopoly power in the relevant market. It was Celgene’s conscious objective to control prices

 and exclude competition in the relevant market.

        589.    The natural, intended, and foreseeable consequences of Celgene’s anticompetitive

 scheme was to control prices and exclude competition in the relevant market, to the extent it did

 not succeed.

        590.    There is a substantial and real chance, a reasonable likelihood, and/or a dangerous

 probability that Celgene will succeed in and achieve its goal of maintaining monopoly power in

 the relevant market.

        591.    As a direct and proximate result of Celgene’s conduct, Plaintiff was harmed with

 respect to its indirect purchases of Revlimid and Thalomid as aforesaid.

        592.    By engaging in the foregoing conduct, Celgene has intentionally and wrongfully

 attempted to monopolize the relevant market in violation of the following state laws:

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             a. Arizona Rev. Stat. §§ 44-1403, et seq., with respect to purchases of Revlimid
                and Thalomid in Arizona.
             b. Conn. Gen. Stat. §§ 35-27, et seq., with respect to purchases of Revlimid and
                Thalomid in Connecticut.
             c. D.C. Code §§ 28-4503, et seq., with respect to purchases of Revlimid and
                Thalomid in the District of Columbia.
             d. Fla. Stat. §§ 501.201, et seq., with respect to purchases of Revlimid and
                Thalomid in Florida.
             e. Hawaii Code §§ 480, et seq., with respect to purchases of Revlimid and
                Thalomid in Hawaii.
             f. 740 Ill. Comp. Stat. 10/3, et seq., with respect to purchases of Revlimid and
                Thalomid in Illinois.
             g. Iowa Code §§ 553.5 et seq., with respect to purchases of Revlimid and
                Thalomid in Iowa.
             h. Me. Rev. Stat. Ann. 10, §§ 1102, et seq., with respect to purchases of
                Revlimid and Thalomid in Maine.
             i. Md. Code, Com. Law §§ 11-204, et seq., with respect to purchases of
                Revlimid and Thalomid in Maryland.
             j. Mass. Gen. L. Ch. 93A, et seq., with respect to purchases of Revlimid and
                Thalomid in Massachusetts by Plaintiff, who paid substantially higher prices
                for Revlimid and Thalomid in actions and transactions occurring substantially
                within Massachusetts.
             k. Mich. Comp. Laws Ann. §§ 445.773, et seq., with respect to purchases of
                Revlimid and Thalomid in Michigan.
             l. Minn. Stat. §§ 325D.52, et seq., and Minn. Stat. § 8.31, et seq., with respect to
                purchases of Revlimid and Thalomid in Minnesota.
             m. Miss. Code Ann. §§ 75-21-3, et seq., with respect to purchases of Revlimid
                and Thalomid in Mississippi.
             n. Neb. Code Ann. §§ 59-802, et seq., with respect to purchases of Revlimid and
                Thalomid in Nebraska.
             o. Nev. Rev. Stat. Ann. §§ 598A.060, et seq., with respect to purchases of
                Revlimid and Thalomid in Nevada by Plaintiff, who paid substantially higher
                prices for Revlimid and Thalomid in actions and transactions occurring
                substantially within Nevada.
             p. N.H. Rev. Stat. Ann. §§ 356.1, et seq., with respect to purchases of Revlimid
                and Thalomid in New Hampshire.
             q. N.M. Stat. Ann. §§ 57-1-2, et seq., with respect to purchases of Revlimid and
                Thalomid in New Mexico.
             r. N.Y. Gen. Bus. Law §§ 340, et seq., with respect to purchases of Revlimid
                and Thalomid in New York.
             s. N.C. Gen. Stat. §§ 75-2.1, et seq., with respect to purchases of Revlimid and
                Thalomid in North Carolina.
             t. N.D. Cent. Code §§ 51-08.1-03, et seq., with respect to purchases of Revlimid
                and Thalomid in North Dakota.
             u. Or. Rev. Stat. §§ 646.705, et seq., with respect to purchases of Revlimid and
                Thalomid in Oregon.

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                v. 10 L.P.R.A. §§ 257, et seq., with respect to purchases of Revlimid and
                    Thalomid in Puerto Rico.
                w. R.I. Gen. Laws §§ 6-36-1 et seq., with respect to purchases of Revlimid and
                    Thalomid in Rhode Island.
                x. S.D. Codified Laws §§ 37-1-3.2, et seq., with respect to purchases of
                    Revlimid and Thalomid in South Dakota.
                y. Utah Code Ann. §§ 76-10-911, et seq., with respect to purchases of Revlimid
                    and Thalomid in Utah.
                z. Vt. Stat. Ann. 9, §§ 2453, et seq., with respect to purchases of Revlimid and
                    Thalomid in Vermont.
                aa. W.Va. Code §§ 47-18-4, et seq., with respect to purchases of Revlimid and
                    Thalomid in West Virginia.
                bb. Wis. Stat. §§ 133.03, et seq., with respect to purchases of Revlimid and
                    Thalomid in Wisconsin by Plaintiff, in that the actions and transactions
                    alleged herein substantially affected and continue to affect the people of
                    Wisconsin, whereby Plaintiff paid substantially higher prices for Revlimid and
                    Thalomid at Wisconsin pharmacies.

                              FOURTH CLAIM FOR RELIEF
                    Unfair and Deceptive Trade Practices Under State Law

        593.    Plaintiff incorporates by reference the preceding allegations.

        594.    Celgene engaged in unfair competition or unfair, unconscionable, deceptive or

 fraudulent acts or practices in violation of the state consumer protection statutes listed below. As

 a direct and proximate result of Celgene’s anticompetitive, deceptive, unfair, unconscionable,

 and fraudulent conduct, Plaintiff was deprived of the opportunity to purchase generic versions of

 Revlimid and Thalomid and forced to pay artificially inflated prices for these drugs.

        595.    There was and is a gross disparity between the price that Plaintiff paid and

 continue to pay for its indirect purchases of Thalomid and Revlimid, including by assignment

 from their subsidiaries, and the value received, given that a much cheaper substitute generic

 product should be available, and prices for Revlimid and Thalomid should be much lower, but

 for Celgene’s unlawful scheme.

        596.    By engaging in the foregoing conduct, Celgene has engaged in in unfair

 competition or deceptive acts and practices in violation of the following state laws:

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             a. Ark. Code §§ 4-88-101, et seq., with respect to purchases of Revlimid and
                Thalomid in Arkansas.
             b. Ariz. Code §§ 44-1522, et seq., with respect to purchases of Revlimid and
                Thalomid in Arizona.
             c. Colo. Rev. Stat § 6-1-105, et seq., with respect to purchases of Revlimid and
                Thalomid in Colorado.
             d. Conn. Gen. Stat. §§ 35-27, et seq., with respect to purchases of Revlimid and
                Thalomid in Connecticut.
             e. D.C. Code §§ 28-3901, et seq., with respect to the purchases of Revlimid and
                Thalomid in the District of Columbia.
             f. Fla. Stat. §§ 501.201, et seq., with respect to purchases of Revlimid and
                Thalomid in Florida.
             g. Idaho Code §§ 48-601, et seq., with respect to the purchases of Revlimid and
                Thalomid in Idaho.
             h. 815 ILCS §§ 505/1, et seq., with respect to the purchases of Revlimid and
                Thalomid in Illinois.
             i. Ind. Code §§ 24-5-0.5-1, et seq., with respect to the purchases of Revlimid
                and Thalomid in Indiana.
             j. Kan. Stat. §§ 50-623, et seq., with respect to the purchases of Revlimid and
                Thalomid in Kansas.
             k. La. Rev. Stat. Ann. § 51:1401, et seq., with respect to the purchases of
                Revlimid and Thalomid in Louisiana.
             l. 5 Me. Rev. Stat. §§ 207, et seq., with respect to the purchases of Revlimid and
                Thalomid in Maine.
             m. Md. Code, Com. Law §§ 11-204, et seq., with respect to purchases of
                Revlimid and Thalomid in Maryland.
             n. Mass. Ann. Laws ch. 93A, et seq., with respect to purchases of Revlimid and
                Thalomid in Massachusetts.
             o. Mich. Stat. §§ 445.901, et seq., with respect to purchases of Revlimid and
                Thalomid in Michigan.
             p. Minn. Stat. § 325D.43, et. seq., Minn. Stat. §§ 325F.69, et seq., and Minn.
                Stat. §§ 8.31, et seq., with respect to purchases of Revlimid and Thalomid in
                Minnesota.
             q. Miss. Code. Ann. §§ 75-24-1, et seq., with respect to purchases of Revlimid
                and Thalomid in Mississippi.
             r. Missouri Stat. §§ 407.010, et seq., with respect to purchases of Revlimid and
                Thalomid in Missouri.
             s. Neb. Rev. Stat. §§ 59-1601, et seq., with respect to purchases of Revlimid and
                Thalomid in Nebraska.
             t. Nev. Rev. Stat. §§ 598.0903, et seq., with respect to purchases of Revlimid
                and Thalomid in Nevada.
             u. N.H. Rev. Stat. §§ 358-A:1, et seq., with respect to purchases of Revlimid and
                Thalomid in New Hampshire.
             v. N.M. Stat. §§ 57-12-1, et seq., with respect to purchases of Revlimid and
                Thalomid in New Mexico.



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               w. N.Y. Gen. Bus. Law §§ 349, et seq., with respect to purchases of Revlimid
                   and Thalomid in New York.
               x. N.C. Gen. Stat. §§ 75-1.1, et seq., with respect to purchases of Revlimid and
                   Thalomid in North Carolina.
               y. N.D. Cent. Code §§ 51-15-01, et seq., with respect to purchases of Revlimid
                   and Thalomid in North Dakota.
               z. Or. Rev. Stat. §§ 646.605, et seq., with respect to purchases of Revlimid and
                   Thalomid in Oregon.
               aa. 73 Pa. Stat. Ann. §§ 201-1, et seq., with respect to purchases of Revlimid and
                   Thalomid in Pennsylvania.
               bb. S.C. Stat. Ann. §§ 39-5-10, et seq., for purchases of Revlimid and Thalomid in
                   South Carolina.
               cc. S.D. Code Laws §§ 37-24-1, et seq., with respect to purchases of Revlimid
                   and Thalomid in South Dakota.
               dd. Utah Code §§ 13-11-1, et seq., with respect to purchases of Revlimid and
                   Thalomid in Utah.
               ee. 9 Vt. §§ 2451, et seq., with respect to purchases of Revlimid and Thalomid in
                   Vermont.
               ff. Va. Code Ann. §§ 59.1-196, et seq., with respect to purchases of Revlimid and
                   Thalomid in Virginia.
               gg. W.Va. Code §§ 46A-6-101, et seq., with respect to purchases of Revlimid and
                   Thalomid in West Virginia.
               hh. Wis. Stat. § 100.18; Wis. Stat. § 100.20, et. seq., with respect to purchases of
                   Revlimid and Thalomid in Wisconsin.
               ii. Wyo. Stat. Ann. §§ 40-12-101, et seq., with respect to purchases of Revlimid
                   and Thalomid in Wyoming.

                               FIFTH CLAIM FOR RELIEF
                             Unjust Enrichment Under State Law

        597.   Plaintiff incorporates by reference the preceding allegations.

        598.   Celgene has benefitted from monopoly profits on the sale of Revlimid and

 Thalomid resulting from the unlawful and inequitable acts alleged in this Complaint.

        599.   Celgene’s financial benefit resulting from its unlawful and inequitable acts is

 traceable to overpayments for indirect purchases of Revlimid and Thalomid by Plaintiff.

        600.   Plaintiff has conferred upon Celgene an economic benefit, profits from unlawful

 overcharges and monopoly profits, to the economic detriment of Plaintiff.




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        601.    It would be futile for Plaintiff to seek a remedy from any party with whom they

 have privity of contract for its indirect purchases of Thalomid and Revlimid.

        602.    It would be futile for Plaintiff to seek to exhaust any remedy against the

 immediate intermediary in the chain of distribution from which it indirectly purchased Thalomid

 and Revlimid, as they are not liable and would not compensate Plaintiff for unlawful conduct

 caused by Celgene.

        603.    The economic benefit of overcharges and monopoly profits derived by Celgene

 through charging supracompetitive and artificially inflated prices for Revlimid and Thalomid is a

 direct and proximate result of Celgene’s unlawful conduct.

        604.    The economic benefits derived by Celgene rightfully belong to Plaintiff, as it paid

 anticompetitive and monopolistic prices for Revlimid and Thalomid beginning in at least 2010

 and continuing through the present, and it will continue to do so until the effects of Celgene’s

 illegal and anticompetitive conduct cease.

        605.    It would be inequitable under unjust enrichment principles under the law of the

 District of Columbia and the laws of all states and territories in the United States, except Ohio

 and Indiana, for Celgene to be permitted to retain any of the overcharges for Revlimid and

 Thalomid derived from Celgene’s unfair and unconscionable methods, acts, and trade practices

 alleged in this Complaint.

        606.    Celgene is aware of and appreciates the benefits bestowed upon it by Plaintiff.

        607.    Celgene should be compelled to disgorge in a common fund for the benefit of

 Plaintiff all unlawful or inequitable proceeds it received.

        608.    A constructive trust should be imposed upon all unlawful or inequitable sums

 received by Celgene traceable to Plaintiff.



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                                  SIXTH CLAIM FOR RELIEF

  Injunctive Relief under Section 16 of the Clayton Act for Violations of Sections 1 and 2 of

                                 the Sherman Act, 15 U.S.C. §§ 1-2

         609.    Plaintiff incorporates by reference the preceding allegations.

         610.    Plaintiff seeks equitable and injunctive relief under Section 16 of the Clayton Act,

 15 U.S.C. § 26, and other applicable laws, to correct for the anticompetitive market effects

 caused by Celgene’s unlawful conduct, and to assure that similar anticompetitive conduct and

 effects do not continue or reoccur in the future.

                               XIV.         DEMAND FOR JUDGMENT

 WHEREFORE, Plaintiff demands judgment against Celgene, as follows:

         611.    Awarding Plaintiff actual, consequential, compensatory, treble, punitive, and/or

 other damages, in an amount to be proven at trial, including pre- and post- judgment interest at

 the statutory rates;

         612.    Awarding Plaintiff equitable relief in the nature of disgorgement, restitution, and

 the creation of a constructive trust to remedy Celgene’s unjust enrichment.

         613.    Declaring the acts alleged herein to be unlawful under the state statutes set forth

 above, and the common law of unjust enrichment of the states and territories set forth above;

         614.    Awarding Plaintiff its reasonable costs and expenses, including attorneys’ fees;

 and

         615.    Awarding all other legal or equitable relief as the Court deems just and proper.

                                      XV.         JURY DEMAND

         Plaintiff demands a jury trial on all claims so triable under Federal Rule of Civil

 Procedure Rule 38(b).



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 Dated: July 13, 2022                       Respectfully submitted:

                                            LOWEY DANNENBERG, P.C.

                                            By: /s/ Peter D. St. Phillip
                                            Peter D. St. Phillip
                                            Noelle Ruggiero (pro hac vice forthcoming)
                                            Uriel Rabinowitz
                                            Thomas Griffith
                                            44 South Broadway
                                            Suite 1100
                                            White Plains, New York 10601
                                            914-997-0500
                                            PStPhillip@lowey.com
                                            NRuggiero@lowey.com
                                            URabinowitz@lowey.com
                                            TGriffith@lowey.com

                                            SCHNEIDER WALLACE
                                            COTTRELL KONECKY LLP

                                            Todd M. Schneider
                                            Jason H. Kim
                                            Matthew S. Weiler
                                            2000 Powell Street
                                            Suite 1400
                                            Emeryville, CA 94608
                                            (415) 421-7100
                                            TSchneider@schneiderwallace.com
                                            JKim@schneiderwallace.com
                                            MWeiler@schneiderwallace.com




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